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                         TAB 1
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  NO.:   TSR-CV0l-0817907-S                  SUPERIOR COURT

  RALPH BIRCH v. WARDEN                      JUDICIAL DISTRICT
                                             OF TOLLAND
  NO.:   TSR-CV12-4004924-S                  AT ROCKVILLE, CONNECTICUT

  SHAWN HENNING v. WARDEN                    NOVEMBER 16, 2015

  NO.:   TTD-CVlS-6009683-S

  SHAWN HENNING v. STATE OF CONNECTICUT

  NO.:   TTD-CVlS-6009781-S

  RALPH BIRCH v. STATE OF CONNECTICUT



                                   HABEAS


            BEFORE THE HONORABLE SAMUEL J. SFERRAZZA, JUDGE



  A P P E A R A N C E S :

      Representing the Petitioner/Plaintiff Shawn Henning:

           ATTORNEY W. JAMES COUSINS
           ATTORNEY CRAIG ARCHER RAABE
           ATTORNEY KRISTOPHER MOORE
           ROBINSON & COLE, LLP

      Representing the Petitioner/Plaintiff Ralph Birch:

           ATTORNEY ANDREW O'SHEA - Ordering Party
           ATTORNEY ILANA OFGANG
           KIRSCHBAUM LAW FIRM

      Representing the Respondent/Defendant:

           ATTORNEY MICHAEL PROTO
           ATTORNEY LISAMARIA TERESA PROSCINO
           ATTORNEY DAVID CARLUCCI
           ATTORNEY JO ANNE SULIK




                                          Recorded By:
                                          Pamela Clemens

                                          Transcribed By:
                                          Pamela Clemens
                                          Court Recording Monitor
                                          20 Park Street
                                          Rockville, CT 06066
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 1                    THE COURT:    Good morning, everyone.

 2                    ATTY. O'SHEA:     Good morning, Your Honor.

 3                    THE COURT:    And I understand the plan is that

 4              this afternoon we are going to try to make the

 5              telephonic -- the video connection with a witness

 6              that we had started with previously.             Am I correct?

 7                    ATTY. OFGANG:     Yes.     It's actually -- my

 8              understanding is that it's a new witness who we're

 9              trying to --

10                    THE COURT:    Okay.

11                    ATTY. OFGANG:         via video conference.

12                    THE COURT:    All right.

13                    ATTY. OFGANG:     So that would be for the

14              Birch -- Birch petition at -- at two p.m., we're

15              hoping the video conference.

16                    THE COURT:    Okay.      Otherwise, we're ready to

17              begin with our in-person witness at this time, is

18              that right?

19                    ATTY. OFGANG:    Yes, Your Honor, but just to

20              make a note --

21                    THE COURT:    Sure.

22                    ATTY. OFGANG:         there will be another

23              Wednesday video conference witness.

24                    THE COURT:    Yup.

25                    ATTY. OFGANG:     Just to clarify.

26                    THE COURT:    Okay.      And I understand from the

27              clerk that there may be some technical difficulties
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 1              which hopefully will be resolved by this afternoon.

 2                      ATTY. O'SHEA:        Your Honor, there are a couple

 3              of preliminary matters

 4                      THE COURT:     Yes.

 5                      ATTY. O'SHEA:           before we present any

 6              witnesses.     First, Exhibit Number 98.            I believe it

 7              was in for ID.       It was the criminal record of Tina

 8              Yoblonski.     Opposing counsel had requested a

 9              certified copy which I provided to the Court.                 We're

10              just asking that that certified copy be accepted as

11              full.

12                      THE COURT:     Any objection?

13                      ATTY. PROTO:     There's no objection, Your Honor.

14                      THE COURT:     We'll substitute that as the full

15              exhibit 98?

16                      ATTY. O'SHEA:        Yes, Your Honor.

17                      THE COURT:     98.     Okay.

18                      ATTY. O'SHEA:        And Your Honor,    I'd request at

19              this time a writ for             a writ of habeas corpus for

20              Henry Messenger.        He       given that Robert Perugini

21              had -- had invoked his Fifth Amendment rights, his

22              testimony is now -- would be relevant in our -- in

23              our opinion, so.

24                      THE COURT:     Okay.     And for what date?

25                      ATTY. O'SHEA:        Wednesday if possible, the 18 th •

26                      THE COURT:     Mr. Clerk, is that possible for

27              this Wednesday to get it done that soon?
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 1                      THE CLERK:   I'll just email Safia.          She's the

 2              one who takes care of that.          I'm sure that that can

 3              be arranged.

 4                      THE COURT:   Okay.     If -- if it can't, then the

 5              next

 6                      ATTY. O'SHEA:    December 1 st ,   I believe would be

 7              the next date.

 8                      THE COURT:       the next date, whatever our next

 9              date is after that, okay?

10                      ATTY. O'SHEA:    Yes, Your Honor.         Yes.

11                      THE CLERK:   I'll get information from you.

12                      ATTY. O'SHEA:    Okay.    Thank you.       And finally,

13              Your Honor, we just recently learned that opposing

14              counsel intends to use expert testimony in this

15              case.     There's been no disclosure whatsoever as to

16              that.     There was a deadline set that had been

17              extended for opposing counsel specifically very

18              late, close to the start of this trial to

19              accommodate them.       They've had our disclosures for

20              months, and we're just asking, Your Honor that

21              that -- just as a preliminary matter that there be a

22              ruling that this not be allowed.            I believe there

23              there's case law on the issue that such a late

24              disclosure with no disclosure of an expert testimony

25              that that testimony should not be allowed.               The

26              only -- I would say though that I would not object

27              to an expert regarding the TrueAllele matter that
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 1              came up on Thursday with respect to the DNA from

 2              Greg Hampikian; but otherwise, any other experts,

 3              there's been more than enough notice for months and

 4              we've received no indication.          Our experts would

 5              likely have testified differently had we known that

 6              there was going to be certain other things

 7              potentially talked about that we don't even know

 8              what might be talked about.

 9                    ATTY. COUSINS:     We'd join in that, Your Honor.

10                    THE COURT:     Okay.     Yes?

11                    ATTY. PROTO:     Your Honor,     Dr. Henry Lee and

12              Kenneth Zercie were disclosed on our witness list,

13              and it is true we did not give a separate expert

14              witness disclosure for them.          They both testified as

15              experts at the underlying trial, and the only

16              difference in intent now is that they may indeed

17              testify in rebuttal to some of the things that the

18              experts for the Petitioners have testified to.

19                    ATTY. COUSINS:     Your Honor,     I'm sorry.      I think

20              that's quite unfair.         They have had our expert

21              disclosures since August.        Although Henry Lee and

22              Dr. Henry Lee and Mr. Zercie may have some

23              expertise, they did not disclose them as experts.

24              It's quite unfair now for them to give some opinion.

25              We may have been in a position, had we known what

26              that opinion would be, to address that through our

27              experts and through our factual presentation of our
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 1              witnesses.     If they want to put on Dr. Lee as a fact

 2              witness without expressing any opinions, that's

 3              fine.     We understand that.         The same with -- with

 4              with Mr. Zercie.        But at this late date,        to have had

 5              our expert disclosures,        for us to have already

 6              completed our presentations, to say oh, by the way,

 7              we're going to give expert opinions,              I think is

 8              in       in direct contravention of the rules.             That's

 9              why we have expert disclosure rules, and -- and

10              quite unfair to the -- to the Petitioner, Your

11              Honor.

12                      THE COURT:   Okay.

13                      ATTY. O'SHEA:     If I may join in, Your Honor.

14              Also, as far as this being in rebuttal, the -- our

15              tesperts -- excuse me -- our experts testified

16              consistently with what our disclosures were,               so it's

17              not the case that there's any new information that's

18              come up that's required suddenly --

19                      THE COURT:   Well, what about the TrueAllele?

20                      ATTY. O'SHEA:    True- -- Your Honor, with

21              respect to TrueAllele, as I said earlier, no -- no

22              objection to an expert to discuss those issues, but

23              we're -- we're speaking about experts on other

24              matters.

25                      THE COURT:   Okay, but I don't think you can --

26                      ATTY. O'SHEA:    Well,   so

27                      THE COURT:       restrict -- what I'm saying is
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 1              what's good for the goose is good for the gander.

 2                    ATTY. O'SHEA:     Well, Your Honor, our position

 3              with TrueAllele

 4                    THE COURT:    You -- you offered that expert now

 5              who's identified, but not about that topic; and

 6              there was a report that was very recently provided

 7              to all counsel.

 8                    ATTY. O'SHEA:     Your Honor, with respect to --

 9              to TrueAllele, it -- it's still the same position of

10              us that that was included within the disclosure.

11              The -- the tool of TrueAllele is -- is simply a

12              utility that opposing counsel           probabilistic

13              genotyping is a well-known tool that is used

14              throughout the DNA community, and so the fact that

15              this was particularly          you know, one instance, one

16              application of that.      It happens to be one program

17              called TrueAllele, but there's many others that use

18              that idea.    And so it's -- it's not the case that

19              anything -- we already disclosed the ultimate

20              conclusion that this tool was used to -- to provide

21              in the same way that,     for example, you know, a

22              footwear expert compares -- obtains heels and

23              compares them to -- to printouts.          The TrueAllele is

24              simply a tool that's utilized to obtain the ultimate

25              conclusion.    That conclusion was disclosed.

26                    THE COURT:    That -- that may be true, but then

27              it also may be the difference between using a
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 1              magnifying glass and a microscope.             They       they

 2              work on the same optical principles, but                  you

 2              know, one -- one produces quite different results

 4              than the other.         So the part -- and I don't know if

 5              that's the case here.         It may not be, but it was

 6              enough to provoke a request for a Porter hearing and

 7              expression of surprise, so it seems to me that you

 8              might have to be a little more accommodating --

 9                     ATTY. O'SHEA:       Well

10                     THE COURT:          to a late disclosure.        And also,

11              my understanding is Dr. Lee and Mr. Zercie -- did

12              they both testify at the criminal trial?

13                     ATTY.   PROTO:     They did, Your Honor, and I'm not

14              going to ask them to make -- render opinions

15              different from what they testified to.                I'm just

16              going to ask them rebuttal questions with respect to

17              the procedures employed by these witnesses that --

18              that we've heard from.

19                     THE COURT:       Okay, so that -- so that they're --

20              they're not giving a

21                     ATTY. PROTO:      A different opinion.

22                     THE COURT:       New opinions for what they

23              testified at the criminal case

24                     ATTY.   PROTO:     Not at all, Your Honor.

25                     THE COURT:       -- but they may be indicating

26              that      something that -- which             which particular

27              experts did you -- did you have in mind?
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 1                   ATTY. PROTO:       You're testing my memory, Your

 2           Honor.

 3                   THE COURT:       Mr. Hampikian --

 4                   ATTY. PROTO:       I have to remember names.

 5                   THE COURT:       Mr. Hampikian?

 6                   ATTY. PROTO:       The footwear

 7                   THE COURT:       Mr. Hampikian?

 8                   ATTY. PROTO:       Yes, the footwear -- well, the

 9           footwear expert and --

10                   THE COURT:       Okay.

11                   ATTY. PROTO:       -- the -- the crime scene expert,

12           whose name -- both names escape me, Your Honor.

13                   THE COURT:       Mr. Turvey?

14                   ATTY.   PROTO:     Turvey, yes.

15                   THE COURT:       Okay.

16                   ATTY. COUSINS:       Your Honor,    I would object to

17           that.     We disclosed Mr. Turvey.          We disclosed Mr.

18           Bodziakl0:14:02 in August as to what their opinions

19           were going to be, and if -- if Dr. Lee's simply

20           going to restate his testimony that he provided at

21           the criminal trial, and the same with Mr. Zercie,

22           that I have a problem with.            That's a fact witness

23           and they can state facts.          If they're going to

24           express an opinion about the -- express a new

25           opinion, which is what it sounds like, about the

26           the measures and -- and the expert opinion that was

27           rendered by Dr. Turvey and by Mr. Bodziak,              I do
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 1               object to that.        If -- if I knew they were going to

 2               do that,     I may have addressed what they were going

 3               to say in the presentations by Mr. Bodziak and Mr.

 4               Turvey.      I -- I think that's unfair at this point to

 5               disclose them as expert witnesses.

 6                       THE COURT:     When would you anticipate calling

 7               them?

 8                       ATTY. PROTO:     It would be probably -- my

 9               understanding is that the Petitioner is now going to

10               use December 1 st largely for their witnesses, so it

11               would be either December 2 nd or 3 rd ,     Your Honor.

12                       THE COURT:     Okay, and do you have written

13               reports -- new reports from either of these experts?

14                       ATTY. PROTO:     Again, Your Honor,     I don't as

15               yet.     There's -- their       their opinion is not

16               changing.     It's just a question of the methodologies

17               and -- and whether or not they have a comment on --

18               on their methodologies as it relates to the

19              methodologies employed by these witnesses who -- who

20               recently testified.

21                       ATTY. COUSINS:     Well, Your Honor,     I would've

22               liked to have seen that.        If they're -- if they're

23               going to say that their methodologies are different

24               from the experts that -- that we put on,           I think I

25              was entitled to see that before these experts

26                       THE COURT:     But how would they know that until

27              your testimony was presented?
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 1                      ATTY. COUSINS:          Because we disclosed our

 2               experts and the nature of what they were going to

 3               say back in August.

 4                      THE COURT:       Well

 5                      ATTY. PROTO:       If I May, Your Honor --

 6                      THE COURT:       -- not -- certainly not as to the

 7               TrueAllele.

 8                      ATTY. PROTO:       Well, not as to that --

 9                      ATTY. COUSINS:          I'm segregating out TrueAllele

10               for a moment, Your Honor.            I'm addressing only Dr.

11               Lee and Mr. Zercie.

12                      THE COURT:       But what I'm saying is that was not

13               disclosed, so why shouldn't I give leeway for

14               something they don't dis- -- haven't disclosed?

15                      ATTY. PROTO:       And frankly, Your Honor, if I may

16               add that the disclosures were --

17                      ATTY. COUSINS:          (Indiscernible)      I'm sorry.

18                      ATTY.   PROTO:     The disclosures were what they

19              were.     They were somewhat bare bones.               We didn't get

20               reports discussing methodologies or anything like

21              that, so we -- you know, this is all new testimony

22              that we've heard and

23                      THE COURT:       All right, then what I'm going to

24              do is I'm going require the Respondent to provide a

25              written report of expected testimony of Dr. Lee and

26              Mr. Zercie.       Anybody else?

27                      ATTY. PROTO:       No, that would be it, Your Honor.
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 1                  THE COURT:       And I --

 2                  ATTY.   PROSCINO:        Well

 3                  ATTY.   PROTO:     And the TrueAllele issue as well.

 4                  THE COURT:       Okay.     Counsel wanted to talk to

 5           you?

 6                  ATTY.   PROSCINO:        If I may, Your Honor.         Thank

 7           you.

 8                  ATTY. PROTO:       Excuse me, Your Honor.           Yeah,

 9           with respect to that issue, Your Honor, Attorney

10           Sulik, you know,        is handling that.           I can't really

11           speak intelligently, but I don't know who she's

12           going to call, if she's going to call, or what she's

13           going to do with respect to that,              so I don't want to

14           speak out of turn with respect to the TrueAllele

15           issue.

16                  THE COURT:       Well, there -- my understanding is

17           the TrueAllele issue, they're not versing objection

18           to that.

19                  ATTY. O'SHEA:       Yes, Your Honor, we would still

20           like to have a disclosure ahead of time.                  I'd like

21           to set a date now for that, but

22                  THE COURT:       Yes, that's what my intent is, that

23           with regard to the other opinions as to experts that

24           may be rendered,        I would ask that the Respondent

25           provide that to the Petitioner's counsel by the day

26           before Thanksgiving, so that's a week from

27           Wednesday.
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 1                      ATTY. PROTO:     Thank you, Your Honor.

 2                      THE COURT:     Okay?   And if there should be a

 3               circumstance where counter experts need to be called

 4               in surrebuttal, I'll consider that.

 5                      ATTY. O'SHEA:     Understood.

 6                      THE COURT:     Under our rules of practice as they

 7               now exist, the concept is to favor the introduction

 8               of evidence rather than to exclude it unless there's

 9               real prejudice and damage that's going to be done to

10               the other party.       And so, I think this schedule that

11               we've designed should accommodate that.            Okay?

12                      ATTY. PROTO:     Very good, Your Honor.        Thank

13               you.

14                      ATTY. O'SHEA:     Thank you, Your Honor.

15                      THE COURT:     Yes?

16                      ATTY. O'SHEA:     May -- May I approach the clerk

17              briefly?

18                      THE COURT:     Yes.

19                      ATTY. O'SHEA:     Thank you.

20                      ATTY. MOORE:     Your Honor, the Petitioner, Shawn

21              Henning, calls Attorney Christopher Cosgrove.

22                      THE COURT:     Is he -- yes.    Attorney Cosgrove,

23               I'd ask you to step up here next to the witness box,

24               face the clerk.

25

26

27
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 1                  C H R I S T O P H E R       COSGROVE,              63 West

 2                 Street, Litchfield, Connecticut, duly sworn by the

 3                       clerk, testified under oath as follows:

 4                     THE CLERK:    Thank you.

 5                     THE COURT:    You may be seated.         You may

 6                inquire.

 7      DIRECT EXAMINATION BY ATTY. MOORE:

 8          Q     Good morning, Attorney Cosgrove.

 9          A     Good morning.

10          Q     Where are you currently employed?

11          A     At the Litchfield Superior Court Public Defender's

12      Office.

13          Q     And how long have you been at the Litchfield Public

14      Defender's Office?

15          A     Since June of 1995.

16          Q     And who was your predecessor at the Public

17      Defender's Office in Litchfield?

18          A     That would be Attorney Carl Eisenmann.

19          Q     Attorney Carl Eisenmann testified at this habeas

20      trial that it was his practice when he finished a case to

21      place the file in the cabinet within the Public Defender's

22      Office.    What was your practice when you took over in 1995?

23          A     The same thing, generally.      When a case is disposed

24      of, the office -- Part A office retains the file for at

25      least five years before sending it to archives.

26          Q     And so from the time that you took over as Public

27      Defender in Litchfield, was there a policy in place to
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 1      maintain the integrity of the files within the Public

 2      Defender's Office?

 3          A    Yes.   Again, they were stored in file cabinets in

 4      the office, and as I say, for at least five years before

 5      being sent to a storage facility.

 6          Q    For files being stored within the Public Defender's

 7      Office, is there anyone other than yourself or the office

 8      staff who would have access to these files?

 9          A    No.

10          Q   When you receive a request for a copy of the

11      defendant's -- of -- of a defendant's file, what has been

12      your general practice?

13          A   Well, it depends on who's making the request.              If

14      it's for a habeas or an appeal for example, we would provide

15      that the client had signed a release.          We would make a copy

16      of the file and send it to the attorney who's making the

17      request for the file.

18          Q   And is that something that the Public Defender's

19      Office would document?

20          A    Generally, yes.

21          Q   At -- at some point, did you become aware that your

22      office had in its possession the file for Shawn Henning?

23          A    Yes.

24          Q   And how did you come to become aware of this?

25          A   Attorney Deborah Del Prete-Sullivan, legal counsel

26      for our division,     re- -- made -- made a request of me for

27      that particular file if it was still in the office, and I
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 1      located it and sent it to her.

 2                       ATTY. MOORE:     Your Honor, may I approach the

 3               clerk?

 4                       THE COURT:     Yes.

 5                       ATTY. MOORE:     I'm handing the witness what's

 6               been marked Exhibit 180 and 181 for identification.

 7          Q    Can you take a look at them?

 8                       ATTY. MOORE:     And a copy for Your Honor.

 9                       THE COURT:     Thank you.

10          Q    Attorney Cosgrove, do you recognize Exhibits 180 and

11      181?

12          A    I do.     These are both notes by me.              One is to the

13      file.   It's dated November 30 th ,       '04, indicating that I

14      dropped this --

15                       THE COURT:     Well, they're ID exhibits.

16                       ATTY. MOORE:     Yes.

17          Q    So you -- you recognize

18                       ATTY. PROTO:     Your Honor, we have -- I'm sorry

19               to interrupt.        We have no objection to the admission

20               of these as full exhibits.

21                       THE COURT:     Are you going to offer these?

22                       ATTY. MOORE:     Yes.    Yes, Your Honor.

23                       THE COURT:     Then they may be admitted as full

24               exhibits 180 and 181.           If I could have them so I

25               could have the clerk mark them.

26                       ATTY. MOORE:     They've already been marked, Your

27               Honor.
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 1                     THE COURT:     As -- as full.

 2                     ATTY. MOORE:     Oh.    Sorry, Your Honor.

 3                     THE COURT:     Thank you.     Yes?

 4          Q    So, Exhibit 180.      Could you tell the Court what --

 5      what Exhibit 180 is?

 6          A    180 is a note that I wrote.         It's my handwriting,

 7      and put in -- into a file for Shawn Henning indicating that

 8      I had conveyed his entire file that I had in the office to

 9      Attorney Sullivan at the Chief Public Defender's Office in

10      Hartford.

11          Q    And how about Exhibit 181?

12          A    181 appears to be a note that I just wrote to

13      Attorney Sullivan, at her office apparently, on that day,

14      November 30 th of '04 because as my note to the file on

15      Exhibit 180 indicates, I gave this to her administrative

16      assistant.     I actually handed it to her administrative

17      assistant that day, so this was just a note to her saying

18      here's the file.

19          Q    And could you just read from Exhibit 181 what you

20      had written?

21          A    Again, it's dated 11/30/04.        Hi Deb.      This is Carl's

22      Shawn Henning file in toto.       I was in the area!         Signed,

23      Chris.

24          Q    So to the best of your knowledge, is the file that

25      you delivered to Attorney Deborah Del Prete-Sullivan's

26      office on November 30, 2004 the complete, original file for

27      State of Connecticut v. Shawn Henning.
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 1          A     It's the complete package that I had in the office

 2      at that time.

 3          Q     Thank you.

 4                       ATTY. MOORE:     May I have a moment, Your Honor?

 5                       THE COURT:     Yes.

 6                       ATTY. MOORE:     No further questions.

 7                       THE COURT:     All right.      Cross-examination?

 8                       ATTY. PROTO:     Just a couple -- couple quick

 9                questions.

10                       THE COURT:     Well, let me just ask --

11                       ATTY. PROTO:     Oh,   I'm sorry.

12                       THE COURT:     -- counsel for Attorney (sic)

13                Birch?

14                       ATTY. OFGANG:     No questions, Your Honor.

15                       THE COURT:     Okay.     Yes, go ahead.

16                       ATTY. PROTO:     Okay.

17      CROSS-EXAMINATION BY ATTY. PROTO:

18          Q     Just a couple quick questions, Mr. Cosgrove.               On

19      180- -- you still have Exhibit 181 in front of you?

20          A     Yes.

21          Q     And I'm sorry, it's somewhat cryptic when you say I

22      was in the -- what         what are you referring to when you say

23      I was in the area?      What does that mean?

24          A     Well, my office is about an hour away from Hartford,

25      the Chief Public Defender's Office.             I evidently had some

26      business in the area, but I -- I personally delivered

27      this --
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 1          Q     Oh.

 2          A     -- as opposed to sending it through

 3      interdepartmental or U.S. Mail.

 4          Q     Okay, I'm sorry.       I missed that.     So you hand

 5      delivered it

 6          A     Yes.

 7          Q     -- that day.     Okay.     And you joined the office I

 8      think you said in 1995.          Is that correct?

 9          A     Yes.

10          Q     Okay.     So you were not in that office before that.

11          A     No.

12          Q     And would it -- is it fair to say the first time

13      that you physically came into possession of this file was in

14      2004 when it was requested?

15          A     I think that's fair to say, yes.

16          Q     Okay.     And you don't have any idea what the file

17      went through before 2004 then, is that correct?

18          A     I do not.

19          Q     Okay.     And when you say it's the entire file,          I just

20      want to be clear.       You -- when you say it's the entire file,

21      you're not guaranteeing that it exists in its entirety as it

22      did when Mr. Eisenmann completed with it.             You're saying

23      it's the entire file that I happen to have here today in my

24      office.

25          A     That's correct.

26          Q     Okay.

27                        ATTY. PROTO:     No further questions, Your Honor.
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 1                 THE COURT:     Any redirect?

 2                 ATTY. MOORE:     Could I have a moment, Your

 3           Honor?

 4                 THE COURT:     Yes.

 5                 ATTY. MOORE:     No questions, Your Honor.

 6                 THE COURT:     Any need to retain the witness?

 7                 ATTY. MOORE:     No, Your Honor.

 8                 THE COURT:     You're free to go.          You can give me

 9           the exhibits.

10                 THE WITNESS:     Thank you, Your Honor.

11                 ATTY. COUSINS:        The Petitioner, Shawn Henning,

12           calls Deborah Del Prete-Sullivan.

13                 THE COURT:     All right, Counsel.          If you'd step

14           right up here next to the witness box and face the

15           clerk.

16                ATTY. DEL PRETE-SULLIVAN:           Good morning, Judge.

17                 THE COURT:     Good morning.       Miss Del Prete-

18           Sullivan has argued habeas cases in front of me in

19           the past before her positions a long time ago.

20           Okay, we'll place her under oath.

21

22

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24

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27
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 1           D E B O R A H        D E L     PRETE - SULLIVAN,

 2            30 Trinity Street, 4 th Floor, Hartford, Connecticut,

 3                        duly sworn by the clerk, testified

 4                               under oath as follows:

 5                  THE COURT:    Okay, you may be seated.         You may

 6           inquire.

 7   DIRECT EXAMINATION BY ATTY. COUSINS:

 8      Q    Good morning, Miss Sullivan.

 9      A    Good morning, Mr. Cousins.

10      Q    Are you employed?

11      A    Yes, I am.

12      Q    Where are you employed?

13      A    At the Chief Public Defender's Office in Hartford,

14   Connecticut.

15      Q    In what capacity?

16      A    I'm the legal counsel for the agency.

17      Q    And how long have you held that position?

18      A    Since 1994 -- November of 1994.

19      Q    And very briefly, what are your responsibilities in

20   that position?

21      A    In my role there,     I am charged with representing and

22   working with the AG's office when it comes to malpractice

23   suits or representing individuals in the division for

24   grievances, representing the Division of Public Defender

25   Services Commission for Freedom of Information cases, and

26   working with the AG's office if it goes further than the

27   actual hearing, advising and representing employees in
     Case 3:20-cv-01790-VAB     Document 137-1   Filed 12/19/22   Page 23 of 197   21


 1      regard to habeas corpus petitions, and the legislative

 2      liaison to the governor's office and the House -- the

 3      chamber of the House of Representatives.

 4          Q      That sounds like it keeps you busy.

 5          A      Yes.

 6          Q      In -- in that capacity, are there times when you

 7      have custody of files that were created by public defenders

 8      for their clients?

 9          A      Yes.

10          Q   And -- and what are the circumstances under which

11      you had come into custody of such a file?

12          A      If a public defender was the subject of a habeas

13      corpus petition, then I would in some instances become the

14      person who takes possession of the original file that had

15      been at the office.        There are also instances in malpractice

16      lawsuits where I may have possession of that original file

17      as well.

18          Q   And did you come into possession of Carl Eisenmann's

19      file for his client, Shawn Henning?

20                        ATTY. PROTO:     Objection, Your Honor.       May --

21              May I voir dire the witness briefly?

22                        THE COURT:     There's nothing being offered at

23               this point.

24                        ATTY. COUSINS:     I'm not offering it --

25                        THE COURT:     I'm not sure what

26                        ATTY. PROTO:     Well, here's my concern, Your

27              Honor.
     Case 3:20-cv-01790-VAB     Document 137-1     Filed 12/19/22   Page 24 of 197   22


 1                      THE COURT:       Yes.

 2                      ATTY. PROTO:       I believe Miss Del Prete-Sullivan

 3               through these proceedings has represented Mr.

 4               Eisenmann, and I'm concerned that we're getting into

 5               a conflict area here.

 6                      THE COURT:       Okay.   Well, we'll see.        Why don't

 7               you ask your question.           Don't answer the question.

 8               We'll see.      Go ahead.       Pose your question.

 9          Q    Miss Sullivan, in your capacity that you just

10      described at the Public Defender's Office, did you come into

11      possession of Carl Eisenmann's file that he created for his

12      client, Shawn Henning?

13          A    Yes.

14                      ATTY. PROTO:       Well, Your Honor,        I -- the

15               witness represents Mr. Eisenmann, so my concern is

16               that if there is not a waiver for her to testify,

17               I --

18                      THE COURT:       You want to voir dire on whether

19               she does represent

20                      ATTY. PROTO:       I -- I would like to do that,

21               Your Honor.

22                      THE COURT:       -- Mr. Eisenmann or another

23                      ATTY.   PROTO:     I would like to do that.

24                      THE COURT:       Go ahead.    I'll let you voir dire.

25      VOIR DIRE BY ATTY. PROTO:

26          Q   Miss Sullivan, is it -- should I call you Miss

27      Sullivan?    Is that --
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 1      A      Attorney Sullivan.

 2      Q      Attorney Sullivan.         You were present at a deposition

 3   in September with Mr. Eisenmann --

 4      A      Yes.

 5      Q      -- is that correct?

 6      A      Yes.

 7      Q      And you remember I was there as well?

 8      A      Yes.

 9      Q      Okay.     Did you represent Mr. Eisenmann's interests

10   at that deposition?

11      A      Yes, I did.

12      Q      Okay.     And you were here present in the courtroom

13   when Mr. Eisenmann testified?

14      A      Yes, I was.

15      Q      Were you here to represent Mr. Eisenmann's interests

16   on that day?

17      A      Yes,    I was.

18      Q      Has he signed a waiver for you to testify in this

19   matter?

20      A      He does not need to have me -- he does not need to

21   waive my testimony in regard to Mr. Henning's file because

22   Mr. Henning has signed a waiver.

23      Q      Okay.

24                     ATTY. PROTO:      Your Honor, we would disagree.            I

25             mean, it's -- the Court -- it's at the Court's

26             discretion.        We disagree that a waiver is not             I

27             mean, this is a matter in which Mr. Eisenmann has
     Case 3:20-cv-01790-VAB    Document 137-1   Filed 12/19/22   Page 26 of 197   24


 1               claimed to have rendered ineffective assistance of

 2               counsel.     It seems to me highly unusual that his

 3               attorney is here testifying as to things that he may

 4               or may not have done.

 5                       THE COURT:     Well, I -- I haven't heard a

 6               question which impugns Attorney Eisenmann's

 7               representation.        So far, we're just talking about a

 8               file.

 9                       ATTY. COUSINS:     That's correct, Your Honor.

10                       THE COURT:     The physical location of the file

11               and what happened to it, so I'm going to overrule

12              the objection.        Now, as to what I've heard so far,

13               if we get something else concerning advice to

14              Attorney Eisenmann, that's different.

15                       ATTY. PROTO:     Thank you, Your Honor.

16                       THE COURT:     Okay?

17      DIRECT CONTINUED BY ATTY. COUSINS:

18          Q   Attorney Sullivan, you came into possession of Carl

19      Eisenmann's file that he created during his representation

20      of Shawn Henning?

21          A   Yes.

22          Q   And -- and was that in November of 2004?

23          A    In -- in 2004.       I can't say for sure which month.

24          Q   You received it from Chris Cosgrove?

25          A   Yes, I did.

26          Q   And I believe his notes said it was the complete

27      file?
     Case 3:20-cv-01790-VAB     Document 137-1   Filed 12/19/22   Page 27 of 197    25


 1            A   Yes.

 2            Q   And -- and I think another note said it was in toto?

 3            A   Yes, it did.

 4            Q   Was that your understanding, that meant it was a

 5      complete file?

 6                       ATTY. PROTO:     Objection, Your Honor.

 7                Irrelevant.

 8                       THE COURT:     What her understanding is is

 9                irrelevant.

10            Q   Was it the original file?

11            A   Yes.

12            Q   And in 2007, did you send that to an outside third

13      party archive service?

14            A   Yes.

15            Q   That's a service that your office uses?

16            A   Yes.

17            Q   And in -- and in 2010, you retrieved it from that

18      same third party archive service?

19            A   I know I retrieved it from an archive service.              I'm

20      not sure if it was re- -- if it was archived from Jefferson

21      Archives or Iron Mountain, but it was in archive service.

22            Q   When that file was in your custody or the custody of

23      your office, did you have any policies to maintain the

24      integrity of the file?

25            A   Can you just tell me when you're talking about?

26            Q   At any time when the file was in your possession,

27      not       not obviously during the period that it was in the
 Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 28 of 197     26


 1   archive possession, but when it was in your possession which

 2   was 2004 through 2007 and then you retrieved it again in

 3   2010, so from 2004 to 2007 and from 2010 to the present, did

 4   your office maintain any policies in order to protect the

 5   integrity of the file?

 6       A   In regard to 2004 to 2007, the policy would be that

 7   the file would be locked up in my office, not outside in the

 8   corridor, in my office of the Chief's office where there are

 9   other files.     It would be locked up in my office.          From 2010

10   going forward,   there was a time, and I wasn't able to locate

11   this date, but some -- at some point between 2010 and 2015

12   now where we are, the file had been sent back to Iron

13   Mountain Storage because we did retrieve the original this

14   year.   It had been in Iron Mountain for a number of years

15   between 2010 and today.

16       Q   If -- if habeas counsel wants access to the file,

17   are they given the original or given copies?           What's the

18   what's the process there?

19       A   Petitioner's counsel is what you're asking -- habeas

20   petition-

21       Q   Yes.

22       A   They would receive a copy.       They would not receive

23   the original.

24       Q   And if habeas counsel or petitioner's counsel sought

25   access to the file and a copy was made, was that documented?

26      A    Yes.

27       Q   I'm going to show you what's been marked
     Case 3:20-cv-01790-VAB    Document 137-1    Filed 12/19/22   Page 29 of 197    27


 1      Petitioner's Exhibit for identification, number 182.                Is --

 2                      THE COURT:     Just remember you have to be near a

 3               microphone.

 4                      ATTY. COUSINS:     Okay.

 5          Q    Can you tell me what that is, please?

 6          A    This is entitled an Acknowledgement of Receipt of

 7      Copy of Attorney/Client File.           It is on my letterhead, and

 8      it is from 2010 regarding State of Connecticut v. Shawn

 9      Henning, and it is a receipt that was signed by Pete Palmer

10      on June 9, 2010 that he had received a copy of the

11      attorney/client trial file from my office.

12          Q   And it was a copy that was given to him?

13          A    Yes.

14          Q   And that's in keeping with the policy that you just

15      described that petitioners or a representative of a

16      petitioner receives a copy and not the original.

17          A   Absolutely.      We do not turn over the original file

18      to anyone.

19                      ATTY. COUSINS:     I -- I offer those as a full

20               exhibit.

21                      ATTY. PROTO:     Objection, Your Honor.         It should

22               come in through Mr. Palmer.         It should come in

23               through Mr. Palmer.       She can't authenticate this.

24               It's got his signature on it.

25                      THE COURT:     But he's already testified.         Mr.

26               Palmer testified as to his procedures while

27               (indiscernible)     -- a chain of custody.
 Case 3:20-cv-01790-VAB    Document 137-1     Filed 12/19/22   Page 30 of 197   28


 1                  ATTY. PROTO:     I don't believe he testified to

 2           the -- to having authored this document, Your Honor.

 3                  THE COURT:     But it       she's testified that it

 4           was received and it was in their files.              Did you

 5           want to ask any other foundational questions with

 6           regard to that?

 7       Q   Attorney Sullivan, who authored this document?

 8       A   I authored the document.

 9       Q   And did you author that document in the regular

10   course of your business?

11       A   Yes, I did.

12       Q   And was the regular course of -- was the regular

13   course of business at your office to maintain that kind of

14   doc- -- or create that kind of documentation?

15       A   Any time a file is taken from my office, we require

16   this.

17       Q   And was that particular document created out of need

18   at the time of the transaction that it represents?

19       A   Yes.

20                  ATTY. COUSINS:     I renew my offer.

21                  ATTY. PROTO:     Withdraw the objection, Your

22           Honor.

23                  THE COURT:     Okay.    Is this marked as an

24           exhibit?

25                  ATTY. COUSINS:     Yes, it is.

26                  THE COURT:     What is the number, please?

27                  ATTY. COUSINS:     182.
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 1                 THE COURT:     All right.      It may be admitted as

 2           full Exhibit 182.      Will you be using it with the

 3           witness again?

 4                ATTY. COUSINS:      I will not, Your Honor.

 5                 THE COURT:     Okay.     You can keep it.

 6       Q   Have you or anyone in your office permitted anyone

 7   to remove anything from the original Shawn Henning file

 8   since it's been in your custody?

 9                ATTY. PROTO:      I'm just going to object as to

10           form, Your Honor, with respect to anyone from her

11           office.      I'm not sure that there's a foundation for

12           this witness to testify to that.

13                THE COURT:      The question I -- I thought was

14           aimed at whether        to her knowledge, did she

15           authorize anyone to do it, not whether someone did

16           it surreptitiously.      Is that correct?         That's your

17           question?

18                ATTY. COUSINS:      Yes.     If you want,     I can

19           rephrase the question along those lines.

20                THE COURT:      Sure.

21      Q    To your knowledge, did you -- did you or did you

22   authorize anyone to remove anything from the Shawn Henning

23   file while it was in your custody?

24      A    While the file was in my custody,          I authorized Tammy

25   Parker to take the contents out and make a copy that was

26   given to counsel.

27      Q    And to your knowledge, did she remove anything after
     Case 3:20-cv-01790-VAB    Document 137-1      Filed 12/19/22   Page 32 of 197   30


 1      copying it?

 2          A    Remove totally?        No.     She did not remove anything.

 3          Q   And so the original file remained intact after the

 4      copying?

 5          A    To my knowledge, yes.

 6          Q    Do you have the original file with you?

 7          A    I do.

 8          Q    Is this it?

 9          A    That's it.     I did receive one additional piece just

10      in the last month which were only transcripts -- original

11      transcripts from the probable cause hearing.

12          Q   Okay.      How do you know this is the original?

13          A   Well, it was sent from -- it was given to me by

14      Chris Cosgrove, first of all.            Its original notation on it,

15      they are not copies, original ink, various colors of pages,

16      various colors of ink that are written on those pages, and

17      notations in different colors of ink by, I believe, Mr.

18      Eisenmann.

19                       ATTY. COUSINS:       I'd offer the file as a full

20              exhibit.

21                       ATTY. PROTO:     I do object, Your Honor.          She

22              can't authenticate the file.             I mean, she says she

23              believes they're Mr. Eisenmann's markings, but

24              there's no foundation for that belief.

25                       THE COURT:     Okay.    But it doesn't require the

26              witness to be -- provide conclusive testimony as to

27              the entire chain, simply the phase of it in which
 Case 3:20-cv-01790-VAB    Document 137-1     Filed 12/19/22   Page 33 of 197   31


 1           she's involved.        And so for that purpose, I'll allow

 2           it.     Is this being offered as a separate exhibit or

 3           for comparative purposes?

 4                   ATTY. COUSINS:     Separate exhibit.

 5                   THE COURT:     Well, let me just ask the

 6           Respondent.     We already have probably many of the

 7           documents in there, or do we have all of the

 8           documents in there as copies?

 9                   ATTY. COUSINS:     No.    No, Your Honor.

10                   THE COURT:     Okay.

11                   ATTY. COUSINS:     Not all of the copies are in

12                   ATTY. PROTO:     Well, again, Your Honor,        I mean,

13           I object to the extent it's cumulative, and it seems

14           to me like it's -- you know, I'm not sure what we're

15           entering.     Are we entering just the jacket, are we

16           entering the -- the contents separately in each and

17           every document in the -- because in that case, Your

18           Honor, it would contain hearsay and                and I'm not

19           sure what I'll be -- I'll be relevant.

20                   THE COURT:     All right.     I'll admit it as full

21           Exhibit -- is this 183?

22                   THE CLERK:     Correct, Your Honor.

23                   THE COURT:     And the purpose is to attempt to

24           establish what was available in Attorney Eisenmann's

25           file.    Attorney Eisenmann has testified concerning

26           his procedures in taking notes and putting notes to

27           the file and what he would do.
     Case 3:20-cv-01790-VAB   Document 137-1     Filed 12/19/22   Page 34 of 197   32


 1                      ATTY. COUSINS:    Yes, Your Honor.

 2                      THE COURT:   So I think it's relevant for that

 3               purpose.

 4          Q    Attorney Sullivan --

 5                      THE COURT:   We        we need to mark it.

 6                      ATTY. COUSINS:    Oh, yeah.

 7                      THE COURT:   If you could give it to the clerk.

 8               Yes, you may proceed.

 9          Q    Attorney Sullivan, about a year and a half ago, did

10      you and I sit down and compare the copy that I had of the

11      file with the file that you had?

12          A    Yes.

13          Q   And they were the same?

14          A    Yes.

15          Q   Attorney Sullivan, did you conduct a search of your

16      office to determine if there were any other files related to

17      Mr. Henning?

18          A    I did.

19          Q   And what was the result of that search?

20          A   The -- the result of it was that there were original

21      transcripts that we found in the -- Chris Cosgrove had found

22      from the 1989 probable cause hearing in the Shawn Henning

23      case, and no other documents were found besides what we have

24      here in the original file.

25          Q   Did you conduct a search for any documents or files

26      that may have been created by a public inves- -- a public

27      defender investigator -- or a private investigator for that
     Case 3:20-cv-01790-VAB     Document 137-1   Filed 12/19/22   Page 35 of 197   33


 1      matter, working on behalf of Mr. Eisenmann for Mr. Henning?

 2          A   Yes,   I did.

 3          Q   And what was the result of that search?

 4          A    There were no documents under the investigator's

 5      name, Casey or any other individual as an investigator.

 6          Q   And why did you mention Casey?

 7          A   Only because that's been mentioned before in the

 8      deposition, as well as here at the hearing.

 9          Q   And did you examine the file to determine whether

10      there are any memoranda, reports or notes of any witness

11      interviews conducted by Mr. Eisenmann --

12                     ATTY. PROTO:      Your Honor -- Oh, I'm sorry.

13          Q       or an investigator on Mr. Henning or Mr.

14      Eisenmann's behalf?

15                     THE COURT:     Okay, don't answer.         Yes?

16                     ATTY. PROTO:      Your Honor,    I just want to renew

17              my original objection because it seems to me that

18              this testimony is going to the performance of Mr.

19              Eisenmann and this witness represents Mr. Eisenmann,

20              so I just want to,       for the record, restate my

21              original objection as to a potential conflict.

22                     THE COURT:     Well, don't we already have

23              testimony that -- that the Exhibit 183 is the

24              contents of his file?        We have the testimony from

25              Attorney Eisenmann, and isn't this then cumulative

26              asking this witness to say what this witness found

27              or observed?       It is what it is.       What's there is
 Case 3:20-cv-01790-VAB   Document 137-1      Filed 12/19/22   Page 36 of 197   34


 1           there, and what's not there is not there.

 2                  ATTY. COUSINS:        May I consult briefly with --

 3                  THE COURT:     Yes.

 4                  ATTY. PROTO:     And if -- while they're doing

 5           that, Your Honor, if I just may state for the

 6           record, a potential problem that I see here is that

 7           I feel as though I am foreclosed from asking the

 8           witness about whether or not she has spoken to Mr.

 9           Eisenmann to explain why things are or are not in

10           his file.

11                  THE COURT:     Well, I haven't heard any testimony

12           that would make that a relevant cross-examination.

13           It would seem to be outside the scope at this point.

14                  ATTY. PROTO:     Except that it looks to us, Your

15           Honor, as though where this is going is why things

16           are and are not in the file.

17                  THE COURT:     I don't know if it's going in or

18           not.     We'll find out.

19                  ATTY. COUSINS:        We can find out right now, Your

20           Honor.

21                  THE COURT:     Okay.

22                  ATTY. COUSINS:        No further questions.

23                  THE COURT:     Okay.     Questions from counsel for

24           Attorney -- I mean for Mr. Birch?

25                  ATTY. OFGANG:     No questions, Your Honor.

26                  THE COURT:     Okay.     Cross-examination?

27   CROSS-EXAMINATION BY ATTY. PROTO:
     Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 37 of 197   35


 1          Q    Attorney Sullivan, when you say that this is the

 2      original file,     this 183 -- Exhibit 183 is the original file,

 3      are you guaranteeing to the Court that it is in the

 4      condition and main- -- it retains the contents that it had

 5      when Mr. Eisenmann initially turned it back to the Office of

 6      the Public Defender in Litchfield?

 7          A    No.

 8          Q    Okay.     And are you -- and -- and you first came into

 9      possession of this file,     to the extent that it exists,          in

10      2004.   Is that correct?

11          A    Yes.

12          Q    Okay.     And I think you testified that from 2004 to

13      2007 you sent it off to an ar- -- or it was in your

14      possession during those years?

15          A    Yes.

16          Q    Okay.    And where was it located during that time?

17          A    In my office -- in a locked drawer in my office.

18          Q    Okay.    And at no time during those three years did

19      you retrieve anything from it or for any reason open the

20      file?

21          A   When you say retrieve something from it, are you

22      saying remove something permanently?

23          Q    Permanently or temporarily.

24          A   No.      The file was there if Mr. Eisenmann came into

25      my office to review it, which I'm not testifying he did or

26      he didn't.      Of course, that would be up for review; but the

27      only time that there was anything that was removed from the
     Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 38 of 197   36


 1      file during that time, out of the file, was when it was put

 2      on a copy machine by my assistant.

 3          Q     Okay.   And in 2007, you -- you shipped it out to an

 4      archive, is that correct?

 5          A     It went to archives.    That's correct.

 6          Q     And where is that?

 7          A     I'd have to review my notes to see if it was

 8      Jefferson Archives.       I believe it was, or if it was Iron

 9      Mountain.

10          Q     Okay.   And then it came back into your possession in

11      2010?

12          A     In 2010, yes.

13          Q     Okay.   And what prompted it to come back into your

14      possession?

15          A     I believe the habeas corpus -- one of the habeas

16      corpus petitions that was filed with the Court.

17          Q     Okay.   And so then it would come back into your

18      possession and you would copy the contents and ship it out

19      to the habeas attorney.      Is that -- is my understanding

20      correct?

21          A     At that time I did, and the reason is because Mr.

22      Eisenmann was no longer an employee, and files are not

23      permitted to be taken out of the offices by people who are

24      no longer employed.

25          Q     Okay.   And -- but -- and you said in 2010 it was a

26      habeas that prompted you to re- -- to retrieve the file back

27      from --
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 1      A      Correct.

 2       Q     --    the archives.

 3      A      Yes.

 4       Q     Okay.     So it wouldn't be going to Mr. Eisenmann

 5   anyway.    It would be going to a new habeas attorney.

 6      A      A copy would go to the habeas attorney, and I

 7   believe at that time it was the Connecticut Innocence

 8   Project, which is part of our office, that the copy went to.

 9      Q      Okay.     So the copy went to the Innocence Project

10   within your office suite?

11      A      No.

12      Q      Okay.     In another office suite.

13      A      Yes.     I'm at 30 Trinity.       They're at the Mccarter

14   and English suite that's there

15      Q      Okay.     And

16      A            at City Place.

17      Q            and you -- so therefore, you retained in your

18   office the file that came back from archives.

19      A      Are you still talking 2010?

20      Q      Yes.

21      A      2010, yes, and it stayed under lock and key.                It did

22   go back to archives at some point between 2010 when -- after

23   I turned over a copy to Mr.          Palmer, and this year.

24      Q      Okay.    And at some point, did part or all of it go

25   to Mr. LeFebvre?

26      A      A copy went to that office, so I have Mr. Palmer

27   signing off on it.          I have not -- I have no notations of
     Case 3:20-cv-01790-VAB     Document 137-1    Filed 12/19/22   Page 40 of 197    38


 1      giving anything to Mr. LeFebvre.

 2            Q   Okay.     And you testified that the contents are --

 3      are       are you able to -- as you sit here today, are you

 4      able to guarantee that the contents in that file today are

 5      what they were when you got the file in 2004?

 6            A   I could testify that nothing has changed from my

 7      office, that we did not remove anything.

 8            Q   Okay.     But are you able to guarantee that --

 9            A   I can't guarantee since it was in archives.              I

10      cannot guarantee myself.

11            Q   Okay.

12                        ATTY. PROTO:     One moment, Your Honor?

13                        THE COURT:     Yes.

14            Q   Did you discuss with Mr. Eisenmann what may or may

15      not be in the file?

16            A   Yeah, I'm going to assert the privilege at this

17      point.

18                        THE COURT:     Well, that -- I -- you need not

19                answer that question.         That's outside the scope and

20                it may violate the privilege which you raised.

21            Q   You testified that you did not know whether or not

22      Mr. Eisenmann came to your office to look at the file.                  Is

23      that correct?

24            A   I can't testify as to whether he did or he didn't,

25      and I said I wasn't saying he did or he didn't.

26            Q   Okay.    When you say you can't testify as to whether

27      he did or he didn't, you just don't know?              Is that your
     Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 41 of 197    39


 1      answer?

 2          A     No,   I'm not going to answer that question because

 3      that's really beyond the -- that's actually privileged

 4      information as to whether I met with him, what I discussed

 5      with him, or where I met with him.

 6                      ATTY. PROTO:     Well, Your Honor,      I don't see how

 7                I can fully explore the points that are being made

 8                by the Petitioner's counsel.

 9                      THE COURT:     What is the area of difficulty that

10                you perceive?

11                      ATTY. PROTO:     Well, it -- it seems to me, Your

12                Honor, that this is all being offered for the

13                purpose of showing that what was in the file when

14                Mr. Eisenmann turned it over, or at least for a

15                period of time after Mr. Eisenmann turned the file

16                over, that what is -- the suggestion is that what is

17                in the file now is what was in the file then.

18                      THE COURT:     Well, Attorney Eisenmann testified

19                in this case, and you can certainly recall him and

20                go directly to the source rather than asking

21                Counsel.

22                      ATTY. PROTO:     No further questions, Your Honor.

23                      THE COURT:     Any redirect?

24                      ATTY. COUSINS:     Yes, Your Honor.

25      REDIRECT BY ATTY. COUSINS:

26          Q     Attorney Sullivan --

27                      THE COURT:     Make sure -- you have to be --
 Case 3:20-cv-01790-VAB    Document 137-1    Filed 12/19/22   Page 42 of 197   40


 1           because of the recording system is activated by your

 2           voice.

 3       Q   Attorney Sullivan, when Mr. Eisenmann testified in

 4   this proceeding, you were present?

 5       A   Yes, I was.

 6       Q   And you accompanied him here?

 7       A   Yes, I did.

 8       Q   And you had a file with you?

 9       A   Yes, I did.

10       Q   Was it his file?

11      A    Yes, it was.

12       Q   And you had the original file with you?

13      A    The same one that just went into evidence, yes.

14      Q    And was there a copy of that file in the courtroom

15   at the time, too?

16      A    Yes.

17      Q    That he used during his testimony?

18      A    Yes.

19      Q    It was an exact copy of the original file?

20      A    Well, actually I believe he brought the original

21   file up with him, not a copy.          He brought the original up

22   with him.

23      Q    Attorney Sullivan, when Mr. Eisenmann was

24   testifying, he was testifying from the exhibit which is now

25   Exhibit 183, the original file.          Is that correct?

26      A    Yes.

27      Q    Thank you.
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 1                   ATTY. COUSINS:    Nothing further.

 2                   THE COURT:   Let me just ask Counsel for

 3           Attorney (sic) Birch.

 4                   ATTY. OFGANG:    No questions, Your Honor.

 5                   THE COURT:   Okay.    Go ahead.

 6   RECROSS BY ATTY. PROTO:

 7      Q    Attorney Sullivan, Mr. Eisenmann brought Exhibit 183

 8   to the stand with him because you gave it to him.              Is that

 9   correct?

10      A    That's correct.      I had it with me --

11      Q    But you brought it

12      A       and I gave it to him.

13      Q    So you brought it from your office and gave it to

14   him, and he brought it up to the stand.

15      A    Correct.

16      Q    So the -- when he testified with the exhibit, it was

17   in the condition that it was in when you gave it to him,

18   correct?

19      A    It was in the condition it was when it came out of

20   my locked cabinet.     He had that with him that day.

21      Q    Okay.    And that was a couple weeks ago or a week ago

22   or so, correct?

23      A    A few weeks ago.

24      Q   And prior to that, had it been removed from the

25   cabinet for any -- any reason?

26      A    I really can't answer that question.            I'd have to

27   assert the privilege again as to whether or not it was
 Case 3:20-cv-01790-VAB          Document 137-1    Filed 12/19/22     Page 44 of 197      42


 1   removed to meet with Mr. Eisenmann.                I can testify that I

 2   did not remove that -- that file.                It had just come into our

 3   custody.      The original file had just come into our custody

 4   in the last couple of months.                Prior to that, it was in

 5   archives with Iron Mountain.

 6          Q    Okay.     I'm sorry then, maybe I misunderstood.                I

 7   thought you said in 2010 it came back from archives.

 8          A    It did, and then we sent it back to archives.                   It

 9   came back, we made a copy as the testimony has been; and

10   then once that had been completed, we sent the file back to

11   archives so it didn't sit in my office for five years.                          It

12   went back to archives, and it only came back in the last

13   couple of months, in that --

14          Q    Okay.     Okay.    I'm not asking you whether you spoke

15   to Mr. Eisenmann or whether you removed it to discuss with

16   him.       I just want to know, after it came back to you from

17   archives the last time, in the past couple of months, it

18   went into your locked drawer?

19          A    Yes.

20          Q    And did it come out of that locked drawer for any

21   reason prior to the day that Mr. Eisenmann testified here?

22                       THE COURT:       Excluding discussions with or given

23               to Attorney Eisenmann.

24                       ATTY.   PROTO:     For any reason.         No, not for any

25               particular reason.

26          Q    Did it ever come out of that -- did the door -- did

27   the        did the cabinet ever open up to take that file out?
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 1                     THE COURT:       With regard to anybody except for a

 2               request involving Attorney Eisenmann.

 3                     ATTY.   PROTO:     Right.

 4          A    No.   It did not.

 5                     ATTY. PROTO:       Nothing further, Your Honor.

 6                     ATTY. COUSINS:          Nothing further, Your Honor.

 7                     THE COURT:       Is the witness free to leave then?

 8                     ATTY. COUSINS:          She is.

 9                     THE COURT:       Okay.     You may leave.      Thank you.

10               Do you have the exhibit there?

11                     ATTY. OFGANG:       Your Honor?

12                     THE COURT:       Yes.

13                     ATTY. OFGANG:       Petitioner Ralph Birch would

14               like to call Attorney John Davenport.               My co-counsel

15               is getting him.        He was out --

16                     THE COURT:       Okay.

17                     ATTY. OFGANG:       Your Honor, the Petitioner at

18               this time would like to call John Davenport.

19                     THE COURT:       Okay.     Counsel, if you'd step right

20               up here next to the witness box and face the clerk.

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 1            J O H N     J.    DAVENPORT,              400 Grand Street,

 2              Waterbury, Connecticut, duly sworn by the clerk,

 3                        testified under oath as follows:

 4                 THE COURT:    You may be seated.         You may

 5           inquire.

 6   DIRECT BY ATTY. OFGANG:

 7      Q    Good morning, Mr. Davenport.

 8      A    Good morning.

 9      Q    Can you tell me what your current employment is?

10      A    I work for the State of Connecticut.            I'm a

11   Supervisory Assistant State's Attorney at Waterbury GA4.

12      Q    And how long have you been in that position?

13      A    I've been in that position five years.

14      Q    And before taking that position, what was your

15   employment?

16      A    I was with the State as an Assistant State's

17   Attorney then Senior Assistant State's Attorney.

18      Q    And how long have you been working in the State's

19   Attorney's Office?

20      A    23 years.

21      Q    Prior to joining the State's Attorney's Office, what

22   was your employment?

23      A    I worked at the law firm of Moynahan, Ruskin,

24   Mascolo, Minella and Mariani.

25      Q   And where was that firm located?

26      A    In Waterbury, Connecticut.

27      Q   And how long did you work there?
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 1       A    Approximately three years.

 2       Q    From when to when?

 3       A    1980- -- late '89 until late '92.

 4       Q    Do you have -- do you recall handling the direct

 5   appeal for the case State v. Ralph Birch?

 6      A     I worked on that appeal, yes.

 7       Q    Do you recall arguing it before the Supreme Court?

 8      A     I did.

 9       Q    Do you have any recollection of drafting the brief?

10      A     Not any direct recollection.        I -- I believe that I

11   was a signature on that.       I believe I contributed to the

12   brief.

13       Q    Did you retain any of the case files after you left

14   the Moynahan Law Firm?

15      A     I did not.

16      Q     Do you have any documents in your possession related

17   to the -- the Birch appeal?

18      A     I do not.

19      Q     Do you have any recollection of picking up the trial

20   attorney case file?

21      A     I do not.

22      Q     Do you have a recollection of meeting with Alfred

23   Mencuccini -- Attorney Alfred --

24      A     I have a general recollection of meeting with him,

25   but specifics,    I couldn't tell you what they were.           I also

26   believe that he was involved in a second appeal that I

27   worked on, and I may be confusing the two, but I do remember
 Case 3:20-cv-01790-VAB   Document 137-1       Filed 12/19/22   Page 48 of 197   46


 1   meeting with him at some point.

 2       Q   Do you remember meeting with him more than once?

 3      A    No.     I -- I -- I just don't remember.

 4       Q   Okay.     And the second appeal you're referring to was

 5   handled while you were at Moynahan Law Firm as well?

 6      A    That's correct.

 7       Q   Was the Ralph Birch appeal your first time appearing

 8   before the Supreme Court?

 9      A    It was.

10      Q    And would you have filed the brief without reviewing

11   the entire case file?

12      A    I can't imagine that I would have.

13      Q    It being your first case arguing before the Supreme

14   Court, do you imagine you would have been particularly

15   meticulous?

16                   ATTY. PROTO:     Objection.      Speculation, Your

17           Honor.

18                   THE COURT:     Do you claim it?

19                   ATTY. OFGANG:     I can rephrase it, Your Honor.

20                   THE COURT:     Okay.

21      Q    Without speculating, can you describe what your

22   general practice would've been?           Had you been arguing before

23   the Supreme Court for the first time, would you have been

24   particularly meticulous?

25      A    As a young associate,          I can't imagine that I was not

26   meticulous in my preparation.

27      Q    Was it your general practice to make sure that you
     Case 3:20-cv-01790-VAB    Document 137-1   Filed 12/19/22   Page 49 of 197   47


 1      had a trial file to review during brief writing?

 2          A    I couldn't speak to a general practice having only

 3      argued two appeals.       I   believe I would not have gone forward

 4      without some or all of the trial file.

 5          Q    Do you have a recollection of going to the Appellate

 6      Unit of the Chief Public Defender's Office to retrieve a

 7      case file?

 8          A    I do not.

 9          Q    And as a general practice at the Moynahan Law Firm,

10      were you made aware of the importance of maintaining the

11      integrity of case files in -- at -- in the possession of the

12      law firm?

13          A    I think that was left to our own independent

14      judgment.       I don't remember being taught that there.

15          Q    But was it your practice to maintain the integrity

16      of case files?

17          A    I took care of all my files.         I handled a great

18      number of criminal files while I was at that law firm.

19          Q   And when you were assigned a case as an associate at

20      that law firm, would you review the case file?

21          A    Yes.

22          Q   And what were your assignments at the law firm?

23          A    I handled all criminal assign-            criminal cases

24      that were brought into the firm to defend unless -- I had a

25      couple of other people that helped me, but primarily I was

26      responsible for representing all the criminal clients at the

27      firm.
 Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 50 of 197   48


 1       Q   And was it ever your practice while at the Moynahan

 2   Law Firm to permanently remove documents from case files in

 3   your possession?

 4      A    No.

 5       Q   Do you have a recollection of ever permanently

 6   removing a document from a case file on which you were

 7   working?

 8      A    No.

 9       Q   Do you recall removing any materials at all

10   including perhaps investigative memoranda or trial attorney

11   work product or dictations from any file?

12      A    No.

13       Q   After your completion of an appeal, what would you

14   do with a client's case file?

15      A    The file would be just turned over to the

16   secretaries and they would do whatever they had to do.

17   Understand that Mr. Moynahan was the primary focus of the

18   material corning to the law firm.

19      Q    And you have no recollection of arranging for the

20   file to go back to --

21      A    No.

22                 ATTY. OFGANG:    Your Honor, may I have a moment?

23                 THE COURT:    Yes.

24                 ATTY. OFGANG:    No further questions, Your

25           Honor.

26                 THE COURT:    Counsel for Attorney (sic) Henning,

27           any questions?
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 1                    ATTY. COUSINS:        No questions.

 2                    ATTY. PROTO:     Just some very brief questions,

 3            Your Honor.

 4                    THE COURT:     Yes.

 5   CROSS-EXAMINATION BY ATTY. PROTO:

 6       Q    Good morning, Mr. Davenport.

 7      A     Good morning.

 8       Q    You -- when did you leave the Moynahan Law Firm

 9   again?

10      A     In August of 1992.

11       Q    Okay.     And you said you contributed.            I think if~-

12   if I remember your words correctly, you contributed to the

13   brief in the Birch case.

14      A     Correct.

15      Q     So does that mean that there were other people who

16   worked on the brief as well?

17      A     I believe, as I recall, Mr. Moynahan and I both

18   signed the brief.

19      Q     Okay.    And you said that Mr. Moynahan was the

20   primary focus.       Can you just elaborate on what you meant by

21   that?

22      A     Sure.    My understanding and my recollection is that

23   the Chief Public Defender at the time had asked Mr. Moynahan

24   to take on this appeal pro bono, which Mr. Moynahan agreed

25   to do, and so at some point after that conversation I was

26   asked to work on the file.

27      Q     Okay.    And when was the last time that you actually
     Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 52 of 197   50


 1      saw the file?

 2          A    I have no idea.     It would certainly have been

 3      sometime before I left the law firm in '92, but I have no

 4      independent recollection of when the last time I saw the

 5      file was.

 6          Q    And -- and according to your testimony, you would've

 7      just turned it over to -- or -- or somebody that you or Mr.

 8      Moynahan would have turned it over to the secretary.

 9          A    Yeah, to whoever was handling the -- the filing at

10      that time, yes, sir.

11          Q    And do you have any knowledge of what would happen

12      to it thereafter?

13          A    No, I don't.

14                    ATTY. PROTO:     No further questions, Your Honor.

15                    THE COURT:     Any redirect?     Counsel, any

16               redirect?

17                    ATTY. OFGANG:     A moment to consult with co-

18               counsel?

19                    THE COURT:     Yes.

20                    ATTY. OFGANG:     No further questions, Your

21               Honor.

22                    THE COURT:     Any need to retain the witness?

23                    ATTY. OFGANG:     No, Your Honor.

24                    THE COURT:     You're free to leave.        Thank you.

25                    THE WITNESS:     Thank you, Your Honor.

26                    ATTY. OFGANG:     Your Honor, at this time,

27               Petitioner Ralph Birch would like to call Attorney
 Case 3:20-cv-01790-VAB   Document 137-1    Filed 12/19/22   Page 53 of 197   51


 1           Ternmy Miller.

 2                THE COURT:     Okay.     Counsel -- and I would

 3           indicate that this witness also has handled habeas

 4           cases in front of me.       Okay?    Go ahead.

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 Case 3:20-cv-01790-VAB   Document 137-1    Filed 12/19/22   Page 54 of 197   52


 1               T E MM Y      A N N      MILLER, 2275 Silas Deane

 2              Highway, Rocky Hill, Connecticut, duly sworn by the

 3                    clerk, testified under oath as follows:

 4                  THE COURT:    Okay.    You may be seated.       You may

 5             inquire.

 6   DIRECT EXAMINATION BY ATTY. OFGANG:

 7         Q   Good morning, Attorney Miller.

 8         A   Good morning.

 9         Q   Can you tell me what your current employment status

10   is?

11         A   I'm employed with the Division of Public Defender

12   Services.

13         Q   And what's your title?

14         A   I'm the Resource Attorney for habeas corpus matters

15   for the Office of the Chief Public Defender.

16         Q   And how long have you been in that role?

17         A   Since approximately June of 2013.

18         Q   And prior to taking on that position, what was your

19   former employment?

20         A   I was the Chief of Habeas Corpus Services for the

21   Office of the Chief Public Defender.

22         Q   And when -- from when to when were you in that

23   employment?

24         A   I had that title from approximately 1999 or 2000

25   until 2013 -- yes, 2013.

26         Q   And prior to it -- so you supervised the Habeas Unit

27   from -- from '99 to 2013?
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 1          A    I supervised the Habeas Unit from 1991 through

 2   December 1 st of 1992, and again from mid April or mid May of

 3   1996 continuously through 2005, and then again 2010 to 2013.

 4          Q    And let's just -- I'm -- I'm going to just parse

 5   out.       So you said from '92 to '93?

 6          A    December 1, 1992.

 7          Q    And during the time that you were not supervising,

 8   were you otherwise employed within the Public Defender's

 9   Office?

10          A    Yes.   I was employed with the Legal Services Unit of

11   the Office of the Chief Public Defender, except from 1994 to

12   '96 I was with the Public Defender's Office for the New

13   Haven JD.

14          Q    And going back to your time as Supervisor of the

15   Habeas Units, what were your job responsibilities?

16          A    I was responsible for supervising the personnel of

17   the Habeas Corpus Unit and ensuring compliance with the

18   rules of professional responsibility.           I was also generally

19   responsible for contact with Special Public Defenders in

20   that role, those being attorneys contracting with the

21   Division of Public Defender Services to handle cases that

22   were not being handled in house.

23          Q    And is it correct that Special Public Defenders are

24   also known as Assigned Counsel?

25          A    They are now known as Assigned Counsel.

26          Q    And just to clarify, in -- within your

27   responsibilities, were you responsible for ensuring that
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 1   personnel maintained case files in accordance with the rules

 2   of professional ethics?

 3      A    Yes,    I was.

 4      Q    Do you have any specific recollection of the Ralph

 5   Birch case?

 6      A    I have specific recollections of the transfer of the

 7   case to the Connecticut Innocence Project.                 I have a

 8   specific recollection of a few other aspects of the case

 9   such as the transfer of the case to a Special Public

10   Defender.

11      Q    Can you tell me what you recall about the transfer

12   of the case to the Connecticut Innocence Project -- what you

13   remember?

14      A    I remember a conversation with then Attorney Karen

15   Goodrow, now Judge Goodrow.          She was interested in handling

16   the case, and I do remember that she took over

17   responsibility for the case and materials that were

18   available within the Habeas Corpus Unit were physically

19   transferred to her.

20      Q    And do you have a sense of approximately when that

21   occurred?

22      A    I believe it was 2001 or perhaps -- I have a -- I

23   think it was between 2001 and the end of 2003.                 I don't know

24   exactly when.

25      Q    And did you review any of the records on file at the

26   Habeas Unit related to the Birch case in preparation for --

27   for testimony today?
     Case 3:20-cv-01790-VAB    Document 137-1   Filed 12/19/22   Page 57 of 197       55


 1          A    I reviewed some records concerning the -- when

 2      the attorn- -- when the case came into the Habeas Corpus

 3      Unit and what attorneys represented Mr. Birch.

 4          Q    Do you have -- based on that review, do you have a

 5      recollection of when the attor- -- when the file came into

 6      the Habeas Unit -- around when?

 7          A    It was a 1992 case, and I know it came into the

 8      office in 1992.       I know what the records say as far as the

 9      date.   I don't have a specific independent recollection of

10      the date.

11          Q    And so other than this general recollection about

12      the case, you don't have any specific recollection of the

13      case file transfers in the Birch case, other than what we

14      just discussed.

15          A    No,   I have no other specific recollection.

16          Q    The general practice at the Habeas Unit related to

17      assignment of cases.       Could you -- could you speak to that a

18      little bit about how cases were assigned to the Habeas Unit?

19          A    Sure.   Cases were filed -- habeas corpus cases were

20      filed prose with the Court in various jurisdictions

21      throughout the state, principally Rockville and New Haven

22      and Hartford.     Those were the locations the Habeas Corpus

23      Unit handled generally.       The Court after -- the           the

24      petition, would refer the case to the Office of the Chief

25      Public Defender, the Habeas Corpus Unit; and at one point,                I

26      believe it was prior to 1995, the Habeas Corpus Unit would

27      examine the case, and absent indications to the contrary the
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 1   office operated on the principle that individuals who had

 2   been incarcerated did not have sufficient resources to hire

 3   attorneys absent indications to the contrary, and the office

 4   would file an appearance on behalf of -- let me specify

 5   from 1991 to 1992, the office would file an office

 6   appearance, and this also applies to 1996 moving forward

 7   file an office appearance on behalf of the petitioner.              The

 8   case would be examined to determine whether it would be

 9   handled in house or would be referred to a Special Public

10   Defender for representation.      If it was being referred to a

11   Special Public Defender, a member of the office would ask a

12   specific attorney to -- a specific Special Public Defender

13   to handle the case, and that was done -- and I can't

14   remember exactly the -- whether this was the case in '96

15   going forward, as well as '91 and '92 or not.            The request

16   to the Special Public Defender would be made by a letter

17   once it was determined that a Special Public Defender was

18   necessary and there was reason to believe a particular

19   Special Public Defender was available for that case.             The

20   secretary in the office would send a letter to that

21   perspective Special Public Defender asking -- naming the

22   case and the attorney who had previously represented the

23   petitioner and asking if the perspective Special Public

24   Defender was aware of a potential conflict of interest or

25   whether that attorney would accept the case.           If the

26   Special     if the perspective Special Public Defender was

27   willing to accept the case, that attorney filed an
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 1   appearance in lieu of the Habeas Corpus Unit and the file

 2   was transferred to that attorney.

 3        Q    And so there would be a transfer of the trial

 4   attorney case file between the Habeas Unit to the SPD -- the

 5   Special Public Defender.

 6        A    There'd be a transfer of the Habeas Corpus Unit file

 7   which might or might not include the trial attorney's file.

 8        Q    But if -- if in -- if in a case it did include a

 9   trial attorney file,      the Habeas Unit would transfer that

10   file over to the Special Public Defender who was assigned.

11        A    Would transfer that file,      either the original or a

12   copy.     I -- I can't now recall whether we routinely sent the

13   original file.       I believe that we did and retained a copy of

14   that file.       The reason for that was the original file was

15   the evidence of what the attorney had, perhaps didn't have,

16   or what the attorney did, and sometimes additional

17   information could be gleaned from the original as opposed to

18   a photocopy.      The indication that notes might've made --

19   be       been made on a different date, that sort of thing.

20        Q    Were there ever circumstances where an in-house

21   Habeas Unit attorney would handle a case for a while and

22   then it would get assigned out?

23        A    Yes.

24                    ATTY. PROTO:    I'm going to object, Your Honor,

25             relevance to this case in particular.

26                    ATTY. OFGANG:   Your Honor, we're trying to

27             establish -- the witness has said she doesn't have a
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 1            specific recollection of this case.           We're trying to

 2            establish general practices.

 3                 THE COURT:     I'll allow it.

 4      A     Yes, there were occasions where it was originally

 5   believed that the case would be handled throughout its

 6   entirety by one of the lawyers in the Habeas Corpus Unit,

 7   and then for one reason or another a Special Public Defender

 8   took over the case.

 9      Q     In those instances, would it happen that the

10   original file would be retained and a photocopy would go

11   out?    Would that be a possibility of the trial attorney

12   file?

13      A     It certainly -- yes, as I said,       I believe that some

14   original files went out, but I do know there was a practice

15   at some point of sending copies of the file.

16      Q     And at all times during case file transfers, was the

17   personnel at the Habeas Unit aware of maintaining the

18   integrity of a trial case file,       be it a copy of the original

19   or the original itself?

20                 ATTY. PROTO:     Objection, Your Honor.         I believe

21            the question is were other people aware of things,

22            and I would object to that.       It's hearsay.

23                 THE COURT:     Yes.

24      Q     And based on your institutional knowledge of the

25   Habeas Unit and in your capacity as supervisor, to your

26   knowledge, were personnel made aware of the importance of

27   maintaining the integrity of trial attorney case files as
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 1   they are transferred, be they original copies of the case

 2   file or a photocopy?

 3                 ATTY.   PROTO:     Still the same objection, Your

 4           Honor.

 5                 THE COURT:       Well, I'll allow it.

 6      A    Yes, I was aware of that information being

 7   communicated to the staff of the Habeas Corpus Unit, both as

 8   to internal files and files going out to Special Public

 9   Defenders.

10       Q   And to your knowledge, was the Habeas Unit made

11   aware of the importance of preserving the underlying record

12   particularly in habeas cases?

13      A    Yes, I --

14                 ATTY.   PROTO:     Same objection, Your Honor.

15                 THE COURT:       Overruled.   You may answer.

16      A    I particularly provided that information to the

17   staff because in habeas corpus cases, and to a certain                   in

18   habeas corpus cases, one is trying to represent the

19   petitioner.   One is trying to reconstruct what has happened

20   at a previous date, and so the integrity of the file was

21   very important both for the cases handled in house, and I

22   believed that it was very important to maintain the

23   integrity of materials going to Special Public Defenders so

24   that they logically were doing the same reconstruction.

25      Q    Was it a policy at any time during your tenure at

26   the Habeas Corpus Unit for personnel to permanently remove

27   documents from case files within the possession of the
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 1   office?

 2      A      Absol-

 3                   ATTY. PROTO:    Objection, Your Honor.        It's

 4             irrelevant as to this case.       I'm not sure there's a

 5             foundation been laid for that.

 6                   THE COURT:     Based on the foundational argument,

 7             I will overrule the objection.        You may answer.

 8      A      It was not the practice that individuals in the

 9   Habeas Corpus Unit would permanently remove items from a

10   case file.

11       Q     Where would case files be stored at the office?

12      A      The files, whether they were ultimately going to go

13   out to a Special Public Defender or whether they were being

14   handled in house, were stored in filing cabinets in the

15   office.    If no member of the Habeas Corpus Unit was

16   physically in the office, the office itself was locked.

17      Q      Would it be customary for personnel to open files if

18   not necessary?

19      A      No.   Each attorney in the office was handling his or

20   her own habeas corpus cases.        Cases that were going to

21   Special Public Defenders remained in the cabinet.             Any

22   materials we received related to those, which were usually

23   received in boxes that had been sealed during the

24   transmission -- for the transmission, those boxes were

25   maintained in the Habeas Corpus Unit, and the practice was

26   those boxes weren't even opened.        The boxes were received,

27   generally as I say, sealed, were placed in the office, and
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 1      the Special Public Defender typically would come pick up

 2      that box.

 3          Q    Would it be exceedingly unusual for documents to be

 4      permanently removed from a trial attorney's file that was in

 5      the possession of the Habeas Unit?

 6                    ATTY. PROTO:      Objection, Your Honor.

 7               Speculation.

 8          Q    Without speculating

 9                    THE COURT:      I think it's not speculating to a

10               future event.     It's a description of past custom and

11               practice?

12                    ATTY. OFGANG:      Yes.

13                    THE COURT:      I'll allow that.

14                    ATTY. OFGANG:      Do you want me to --

15          A    It would have been beyond extraordinary for a

16      document to be permanently -- permanently removed from a

17      trial attorney's file.       The importance of maintaining the

18      trial attorney's file was well understood by all members of

19      the Unit.

20                    ATTY. OFGANG:      Thank you.     Can I have a moment,

21               Your Honor?

22                    THE COURT:      Yes.

23          Q    Can you describe what the normal practices would be

24      for obtaining a trial attorney case file once a case was

25      initiated at the Habeas Unit?

26          A   Certainly.      A member of the office would either

27      contact the petitioner by letter or personally visit the
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 1   petitioner.     At that time, I believe virtually all

 2   petitioners received a personal visit from the paralegal in

 3   the office.     The petitioner would be asked to sign releases

 4   authorizing the trial attorney to transfer the file to the

 5   Unit, also releases to receive other types of information.

 6       Q   And then from there, how would the Habeas Unit

 7   affect the --

 8      A       The Habeas Unit would then write to trial counsel

 9   enclosing a copy of the release requesting the file.              In

10   some cases, the file was promptly delivered to the Habeas

11   Corpus Unit.     In other cases, the Habeas Corpus mem- -- a

12   member of the Habeas Corpus Unit would go to the trial

13   attorney's file to pick up the file and there were some

14   occasions where there was a delay in receiving the file

15   because the trial attorney did not initially respond to the

16   request.     In those cases, there was a follow up request and

17   in most cases that follow up request produced the file.

18   There were some occasions, rare, where the Unit filed a

19   motion that was styled as a motion for supervisory order.

20   That motion asked the Court to schedule a hearing at which

21   the trial attorney could appear and explain to the Court why

22   the file had not been forwarded to the Habeas Corpus Unit.

23                  THE COURT:     Was that usually with private

24           counsel?

25                  THE WITNESS:     Yes.   The Habeas Corpus Unit did

26           not handle cases involving public defenders at that

27           time -- public defenders as trial counsel.
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 1                   ATTY. OFGANG:       One moment.

 2                   THE COURT:       Yes.

 3                   ATTY. OFGANG:       No further questions, Your

 4           Honor.

 5                   THE COURT:       Okay.     Counsel for Mr. Henning, any

 6           questions?

 7                   ATTY. COUSINS:          No questions.

 8                   THE COURT:       Respondent?

 9                   ATTY.   PROTO:     Again, Your Honor, very briefly.

10                   THE COURT:       Yes.

11   CROSS-EXAMINATION BY ATTY. PROTO:

12      Q    Attorney Miller, correct me if I'm wrong.                  Is my

13   understanding correct that your memory with res- -- specific

14   re- -- specifically with respect to Mr. Birch's case and his

15   file is limited to a transfer at the time that it went to

16   Attorney, now Judge Goodrow?

17      A    I wouldn't say that's the total.                That is the

18   primary memory I have.        I have memory of certain other

19   general -- certain other events that are not atypical, but I

20   do remember a few things.

21      Q    Okay.     At that time -- let's -- let's focus just on

22   that -- that transfer.        Is that something that you sort of

23   orchestrated administratively or did the file ever

24   physically come into your personal possession?

25      A    There was a file at the Habeas Corpus Unit that

26   physically present at the Habeas Corpus Unit that was

27   transferred to then Attorney Goodrow.
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 1          Q    Okay.     But not through your hands.           Is that correct?

 2          A    I have no specific recollection of whether I hand

 3      delivered it or whether then Attorney Goodrow came to the

 4      office to pick it up or whether it was transferred by some

 5      other mechanism.

 6          Q    Okay.     And is it -- am I correct to understand that

 7      there was no inventory of the documents in the file done

 8      prior to its transfer to Attorney Goodrow?

 9          A    That's correct.

10          Q    Okay.     And when it came -- are you familiar with the

11      time when it came back to your office?

12          A    I am aware that it went to the Connecticut Innocence

13      Project, and I believe that it stayed with the Innocence

14      Project, but the Innocence Project and the Habeas Corpus

15      Unit merged after I became the Resource Attorney and was no

16      longer supervisor of the office -- the Habeas Corpus Unit.

17          Q   Was the -- did the actual file go to the Innocence

18      Project or did a copy of the file go to the Innocence

19      Project?

20          A    I have no specific recollection of whether it was a

21      copy or an original.

22          Q   Okay.      And from the time that the file was turned

23      over from Mr. Eisenmann to the Office of the Public

24      Defender --

25          A   Excuse me --

26                       ATTY. OFGANG:   Objection.

27          A    I do not believe that Attorney Eisenmann turned over
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 1   the Birch file.      As I recall, Mr. Birch was represented by

 2   Attorney Al Mencuccini.

 3      Q    My apologies.        I -- I'm easily confused.          From the

 4   time that the file was turned over by Mr. Mencuccini to the

 5   office to the time that you transferred it to Attorney, now

 6   Judge Goodrow, have you seen that file personally?

 7                   ATTY. OFGANG:     Objection, Your Honor.          Outside

 8           the scope of direct.           She never testified that

 9           Alfred Mencuccini deposited the file at the office.

10                   THE COURT:     I'll allow the question if you

11           recollect if you physically saw it.

12      A    I don't have a specific recollection.

13      Q    Okay.     So are you able to say that at the time the

14   file was turned over to Judge Goodrow that it was in fact in

15   the same exact situation that it had been when Mr.

16   Mencuccini had it?

17      A    No.

18      Q    Okay.

19                   ATTY. PROTO:     No further questions, Your Honor.

20                   THE COURT:     Any redirect?

21                   ATTY. OFGANG:     A moment, Your Honor.

22                   THE COURT:     Okay.

23   REDIRECT BY ATTY. OFGANG:

24      Q    Again, was it the general practice of the Habeas

25   Unit not to tamper with a trial counsel file?

26                   ATTY. PROTO:     Objection.      Beyond the scope of

27           cross.
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 1                 THE COURT:     Well, I'm not sure.         In what way is

 2           it beyond the scope of

 3                 ATTY. PROTO:     Well, I -- I didn't ask anything

 4           about general policies and tampering with files,

 5           Your Honor.

 6                 THE COURT:     All right.      I'll sustain the

 7           objection.     I think she's already testified as to

 8           the practices.

 9      Q    Would there be any reason for a Habeas Unit attorney

10   to permanently remove a document from a trial counsel file

11   that came into its possession?

12                 ATTY. PROTO:     Same objection, and it's been

13           asked and answered.

14                 THE COURT:     Well, that calls for speculation.

15           I'll sustain the objection.

16                ATTY. OFGANG:      One moment, Your Honor.

17                 THE COURT:     Okay.

18                ATTY. OFGANG:      No further questions.

19                 THE COURT:     Okay.     Counsel for Attorney (sic)

20           Henning, any questions?

21                ATTY. COUSINS:      No questions.

22                 THE COURT:     Respondent?

23                ATTY. PROTO:      Nothing, Your Honor.

24                THE COURT:      Any need to retain the witness?

25                ATTY. COUSINS:      No.

26                THE COURT:      You're free to leave.         Thank you.

27                THE WITNESS:      Thank you.
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 1                THE COURT:     Nice to see you again.

 2                THE WITNESS:     Good to see you, Judge.

 3                THE COURT:     This would be the time we normally

 4           take our morning break.       Is that good for the

 5           parties?     All right, then we'll take our morning

 6           break, about ten, fifteen minutes.

 7                ATTY. PROTO:     Thank you.

 8                ATTY. OFGANG:     Thank you, Your Honor.

 9                                     (Recess)

10                THE COURT:     Good afternoon.      Yes?

11                ATTY. O'SHEA:     Good afternoon, Your Honor.           The

12           Petitioner calls Ralph Birch.

13                 THE COURT:    Okay, sir.     We're going to have you

14           stand right over here next to the witness box and

15           face the clerk.

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     Case 3:20-cv-01790-VAB   Document 137-1    Filed 12/19/22   Page 70 of 197   68


 1                R A L P H     J O S E P H       BIRCH, 137220, Osborn

 2                     Correctional Institution, Somers, Connecticut,

 3                        duly sworn by the clerk, testified under

 4                                      oath as follows:

 5                      THE COURT:   Okay.     You may inquire.

 6                      ATTY. O'SHEA:     Thank you, Your Honor.

 7      DIRECT EXAMINATION BY ATTY. O'SHEA:

 8          Q    Good afternoon, Mr. Birch.

 9          A    Hello.

10          Q    How old are you?

11          A    48.

12          Q   And do you have any siblings?

13          A    Yes.     I've got four half siblings and several step

14      siblings.

15          Q   And

16                      ATTY. CARLUCCI:      Judge, could I just interject?

17              Could you ask the witness to keep his voice up,

18              please?

19                      THE COURT:   Yes.     Mr. Birch, you can move that

20              microphone closer to you if it's easier to get your

21              voice in there, okay?        And Attorney Carlucci, are

22              you going to be doing the examination -- cross-

23              examination?

24                      ATTY. CARLUCCI:      Yes, Judge.

25                      THE COURT:   Then do you want to take a seat

26              over here --

27                      ATTY. CARLUCCI:      If -- if you would prefer,
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 1           Judge, sure.

 2                   THE COURT:      so we don't have the problems

 3           that we encountered with other witnesses.

 4   DIRECT CONTINUED BY ATTY. O'SHEA:

 5       Q   And where do your parents live?

 6       A   My father is -- well, my biological father and my

 7   stepfather are both deceased, and my mother lives in New

 8   Hampshire.

 9       Q   And where did you grow up?

10       A   I grew up in New Milford until I was 13, and then I

11   moved to Charlestown, New Hampshire.          I lived there until I

12   was 17, then I went to Virginia briefly and then came back

13   to New Milford.

14       Q   And why did you go to New Hampshire?

15      A    Because my parents wanted to move up there.             They

16   moved up there, wanted to get away.         They didn't like the

17   hectic pace down here.       They wanted to go up and live up on

18   a mountain.

19       Q   And why did you -- withdrawn.         How old were you when

20   you left New Hampshire?

21      A    When I left New Hampshire?

22      Q    Yes.

23      A    17.

24      Q    And why did you leave New Hampshire?

25      A    I didn't like it up there.        I wanted to be more in

26   the city.      I wanted to be around people.       We -- we were two

27   miles away from our nearest neighbor up there.             It was like
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 1   very secluded.

 2       Q   And when you moved to New Milford -- when you

 3   returned back to New Milford, when was that?

 4      A    What year?

 5       Q   Yes.

 6      A    1985, I believe.

 7       Q   And how    --   how old were you at that point?

 8      A    17.     It was either the beginning of '85 or the end

 9   of '8 4 I came back.

10      Q    And who did you live with when you went to New

11   Milford?

12      A    I lived with my grandmother for a little bit, and my

13   brother -- my half-brother a little bit.

14      Q    And -- and what's your half-brother's name?

15      A    John.     We call him Butch -- John.

16      Q    And what was his -- was he married?

17      A    Excuse me?

18      Q    Was he married at the time?

19      A    Yes, he was.

20      Q    What was his wife's name?

21      A    Pam.

22      Q    And did you end up leaving their apartment -- or

23   their house?

24      A    Yes, I left there.        I lived in a basement apartment

25   that I was supposed to be remodeling for somebody --

26      Q    And when was that?

27      A    -- I worked with.        Excuse me?
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 1         Q    When was it that you moved into that apartment?

 2         A    Sometime summer of '85.

 3         Q    I'm sorry, when was that?

 4         Al   Like summer of '85, maybe fall of '85.

 5         Q    And what was the -- I think -- believe -- I believe

 6   you mentioned this earlier, but what was the arrangement

 7   for        for rent there?

 8         A    I was doing remodeling.     I was turning the basement

 9   into an apartment building -- put building partitions in,

10   putting in a bathroom down there.         I was supposed to be

11   remodeling it into a -- a livable, basement apartment.

12         Q    And did you end up leaving that apartment?

13         A    Yes.

14         Q    And when was that?

15         A    Shortly before Thanksgiving of '85.

16         Q    And where did you live after that?

17         A    For a little while,   I was home- -- I was homeless,

18   basically.

19         Q    So where did -- where did you sleep?

20         A    Sometimes I slept at the pavilion on Young's Field.

21   Sometimes I slept in a tent that I had.           Sometimes I slept

22   in a car that we stole.

23         Q    So turning to the car, is that the Buick that was at

24   issue in your criminal trial?

25         A    Yes.

26         Q    And when did you      when did you take that vehicle?

27         A    Thanksgiving Day of '85.
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 1          Q   And at the time around this time period, how much

 2      money did you have?

 3          A   None.     No money.

 4          Q   And how -- how many possessions did you have?

 5          A   Nothing that wouldn't fit in a little bag or a

 6      backpack that I carried.

 7          Q   And did you -- did you own a coat at that time?

 8          A    Yes.    I got a coat from my mother when I went to New

 9      Hampshire.      I did -- before that, I had a leather jacket

10      that was all ripped up.

11          Q   And was that coat that you received your -- from

12      your mother, was that the one that -- that was taken by the

13      police from you on December 5 th of 1985?

14          A   Yes, it is.     Yes, it is.

15          Q   When did you first meet Tina Yoblonski?

16          A    I knew her when I was a kid in like first grade or

17      second grade, and she was in the same class as I was in.

18      And then I never really had any contact with her growing up

19      until I was 13 after that, and then I met her again when I

20      came back.      She remembered me.     I didn't even really

21      remember her when I met her.         She remembered me from when we

22      were kids.

23          Q   And did you become friends with her in 1985?

24          A   Yes.

25          Q   And when did you first meet Shawn Henning?

26          A    I'm going to say either late September, early

27      October, somewhere in there of '85.
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 1         Q     And how did you meet him?

 2         A     He was Tina Yoblonski's boyfriend.

 3         Q     And until this trial started on November 2 nd of this

 4   year, when was the last time that you saw or -- or spoke

 5   with -- had any contact with Shawn Henning?

 6         A     1994.   We left Somers together.        He went to one

 7   institution, I went to another, and then I seen him briefly

 8   for like ten seconds when Karen Goodrow came to see both of

 9   us.       I seen him briefly.    We passed in the hallway.

10         Q     And when approximately was that?

11         A     Say 2004 or some- -- '05 -- somewhere in there.

12         Q     And other than the one brief moment of contact, have

13   you spoken with him and exchanged letters or communicated in

14   any way since you went to different institutions in 1994?

15         A     No, we haven't.     That was -- Karen made it clear

16   that -- I'm sorry, Miss Goodrow made it clear that she

17   didn't want us to be in contact in any way.

18         Q     And do you know Steve McDonald?

19         A     Yes, I do.

20         Q     When's the last time you spoke with him?

21         A     I think '95, I think.

22         Q     And where was that?

23         A     At MacDougall Correctional.

24         Q     And other than at this trial when you saw him

25   testify, have you had any contact with him since that time

26   in 1995?

27         A     Other than the Innocence Project contacting him, no.
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 1       Me, personally,       I didn't have any contact with him.

 2             Q    You didn't write any letters to him --

 3             A    No.

 4             Q    -- or call him?

 5             A    No.

 6             Q    Turning to Todd Cocchia, when is the last time that

 7      you had any contact with him?

 8             A    When he wrote me a letter.      I didn't contact him.

 9      He wrote me a letter in 2005,        I guess around there.

10             Q    And prior to that, when was the last time you had

11      spoken to him or had any contact with him?

12             A    In like,   I'm going to say '90- -- between '92 and

13      '94.       My wife called Todd on a three-way phone and I talked

14      to him trying to get him to tell the truth.

15             A    And how long was that conversation?

16                        ATTY. CARLUCCI:   I'm sorry, what year was that?

17             A    Somewhere in '90- -- it had to be -- well,          I met my

18      wife in '92.       We were divorced in 2000, and it was before I

19      went to MacDougall.        I went to MacDougall in '94, so it had

20      to be between '92 and '94.

21             Q    And how long was that conversation?

22          A       I'm not exactly sure.    Not very long.        He didn't

23      really want to talk to me.

24          Q       And when you were with Todd at Manson Youth

25      Institute and in Virginia, did you discuss the fact that you

26      were being investigated in respect to the Everett Carr

27      murder?
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 1      A    Yes, I did.

 2      Q    And what did you tell him about that?

 3      A    When we were at MYI together, it wasn't only Todd.

 4   It was everybody who would ask how come I did -- was there

 5   for so long.

 6                  ATTY. CARLUCCI:      Objection, Judge.       I think

 7           that the question was just related to Mr. Cocchia

 8           (inaudible)

 9                  THE COURT:    Yes.

10      Q    If you could just focus on your conversation with

11   Mr. Cocchia when you were -- what -- what did you tell him

12   about this investigation when you were at MYI and Virginia?

13      A    I told him that I was a suspect and that's how come

14   I was doing so much time was because I was a suspect, and

15   then when I was in Virginia I told him that when I got

16   arrested for my violation of probation I would end up having

17   to do every bit of my violation time because I was a suspect

18   in the murder.

19      Q    And did you provide him any information about

20   that -- that investigation into the murder?

21      A    No, I didn't.

22      Q    Did you ever talk

23      A    I didn't have any information.

24      Q    Did you ever tell him that you were suspected of --

25   did you ever give him -- withdrawn.         Did you ever give him

26   any information about the details of the crime that you were

27   being investigated for?
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 1       A     Only that they thought Shawn Henning and I killed

 2   some man during a burglary.

 3                  ATTY. CARLUCCI:       I'm sorry, I didn't hear the

 4             last part.

 5       A     Only that they thought that Shawn Henning and I

 6   killed a man during a burglary.

 7       Q     Did you ever tell Todd Cocchia that you had ever

 8   killed anyone?

 9       A     No, I did not.

10       Q     Other than seeing Todd Cocchia testify at this

11   trial, have you had any contact with him since receiving

12   that letter in 2006?

13       A     No, I haven't.

14       Q     Turning to Robert Perugini.         When is the last time

15   that you had any contact with him?

16       A     In MYI.

17       Q     And when approximately was that?

18       A     I'm going to say '87.

19       Q     And did you talk to him about being investigated for

20   this murder?

21       A     Yes, I did.

22       Q     What did you tell him about that?

23       A     I told him the same thing that I told Todd, the same

24   thing that I told everybody - that I was a suspect in a

25   murder.    Shawn -- they suspected Shawn Henning and I of

26   killing somebody during a burglary.

27       Q     Did you ever tell Robert Perugini that you had ever
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 1   killed anyone?

 2       A     No.

 3       Q     Other than seeing Robert Perugini at this trial,

 4   have you had any contact with him since 1987?

 5       A     No, I haven't.

 6       Q     Now, switching to Henry Messenger.              Do you know who

 7   that is?

 8       A     Yes, I do.

 9       Q     When did you first meet him?

10       A     I'm going to say 1985 or '86 in Litchfield Jail.

11       Q     And what was your relationship there?

12       A     We were acquaintances.        I wasn't -- we weren't

13   really friends.      We were just acquaintances.

14       Q     When was the last time that you spoke with Henry

15   Messenger?

16      A      I think I seen him around -- I'm going to say -- I'm

17   not even certain.       It was sometime in 2008, maybe around

18   there.     He was in one unit at MacDougall and I was in

19   another, and I spoke to him through a fence.

20       Q     And prior to that, when was the last time you spoke

21   to him?

22      A      I don't think since '85 or six.          I don't think there

23   was another time, not that I remember.

24      Q      And other -- and other than those two times, have

25   you had any contact with him prior to this case?

26      A      No,   I haven't.   We don't -- we don't really -- he

27   he wasn't -- I think he considers me a friend more than I
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 1   I don't agree with a lot of his opinions on stuff, so I

 2   just --

 3                      ATTY. CARLUCCI:     Objection, Judge.       This is

 4              beyond the scope

 5      A       -- I haven't had contact with him.

 6                      THE COURT:   Yes.

 7          Q   Okay.     Daniel Edwards.      Do you know him -- or do you

 8   know who he is?

 9      A       I know who he is.      I don't know him.

10          Q   Did you have any -- were you ever friends with him

11   at all?

12      A       No,    I was not.

13          Q   Were -- but you were incarcerated with him at M --

14   MYI?

15      A       Yes.     I think the only time I ever had contact with

16   him was at MYI.

17      Q       Do you remember ever speaking to him while you were

18   there?

19      A       I think the only thing he ever said to me was when

20   he came and tried to collect money that I owed Bob Perugini.

21      Q       And since that time, have you had any contact with

22   him?

23      A       No,    I haven't.

24      Q       And do you know someone named Tara Blum?

25      A       I know who she is.        I don't know her, though.

26      Q       And how do you know who she is?

27      A       Through your investigation -- through your
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 1   investigation reports you gave me.

 2       Q   Have you ever met -- or do you know Diana Colombo?

 3      A    No,   I don't.

 4       Q   Have you ever met or do you know Richard Burkhart?

 5      A    No.

 6       Q   Now, switching gears to your time with Al

 7   Mencuccini, when did you first meet Attorney Mencuccini?

 8      A    When he was appointed to represent me,            I guess early

 9   February of '89.

10       Q   And approximately how long was that before your

11   murder trial?

12      A    I started trial in May of '89.

13      Q    Was that jury selection at that point?

14      A    I -- that was first.      Jury selection was the first

15   thing we did, yeah.

16      Q    And what did you tell Attorney Mencuccini about your

17   involvement in the murder of Everett Carr?

18      A    I   told him that I   had nothing to do with it.

19      Q    What did you tell him about your               your memory with

20   respect to what occurred in -- withdrawn.          What did you tell

21   him with respect to your memory as to the events on

22   December -- or on December 1 st and 2 nd of 1985?

23      A    I told him my memory of that wasn't very clear, and

24   if he could get me my statements that I gave to police that

25   would help me remember what happened.

26      Q    And -- and why did you think those statements would

27   help you remember?
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 1                  ATTY. CARLUCCI:      Objection.

 2                  THE COURT:     Overruled.     You can answer.

 3         A   Because I know I told them the truth the best that I

 4   could remember when they questioned me a couple days after

 5   the murder occurred.

 6         Q   Would this be the -- withdrawn.         And -- so what

 7   interviews were -- were you told the             the police the

 8   the truth about what -- what you had done on the night of

 9   the murder?

10         A   Can you re-ask that, please?

11         Q   I can.     So you -- you previously said that you asked

12   Attorney Mencuccini to get you reports related to your

13   interviews with the police because you told the police the

14   truth and you couldn't quite remember in 1989 what you

15   had -- what had happened.        You thought that would refresh

16   your recollection.

17         A   Correct.

18         Q   Which specific interviews were -- was it that you --

19   you were told -- you told the police the truth about what

20   had       what you had done on the night of the murder?

21         A   Every one except the first time that they

22   interviewed me.       The first time they interviewed me,         I told

23   a lie.

24         Q   And why was that?

25         A   I was trying to hide a stolen car that I had in my

26   possession.

27         Q   Is that the -- the same Buick we spoke about
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 1   earlier?

 2       A     Yes, it was.

 3       Q     Did you ever ask Attorney Mencoccini to review any

 4   materials -- withdrawn.       You -- you stated that you did ask

 5   Attorney Mencuccini to re- -- review your own statements.

 6   Did you ask for any other materials?

 7       A     I wanted to see what Shawn Henning and Tina

 8   Yoblonski had said.

 9       Q     What other materials did Mencuccini -- Attorney

10   Mencuccini ever provide you with?

11       A     At that time, nothing.        The first time he provided

12   me anything is when I -- when we had a suppression hearing

13   in the middle of trial.

14       Q     And what did he give you at that point?

15       A     Just the -- the first lie that I told the police,

16   the December 5 th report.

17       Q     And did you ever ask Attorney Mencuccini to -- well,

18   withdrawn.       Did you -- did you learn that Robert Perugini

19   had said that you had told him that you were involved in the

20   murder?

21      A      Did I learn that he told you that?

22       Q     Did you -- did you learn that he had said that, yes.

23      A      Yes.

24       Q     And did you -- when did you -- what if anything did

25   you ask Attorney Mencuccini to do when you learned that

26   information?

27      A      I was told that Bob Perugini said that it occurred
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 1      while I was in the middle of a fight,           and I told Al

 2      Mencuccini that that would be impossible.              It would be

 3      documented because of the way that the cottages were set up

 4      at MYI.     The officers can see all of the wings.             And I asked

 5      him to check into the log books and all that because they

 6      would -- it would show that I was never in that fight that

 7      Bob said I was in.

 8          Q     And did Attorney Mencuccini ever ask you for names

 9      of other people who -- who were at MYI at that time as well?

10          A     Not that I remember, no.

11          Q     And if he had asked you, would you have been able to

12      give him -- been able to tell him about any individuals

13      who -- who were there and would've known Robert Perugini?

14          A     Yes, at that time -- at that time I knew a lot of

15      the people that were there with me.           Today,      I couldn't tell

16      you the names.        I could tell you the names of a couple, but

17      not many.

18          Q     And at that time, would you have known that Daniel

19      Edwards was there, Robert Perugini's co-defendant?

20          A     I would've known that was his co-defendant, yes.

21          Q     And -- and would you have known that Steve McDonald

22      was also friends with Robert Perugini?

23          A     Yes.

24          Q     Now, did Attorney Mencuccini ever speak to you about

25      obtaining the assistance of a footwear impression expert?

26          A     I don't know if he spoke to me about it.             I spoke to

27      him about it.
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 1          Q    And when was that?

 2          A      During a meeting that we had in the lockup at

 3      Litchfield Court.

 4          Q      Do you remember approximately when -- when that was?

 5          A      I think it was -- I think the date was March 28 th of

 6      '89, I think, because there's notes in his file about that

 7      meeting.

 8          Q    So -- but you did talk to him about obtaining a

 9      footwear expert before the trial?

10          A    Yes.

11          Q   And what did you ask him to do?

12          A      I asked him to try to determine what the size of the

13      footprints were that were in the house.

14          Q   And -- and after that, did Attorney Mencuccini ever

15      speak to you about consulting with a footwear expert?

16          A   No, he didn't.

17          Q   And did he ever ask anyone to size your feet?

18          A   No, he didn't.

19          Q   And do you recall the police seizing some of your

20      work boots in this case?

21          A   Yes, I do.

22          Q    I'm going to show you Petitioner's Exhibit 28.             If

23      you could just take a look at those.

24          A   Mm hmm.

25          Q    Do you recognize those?

26          A   Yes.    Those are a pair of my work boots.

27          Q   And when did you acquire those boots?
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 1       A    When did I acquire them?

 2       Q    Yes.

 3      A     It would've been sometime in '85.

 4       Q    And why did you -- well, withdrawn.

 5      A     Maybe '84.

 6       Q    Do you -- do you remember acquiring those shoes?

 7      A     Specifically?        No,   I don't remember when I went to

 8   the store and bought them, no.

 9      Q     Do you remember why you would've bought work boots

10   like that?

11                   ATTY. CARLUCCI:         Objection.

12                    THE COURT:     What's the relevancy?         What's the

13            relevancy of why he had that kind of boots?

14                   ATTY. O'SHEA:       I'll withdraw the question.

15                   THE COURT:      Okay.

16      Q     I'm going to show you Petitioner's Exhibit 29.

17      A     Mm hmm.

18      Q     Do you recognize those?

19      A     Yes.    These are a pair of my work boots as well.

20      Q     And what did you -- do you recall purchasing those

21   boots?

22      A     Excuse me?

23      Q     Do you recall purchasing those boots?

24      A     No,    I don't remember the day I bought them, no.

25      Q     And how do you know that those are your boots?

26      A     By the way they're worn out from the roof.                I used

27   to wear -- I -- I was a roofer by trade, and they're worn
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 1   out just like my boots wear out when I wear them from

 2   sitting on them on the roof.

 3       Q      And so you used those for when you were doing

 4   roofing?

 5       A      Yes.

 6       Q   And do you recall anything about when you acquired

 7   those boots?

 8       A      No.

 9       Q      Now, you mentioned earlier that the -- well,

10   withdrawn.        Did you have those boots with you at the

11   apartment you were living in that you said you were

12   remodeling part of it?

13      A       Yes,    I did.

14       Q      Did you take them with you after you left that

15   apartment and were --

16      A    No,       I did not.      I only took a small bag of stuff

17   with me.     The rest of my stuff I left there.

18      Q    And where did you -- where did you send that stuff

19   to including those boots?

20      A    My brother Butch went and picked it all up and

21   brought it to his house.

22      Q    And this is your brother whose wife was Pam Gaspar?

23      A    Yes.

24      Q    Now, on the weekend of December 1, 1985, what --

25   what shoe wear did you own at that time?

26      A    I -- what did I own?            I had a pair of Adidas

27   sneakers and a pair of work boots -- my father's work boots
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 1   which my mother gave me.

 2          Q   And those sneakers, are those the -- the Adidas

 3   sneakers that were seized from the trunk of the Buick later?

 4          A   Yes, they are.

 5          Q   And the work boots, are those the ones that were

 6   seized by the police when you were arrested a couple days

 7   later?

 8          A   They're the ones I was wearing a couple days later,

 9   yes.

10          Q   And did the police take those boots or inspect those

11   boots at all?

12          A   They inspected them right when they arrested me for

13   the car, but they didn't even want them because the soles

14   were smooth.

15                   ATTY. CARLUCCI:       Objection (inaudible)

16                   THE COURT:     Yes.

17          Q   Did Attorney Mencuccini ever speak to you about

18   obtaining the assistance of a forensic pathologist or crime

19   scene

20          A   No, he didn't.

21          Q   Did he ever speak to you about investigating the

22   connection between Diana Colombo and Richard Burkhart to the

23   murder of Everett Carr?

24          A   No, he didn't.

25                   ATTY. CARLUCCI:       Objection, Judge.      There's no

26              foundation

27                   THE COURT:     Overruled.
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 1       A   No, he didn't.

 2                 THE COURT:     You can answer the question.

 3       A   No.

 4       Q   Did you ever learn that Effie Coates was going to

 5   testify that -- withdrawn.       Prior to your trial, did you

 6   learn that Effie Coates was going to testify regarding her

 7   belief as to the events of the nights of December 1, 1985?

 8      A    I'm -- I'm not sure I understand the -- I don't know

 9   if you're talking about did I -- did the police ever tell me

10   that or did --

11       Q   Did -- I'll -- I'll rephrase the question.             Did --

12   did you ever learn from anyone that Effie Coates was going

13   to be testifying at your criminal trial or -- or that she

14   had provided information to the police about your -- about

15   the events of December 1, 1985?

16      A    I did learn that she provided police an account of

17   the events, but I didn't know that she was going to testify

18   until she testified.

19      Q    And when did you learn that she had provided the --

20   an account?

21      A    December 9 th of '85 during a police interview.

22      Q    And did you ever talk to Attorney Mencuccini about

23   that?

24      A    Yes, I did.

25      Q    What did you tell him about that?

26      A    I told him that what really occurred was not what

27   the police were saying occurred, that -- I'm -- I'm sorry,
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 1      I'm talking about another thing that happened during that

 2      same interview.

 3          Q    Well, I'll -- I'll rephrase the question.            What did

 4      you tell Attorney Mencuccini with respect to the accuracy of

 5      Effie Coates' statements to the police?

 6          A    That we -- I didn't believe that we did leave at

 7      that time.

 8                    ATTY. CARLUCCI:     I'm sorry.      I didn't hear the

 9               end of that.

10                    THE COURT:     Could you repeat --

11          A    That I didn't believe that we left at the time she

12      said that we left.

13          Q   And by left, you're speaking of leaving Douglas

14      Stanley's house who was --

15          A    Correct.

16          Q    -- Effie Coates' --

17          A   Correct.

18          Q    -- common law spouse?     Okay.     And now,    I believe

19      Effie Coates had said that there was -- well, withdrawn.

20      What did you tell him had -- what did you tell Attorney

21      Mencuccini had actually happened that night?

22          A    I didn't know what happened that night.           I needed my

23      statements to refresh my recollection.          I couldn't say for

24      sure, but I told him that I thought that we left somewhere

25      between 11:30 and 12:30.      That's what I told him.

26          Q   And did you talk to him at all about the assertion

27      about -- by Effie Coates that there was an argument with
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 1      Douglas Stanley that night?

 2                    ATTY. CARLUCCI:      Objection.      Leading, Judge.

 3               There wasn't any testimony to that effect.

 4                     THE COURT:     Could you repeat your question?

 5          Q    Did you talk to Attorney Mencuccini at all about

 6      Effie Coates having an argument with Douglas Stanley that

 7      night?

 8                    THE COURT:      I'll -- I'll allow that.

 9          A    Yes, I did.

10          Q    And what did you say about that?

11          A    I told him that I believe that argument took place

12      the night of Thanksgiving, not December 2 nd •

13          Q    Prior to your trial, did you -- were you ever --

14      withdrawn.    Prior to your trial, were you given -- were you

15      given any information that led you to believe that Tina

16      Yoblonski was going to testify as to the timeline regarding

17      the night of the murder?

18          A    Say that one more time, please?

19          Q    No problem.     It's a long question.           Do you recall

20      Tina Yoblonski testifying at your criminal trial?

21          A    Yes, I do.

22          Q    And did you know before that that she was going to

23      testify that you had left Douglas Stanley's house somewhere

24      around -- I believe it was around eleven o'clock?

25                    ATTY. CARLUCCI:      Objection (inaudible)

26                    THE COURT:     Overruled.

27          A    Yes, I did know she was going to testify to that.
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 1      Q    And what did you tell Attorney Mencuccini regarding

 2   that?

 3      A    I told him that I also didn't believe that was

 4   accurate.

 5      Q    And prior to your trial, did you ever hear anything

 6   from anyone - the police, Attorney Mencuccini, or see any

 7   documents relating to a thousand dollars being seized at the

 8   crime scene?

 9                  ATTY. CARLUCCI:     Objection to the foundation,

10           relevance --

11                  THE COURT:   Overruled.

12      A    Could you say that one more time, please?

13      Q    Prior to your trial, did you ever hear anything from

14   anyone including Attorney Mencuccini or a police officer or

15   read any documents indicating that a thousand dollars had

16   been seized at the crime scene?

17      A    No.

18      Q    Now, were you ever given an opportunity to testify

19   against Shawn Henning at his criminal trial?

20      A    Yes.

21      Q    And how did that occur?

22                  ATTY. CARLUCCI:     Objection.    Relevance, Judge.

23                  THE COURT:   What's the question again?

24                  ATTY. O'SHEA:     The question was if he was given

25           an opportunity to testify against Shawn Henning at

26           Mr. Henning's criminal trial.

27                  THE COURT:   Okay, then why -- what's the
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 1           relevance?

 2                  ATTY. O'SHEA:     The -- the relevance is going to

 3           the actual innocence claim and -- and two

 4              (indiscernible).    I'll -- I'll focus on one first.

 5           This would be to the relationship with Attorney

 6           Mencuccini and -- and Attorney Mencuccini --

 7           Attorney Mencuccini's knowledge that Mr. Birch is

 8           insisting on his innocence in this case regarding

 9           the actions that Attorney Mencuccini should have

10           taken.

11                  THE COURT:     All right.   I'll sustain the

12           objection.

13                  ATTY. O'SHEA:     And the second offer is as to

14           the actual innocence claim.        This would be to the

15           consistent declarations of innocence over the

16           past -- over 30 years about.

17                  THE COURT:     Again, that's not -- that's not

18           relevant on that.

19                  ATTY. O'SHEA:     Understood.

20      Q    Do you recall when you first met Attorney Avery

21   Chapman?

22      A    Yes.

23      Q    And when was that?

24      A    The day we came for my habeas, December -- the

25   beginning of December of 1997.

26      Q    So you had -- had you ever had any meetings with

27   Attorney Chapman prior to that --
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 1      A    No.

 2      Q    -- that date of the habeas trial?

 3      A    No, I hadn't.

 4      Q    When was Attorney Chap- -- when did you first have

 5   any contact with Attorney Chapman?

 6      A    I'm going to say probably summer of '97.

 7      Q    And how did that occur?       Excuse me.

 8      A    I had my wife call -- I wrote him several times and

 9   never got a response, so I had my wife call him through a

10   three-way phone call and spoke to him.

11      Q    And how long did that conversation last?

12      A    A few minutes.

13      Q    And now you mentioned you had written to Attorney

14   Chapman prior.     When did you -- when did you first write to

15   Attorney Chapman?

16      A    I don't have a date.     I don't know.

17      Q    Do you recall approximately how long before the

18   habeas trial occurred that you first learned that he was

19   your attorney on the matter?

20      A    It wasn't very long because I had another attorney

21   that represented me who filed the -- the document that lays

22   out all of the different claims -- amended petition.             She

23   filed them and Nancy Radoff filed an amended petition in

24   1987 sometime --

25      Q   Was it 19-

26      A    -- and he was appointed after her.

27      Q    I believe you said 1987.
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 1          A    I'm sorry.    1997.

 2          Q    Did you ever receive any letters from Attorney

 3      Chapman?

 4          A    Not that I remember.       I may have gotten one, but I

 5      don't remember getting one.

 6          Q    Now you said you spoke -- you were able to speak

 7      with Attorney Chapman over the phone for a few minutes that

 8      one time.     Were you ever able to speak to him over the phone

 9      again after that?

10          A    No, each time we called after that it would always

11      go to an answering machine.         He would never pick up.

12          Q   And did you ever leave him messages?

13          A    Yes.

14          Q    Did you -- would your wife also le.ave him messages?

15          A    Yes, she would.

16          Q   Were any of those ever returned?

17          A   No.     No, they weren't.

18          Q   Now in your letters to Attorney Chapman, did you

19      discuss your case in those letters?

20          A   Not so much in the letters.        I wrote him a big

21      document -- thick document, and made him a copy of all of my

22      files and had it sent through my wife to him, what I thought

23      all of our issues were.

24          Q   And when approximately was that?

25          A   Shortly after he was appointed, probably in the

26      summer -- summer of 8- -- '97.

27          Q   Did you ever send him a -- any other legal
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 1   materials?

 2       A    I sent him a petitioner's prose brief that I wanted

 3   to send to the judge myself, but he wouldn't allow me to.

 4       Q    And -- and when was that?

 5       A    That was probably October or November of '97.

 6       Q    And -- and what claims -- you -- you described

 7   earlier that you had sent a large file describing the claims

 8   you -- you wanted raised at the habeas.          What claims were

 9   those that you told him that you wanted raised?

10                   ATTY. CARLUCCI:    Objection.

11                   THE COURT:   I'll allow it.

12       A    I wanted him to raise everything that was in the

13   amended petition that Nancy Radoff wrote.

14       Q    And turning now to your activities on the weekend

15   or the time of Thanksgiving of 1985 and the following

16   weekend, how clear is your memory about that time period

17   right now?

18      A     Most of my memory right now comes from looking over

19   the documents of the case.        As far as an independent

20   recollection of remembering doing A, B, C, it's not very

21   clear.   It's 30 years ago.

22       Q    But did reviewing -- reviewing those documents at

23   all help refresh your recollection on those matters?

24      A     Yes.

25      Q     Now, how old were you on Thanksgiving of 1985?

26      A     18.

27      Q     And just in general, what was your behavior like as
 Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 97 of 197     95


 1   an 18 year old at that time?

 2                 ATTY. CARLUCCI:    Objection.      Relevance,    Judge.

 3                 THE COURT:    Sustained.

 4      A    What was your attitude at that time regarding

 5   contact with the police?

 6                 ATTY. CARLUCCI:    Objection.

 7                 THE COURT:    I'll allow it.

 8      A    I didn't -- I wanted the least amount of contact

 9   with the police as possible.      I -- I was a troublemaker.

10      Q    And -- so on November 28 th ,    Thanksgiving of that

11   year, what did you do that night?

12      A    On Thanksgiving?

13      Q    On November 28 th of 1985, yes, Thanksgiving of 1985.

14   What did you do that night?

15      A    After we got thrown out of Doug- -- by We I mean me,

16   Tina Yablonski and Shawn Henning.        After we got thrown out

17   of Douglas Stanley's apartment, we stole a car.

18      Q    Well -- so who -- who were you at -- withdrawn.             You

19   said you were at Douglas Stanley's apartment.           Who were you

20   there with?

21      A    I was there with Tina, Shawn, Effie Coates, Doug

22   Stanley, and their two kids.

23      Q    And what happened to cause you to leave that

24   apartment exactly?

25      A    Effie and the kids came home and we were there, and

26   it was Thanksgiving Day, and she blew up at Doug talking

27   about all these crackers in her house and she wanted us out
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 1   of there.

 2       Q   And approximately what time was that?

 3       A   I'm going to say ten to eleven.

 4       Q   And so what did you do next after you -- after you

 5   left the apartment?

 6      A    We started hitchhiking back to New Milford and we

 7   got a ride as far as Brookfield.

 8       Q   Why were you going to New Milford?

 9      A    'Cause that's where we were staying.             Tina lived

10   there, Shawn lived there.      I stayed at Shawn's house

11   sometimes, sometimes at the pavilion.

12       Q   And so what happened when you got to Brookfield?

13      A    We got to Brookfield, it was cold.             We stood out

14   there and tried to hitchhike for a little while.             When no

15   cars were coming because it was Thanksgiving, I guess,

16   because there was nobody really out on the road, we got in a

17   van that was parked right there to try to keep the wind off

18   of us because it was cold.

19      Q    And after you got into the van, what did you do

20   next?

21      A    Whenever a car would come I would jump out and stick

22   out my thumb hitchhiking, and they'd pass and then I'd get

23   back in the van.     We did that for a little while, and then

24   I -- I had an idea of going to find a -- a car with the keys

25   in it and see if we could keep warm -- start a car and keep

26   warm in the car.

27      Q    And did you end up conducting a search for a car
     Case 3:20-cv-01790-VAB       Document 137-1   Filed 12/19/22   Page 99 of 197   97


 1      like that?

 2            A     Yes, I did.

 3            Q     And did you find one?

 4            A     Yes, I found an old, beat up car in the back of an

 5      auto body place, and we went there and                 and then I

 6      decided -- I asked them if they wanted to steal it, and we

 7      all agreed to steal it and go to New Milford.

 8            Q     And what type of car was that?

 9            A     It was an old Buick Regal, brown.

10            Q     And where -- so you said you took the car.             Where

11      did you take it and go?

12            A     Again, I --

13            Q     If you remember.

14            A     I know only from the police reports where we went.

15            Q     Well, let me ask you what -- what your recollection

16      is.       Do -- do you have any recollection of what you did with

17      the car?

18            A     I remember sleeping in the car at the reservoir, but

19      do I remember that we went there that night?                No, but I know

20      that we went there that night after reviewing the police

21      reports.

22            A     Okay.    But you do remember sleeping in the Buick

23      that night?

24            A     Yes.

25            Q     And were Shawn Henni_ng and Tina Yablonski with you

26      then, too?

27            A     Yes.    They were both with me.
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 1          Q   Now on the morning of November 29 th when you woke up,

 2   what happened?

 3          A   The morning of the 29 th we       I had a great         I had

 4   the idea -- a great idea of going to New Hampshire to see my

 5   mom.

 6          Q   And what did you do after that?

 7          A   We brought Tina to where she worked and she picked

 8   up her check, and then we left and went to New Hampshire.

 9          Q   And -- and why did you stop off to have her pick up

10   her check?

11          A   So that we would have money.

12          Q   And -- and where were you going in particular in New

13   Hampshire?

14          A   Charlestown, New Hampshire.

15          Q   And approximately when did you arrive there?

16          A   What time of night you mean?

17          Q   Yeah, or day -- what -- if you remember when you

18   arrived.

19          A   It was Friday -- late Friday.       I'm not sure what

20   time we got there.

21          Q   Was it dark out at the time?

22          A   Yes.   I believe it was already dark, yes.

23          Q   And did you stop and visit anyone on the way?

24       A      No, not that I remember.

25          Q   But did you -- if you -- if you woke up in the

26   morning -- approximately what time did you wake up on that

27   Friday morning?
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 1       A      I don't know.

 2       Q      Okay.

 3       A      I don't know what time.       It would've been early

 4   'cause it was cold.

 5       Q      How long does it take to get from Connecticut

 6   approximately to Charlestown, New Hampshire?

 7       A      Three hours probably --

 8       Q      So

 9       A            maybe a little more.

10       Q            if you didn't arrive until nighttime, why was

11   that?

12       A      We hung out in New Milford before we left.

13       Q      Oh.

14       A    We didn't leave right in the morning right from

15   there.

16       Q    Okay.

17       A    After Tina picked up her check, we hung out in New

18   Milford.        We -- I think we may have even went to Danbury.             I

19   don't know.        I'm not sure.

20       Q    Okay.      And where did you sleep on the night of the

21   29th?

22       A    At a motel in New Hampshire -- or in Vermont rather,

23   I'm sorry.        Right across the river from where my mom lives.

24       Q    And why was that?

25       A    Because my mom wasn't home.          We went to see my mom.

26   She wasn't there.        We found out later that she had actually

27   went to Connecticut, so while we were up there she was down
 Case 3:20-cv-01790-VAB     Document 137-1   Filed 12/19/22   Page 102 of 197   100


 1   here.

 2       Q    And the next morning, that Saturday morning,

 3   November 30 th ,   what did you do after you woke up?

 4       A    We went to see a couple friends of mine in New

 5   Hampshire, in Keene.

 6       Q    And did there come a time where you had trouble with

 7   the car?

 8       A    Yes.      We got the car stuck on a back road in a -- a

 9   little stream at the bottom of two hills, a back road.

10       Q    And approximately when was that?

11       A    Late Saturday -- late Saturday afternoon.

12       Q    And what did you do after the -- the car got stuck?

13       A    We tried for a long time to get it unstuck by

14   sticking brush under the tires and all kinds of stuff.                We

15   tried to get it unstuck.

16       Q    Were you successful?

17       A    No, not that day.

18       Q    So what did you do that night?

19       A    We slept in the car.

20       Q    And what happened the next morning of December 1 st ,

21   that Sunday morning?

22       A    When we woke up, there was a couple hunters looking

23   in the car, and we asked them to try to help us push the car

24   out; and they tried and they couldn't get it out, and then I

25   went and asked the woman that lived a couple miles away if

26   she would help us pull us out with a truck, and she did.

27       Q    And did anything happen to the car when it was
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 1   pulled out of the brook?

 2       A   The muffler was ripped off of it.

 3       Q   And what did you do next?

 4       A   We went to my mother's house again because one of

 5   the lights also got broke when that happened.            We went to my

 6   mother's house, and I went and looked for lights on the

 7   property -- headlights,     'cause we had several vehicles on

 8   our property.    I took one to try to replace the headlight

 9   for when we drove back.

10       Q   And what happened then?

11       A   Then we went down and I was on the side of the road,

12   I was putting the headlight in and my mother drove by.

13   She -- her and my nephew drove by in the car and seen us and

14   they stopped.

15       Q   And what did you do after speaking with your morn?

16       A   She asked us to come up to the house,          said that --

17   she said we looked filthy.      We should come up to the house,

18   and when we got there she yelled at me 'cause I had wet

19   shoes on.

20       Q   And how -- why were they wet?

21       A    'Cause Saturday before we got stuck, one of the

22   things we were -- what we were doing out on the back roads

23   is we were skitching.     We were holding onto the back bumper

24   of the car and sliding on the snow behind the car.

25       Q   How much snow was -- was around at that time?

26       A   Several inches.

27       Q   And what did you do after speaking to your morn about
 Case 3:20-cv-01790-VAB      Document 137-1      Filed 12/19/22    Page 104 of 197   102


 1   your wet shoes?

 2         A     After her yelling at me, you mean?               Yeah, after she

 3   yelled at me for my wet shoes, I went out on the mudroom

 4   porch and got a pair of my father's boots and I put those

 5   on.       Those were what I was wearing when I got arrested.

 6         Q     And what did you guys do after that -- oh,

 7   withdrawn.         So at this time, Tina Yoblonski and Shawn

 8   Henning were still with you?

 9         A     Yes, they were.

10         Q     And -- and what did you all do after that?

11         A     After that, my mom fixed us a meal.              We ate there,

12   and then we left to come back to Connecticut around four or

13   five o'clock, something like that.

14         Q     Was it dark yet at that time when you came back?

15         A     I believe it was getting dark or it just got dark,

16   yeah.

17         Q     And where in Connecticut did you go to?

18         A     Went right directly to Danbury to Douglas Stanley's

19   house.

20         Q     And so you said you arrived there, you know, around

21   four or five.        Do you -- do you recall seeing Effie Coates

22   at all that night?

23                      ATTY. CARLUCCI:     Could you (inaudible) by the

24               date

25                      ATTY. O'SHEA:     Yes.

26                      ATTY. CARLUCCI:     I'm sorry.

27                      ATTY. O'SHEA:     No problem.
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 1       Q    On the night of December 1, 1985, that Sunday, when

 2   you returned to Douglas Stanley's house, do you remember

 3   seeing Effie Coates there at all?

 4       A    Independ- -- no, I don't.       I think she may have been

 5   in the bedroom.      I don't know.

 6       Q    Okay.   And how long did you stay at Douglas

 7   Stanley's house for?

 8       A    We were there and then we left, and then we came

 9   back.

10       Q    Well, what time did you leave Douglas Stanley's

11   house that first time?

12       A    The first time?

13       Q    Yes.

14       A    Probably around ten, I guess.

15       Q    And where did you go when you left his house?

16       A    We went and we ate at McDonald's, and then we did a

17   burglary in Danbury.

18       Q    And -- and what did -- and what did you take from

19   there?

20       A    A tv and a cable converter box.

21       Q    What did you do with those?

22       A    Traded them to Doug Stanley for cocaine.

23       Q    And so when did you return to Douglas Stanley's

24   house?

25       A    Eleven o'clock, probably.

26       Q    And how late did you stay at Douglas Stanley's house

27   after that?
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 1       A     Til after one in the morning.

 2       Q     And why is it that you left?

 3       A     Tina had to work the next day and she kept

 4   complaining about her stomach hurting, and we finally left

 5   around one, somewhere around there.

 6       Q     And are you positive about the time when you left?

 7   Do you have an independent recollection of that?

 8       A     Positive?   No, but I know that it had to be after

 9   twelve thirty, but I don't know for sure exactly what time

10   it was.

11       Q     And where did you go when you left Douglas Stanley's

12   house?

13       A     Went and dropped Tina off at her house and then went

14   to Shawn's house.      We may have stopped and siphoned gas

15   between Tina's and Shawn's.

16       Q     And -- and where is it that you would've taken gas

17   from?

18       A     Same places we always siphoned gas from, was the --

19   the slaughterhouse on Wellsville -- I mean Wells Road, the

20   auction barn up near Shawn's house on 109.              Next to --

21   there's a --

22       Q     So you don't remember which particular place.

23       A     No,   I don't know exact- -- there's this group of

24   places that we siphoned from several times both with Tina's

25   car and the stolen car.

26       Q     How do you -- how do you know that you siphoned gas

27   that night?
 Case 3:20-cv-01790-VAB       Document 137-1         Filed 12/19/22    Page 107 of 197   105


 1       A    I don't know for pos- -- for sure, but that's what

 2   we would've done.            I   mean, I     -- am I   one hundred percent

 3   certain we definitely went and siphoned gas and this is

 4   where we went?         No,       I can't tell you that.

 5       Q    Okay.        You have no memory of exactly what happened?

 6       A    No.

 7       Q    Did you have a memory -- a clear memory of exactly

 8   what happened back in 1997 when you testified at your habeas

 9   trial?

10       A    No,    I    -- only from what I         know from what I        said in

11   the reports is where I get -- got most of my information.

12       Q    Okay.        But what you said in the reports was -- was

13   true.

14       A    What I said to the police was true,                     yes.

15       Q    And they -- and you -- when you read them,                     you --

16   you recognized that that was an accurate description of what

17   you had told them?

18       A    Yes.

19       Q    And in there, you had said that you went and

20   siphoned gas?         So back -- back in December of '1985, you

21   told the police that you were siphoning gas that night?

22       A    No,    I told them that it was possible we were

23   siphoning gas.

24       Q    Oh.        So even back then,         in December of 1985, did you

25   have a clear recollection of what your activities were on

26   the night of December 1, 1985?

27       A    Completely clear?             No,    I didn't like -- I didn't
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 1   remember absolutely this was the time that I did this, then

 2   we did this.       I couldn't chrono- -- chronologically lay it

 3   out and say for certain these are our exact movements over

 4   this ten day period that they were asking me about.

 5           Q   But you had a best guess at that time?

 6           A   Yeah, I had a fairly accurate memory of it then in

 7   '8 5.

 8           Q   And so what did you do after siphoning gas that

 9   night -- on the night of December 1, 1985?

10           A   We would've went directly to Shawn's house.

11           Q   Do you -- do you recall riding back to Shawn's house

12   that night?

13           A   Actually,    I do.

14           Q   You do?     Do you remember about what time that was?

15       A       Two o'clock in the morning, somewhere around there.

16           Q   And what did you do when you got there?

17       A       That's why I remember that night,         'cause we went in

18   and we ate baked beans            raw baked beans out of a can.          We

19   were both hungry.         That's what we had before we went up and

20   went to sleep in his room.

21           Q   And what happened when you woke up the next morning?

22   This would be December 2, 1985.

23       A       We woke up when Laurie Brooks (phonetic)           came up and

24   woke Shawn up.

25       Q       Who's Laurie Brooks?

26       A       She's a girl that used to live at the house with her

27   father.
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 1         Q   And do you remember approximately when she woke you

 2   up?

 3         A   The -- the police report said it was around eleven

 4   o'clock.

 5         Q   But do you -- do you remember what time it was?

 6         A   No.

 7         Q   Okay.     And -- and what did you do after you woke up?

 8         A   After we woke up on the second.            See, that's

 9   where      I don't       there's not a lot of that in the -- the

10   files to be able to

11         Q   Well, let me --

12         A   -- remind me.        I don't

13         Q   Let me stop you there.         Do you -- do you have an

14   independent recollection right now of what happened after

15   you -- have you -- withdrawn.            You said that you remember

16   waking up that morning?

17         A   Mm hmm.    I remember when Laurie woke Shawn up.

18         Q   And do you -- do you have a memory yourself of what

19   you did after waking up that morning?

20         A   No.     Right away in the morning, no.

21                     THE COURT:    Why don't we take our break now and

22             we'll resume at two o'clock.          Okay?

23                                      (Recess)

24                     THE COURT:    Good afternoon.       Okay, and I assume

25             we're resumtng with Mr. Birch?

26                     ATTY. O'SHEA:     Yes, Your Honor.

27                     THE COURT:    Okay.    All right, you may resume
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 1           direct examination.

 2                  ATTY. O'SHEA:    Thank you, Your Honor.

 3   DIRECT EXAMINATION BY ATTY. O'SHEA CONTINUES:

 4       Q   I just want to step back a moment, Mr. Birch.             You

 5   had mentioned that your mother had given you a pair of your

 6   father's boots.      Could you describe those boots?

 7       A   They were old work shoes that were worn smooth

 8   the soles were worn smooth on them.

 9       Q   And in your presence, did any police officers ever

10   investigate those boots?

11       A   Yes, they observed them.       They looked at them and

12   they gave them back to me.

13       Q   When was that?

14       A   On December 5 th •

15       Q   Now, I    know you described these events, but I have a

16   couple of follow up questions.        Did you murder Everett Carr?

17       A   No.

18       Q   Have you ever been inside the house at 74 Aspetuck

19   Drive in New Milford --

20       A   No.

21       Q   -- or excuse me -- 74 Aspetuck Ave. in New Milford?

22   Have you ever told anyone that you murdered Everett Carr or

23   anyone else?

24       A   No.

25                  ATTY. O'SHEA:    I have no further questions.

26                  THE COURT:    All right.    Counsel for Mr.

27           Henning?
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 1   DIRECT EXAMINATION BY ATTY. COUSINS:

 2       Q    Hello, Mr. Birch.

 3       A    Hello.

 4       Q    Do you have any information as to whether Shawn

 5   Henning murdered Everett Carr?

 6       A    Absolutely he didn't.

 7       Q    Did you -- you didn't testify against Mr. Henning,

 8   right?

 9       A    No,   I didn't.

10       Q    Why not?

11                    ATTY. CARLUCCI:      Objection.

12                    THE COURT:    Yes.    He doesn't have to answer why

13            he didn't testify against him, okay?

14                    ATTY. COUSINS:       I have nothing further.

15                    THE COURT:    All right.     Cross examination?

16                    ATTY. CARLUCCI:      May I have a moment?

17                    THE COURT:    Yes.

18   CROSS-EXAMINATION BY ATTY. CARLUCCI:

19       Q    Good afternoon,      sir.

20       A    Afternoon.

21       Q    Now, you testified to a number of things here today

22   before the recess and a few things afterwards, but in -- in

23   particular, I think you said that your memory of the time

24   period around -- surrounding the murder is a little bit

25   unclear?

26       A    My independent recollection, yes.

27       Q    Sure.     But you were -- when you testified, you were
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 1   specific about some things and not others, correct?

 2          A   Correct.

 3          Q   And -- and that's because of the information you got

 4   from the police reports.

 5          A   Some that I remember and some from police reports,

 6   yes.

 7          Q   And when was the last time you reviewed any of the

 8   police reports?

 9          A   This morning.

10          Q   I'm sorry?

11          A   This morning.

12          Q   Okay.

13          A   I've been reviewing them for 28 years                 27 years.

14          Q   Well, that's what I was just going to -- you've had

15   a long time, about 30 years to think about what you would

16   say here today?

17          A   I've had 30 years to try to remember things, yes.

18          Q   And also what you would say here today, as well.

19          A   Yeah.

20          Q   Okay.     And just one other question.         Now,   you --

21                      ATTY. CARLUCCI:     Can I have a moment, Judge?

22                      THE COURT:   Yes.

23          Q   Just a few pages back, and unfortunately,              I was

24   having a little trouble hearing, but I believe Mr. O'Shea

25   asked you a question about Mr. McDonald and Mr. Perugini,

26   not speaking to them or something to that effect.                  Is that

27   correct?
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 1       A   Yes.     He asked me several questions about that.

 2       Q   Okay.     And what -- what was the time period that you

 3   were referring to there?

 4       A   Referring to what?

 5       Q   He asked you some questions,            I believe, in terms of

 6   things that you had discussed with Mr. McDonald or Mr.

 7   Perugini, or they were at a place where you were and maybe

 8   some things were said.        Do you remember what the time period

 9   was that you were talking about?

10       A   Which one of the -- it's different for each one of

11   them, so I need to know who are you talking about?                You're

12   saying McDonald

13       Q   Okay, we'll take them separately.

14       A   -- and Perugini.

15       Q   First, Mr. McDonald.

16       A   What do you want to know about him, when the last

17   time I talked to him was?

18       Q   When -- again,       I -- I -- and I don't remember the

19   exact wording.       Mr. O'Shea asked you a question - did you

20   ask Mr. Mencuccini to do this in regard to Mr. McDonald,                    and

21   you said no.     What was that --

22                   ATTY. O'SHEA:     Objection, Your Honor.          This is

23           mischaracterizing the

24                   ATTY. CARLUCCI:       Well,   I don't remember the

25           exact wording,       Judge.    I'm --

26                   THE COURT:     I think he's trying to -- he -- he

27           said he was having trouble hearing,              so -- go ahead.
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 1              You can answer it if you recall.

 2          Q   And I'm going to try to narrow it down for you as

 3   much as possible, and I -- and I think your response was he

 4   didn't speak to him about that, and it was in regard to Mr.

 5   McDonald.        Do you remember that question?

 6          A   Not really.     I remember him asking me did I tell

 7   Attorney Mencuccini to interview Mc- -- Mr. McDonald about

 8   Perugini.        I think that's what he asked me.         I'm not even

 9   positive.

10          Q   Possibly.     Okay, thank you.     And again, can you tell

11   me again, if you can recall, the specific time periods that

12   you had contact with Mr. McDonald and Mr. Perugini?

13                      THE COURT:    But he wants to do one at a time.

14                      ATTY. CARLUCCI:    Okay, one at a time.

15                      THE COURT:    So just Mr. McDonald.

16                      ATTY. CARLUCCI:     First, Mr. McDonald.

17          A   Mr. McDonald?        I knew him when I was in MYI with

18   him.

19          Q   Okay.

20          A   And then again -- I met him again in Somers -- I

21   mean, MacDougall rather, I'm sorry -- MacDougall in '95 I'm

22   gonna ~ay.         It might've been '94.    I think it was '95.

23          Q   Okay.     And no other times?

24          A   Not that I spec- -- oh, he was in Somers, too.             He

25   was at Somers when I was up there in like '88 or nine.

26          Q   Okay.     Did you ever meet him in public anywhere?

27          A   No.
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 1       Q   No.     Okay.     Same question for Mr. Perugini.

 2       A   The last time I seen Mr. Perugini was in MYI before

 3   I seen him here.

 4       Q   And again, never -- had never met him in public.

 5       A   No.

 6       Q   Okay.

 7                   ATTY. CARLUCCI:         May I have a moment?

 8                   THE COURT:      Yes.

 9                   ATTY. CARLUCCI:         I don't have any further

10           questions, Judge.

11                   THE COURT:      Any redirect based on cross-

12           examination?

13                   ATTY. O'SHEA:      Briefly, Your Honor.

14   REDIRECT BY ATTY. O'SHEA:

15       Q   You were asked on cross-examination about the time

16   you had to prepare for testifying today.

17       A   Mm hmm.

18       Q   Is what you're telling here the truth today?

19       A   Absolutely.

20                   ATTY. O'SHEA:      No further questions.

21                   ATTY. COUSINS:         No questions, Your Honor.

22                   ATTY. CARLUCCI:         Nothing further,    Judge.    Thank

23           you.

24                   THE COURT:      Okay, you may step down and resume

25           your seat.       Yes?

26                   ATTY. RAABE:      Your Honor, Shawn Henning calls

27           Shawn Henning.
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 1                 THE COURT:    All right, Mr. Henning.         If you'd

 2            step right up here next to the witness box and face

 3           the clerk.

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 1                 S H A WN       HENNING, 141169, Enfield,

 2               Connecticut, duly sworn by the clerk, testified

 3                              under oath as follows:

 4                 THE COURT:     Okay, you can put your hand down,

 5           You may be seated.      You may inquire.

 6                 ATTY. RAABE:     Thank you, Judge.

 7   DIRECT EXAMINATION BY ATTY. RAABE:

 8       Q   Mr. Henning, to this day, do you know precisely

 9   where 74 Aspetuck Avenue in New Milford is?

10       A   I do not.     I'm not from Connecticut.

11       Q   Did you know Mr. Everett Carr?

12       A   I do not know Everett Carr.

13       Q   How about Diana Colombo?

14       A   I do not know Diana Colombo.

15       Q   How about Richard Burkhart?

16       A   I do not know him either.

17       Q   I'm going to go through a couple names that Attorney

18   O'Shea asked Mr. Birch about.         Steve McDonald.      Do you know

19   Steve McDonald?

20       A   Yes, I do.

21       Q   Have you ever discussed the Everett Carr homicide

22   with Steve McDonald?

23       A   Never.

24       Q   How about Todd Cocchia?        Have you ever discussed the

25   Everett Carr homicide with Todd Cocchia?

26       A   I do not know Todd Cocchia.         He was in MYI with me,

27   but I never hung with him.      I never spoke with him.
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 1       Q   Okay.    You ever discuss the Everett Carr homicide

 2   with Robert Perugini?

 3       A   Never.

 4       Q   Have you ever discussed the Carr homicide with

 5   Daniel Edwards?

 6       A   I do not know Daniel Edwards.

 7       Q   Have you ever discussed the Carr homicide with Tara

 8   Blum?

 9       A   I do not know Tara Blum.

10       Q   Do you know Henry Messenger?

11       A   Yes, I do.

12       Q   Can you tell the judge how you know Henry Messenger?

13       A   He was an inmate in Litchfield County Jail when --

14   when I had get -- first gotten arrested, excuse me,            for the

15   stolen car and the burglaries.        That's how I know Henry

16   Messenger.

17       Q   Did you ever tell Mr. Messenger that you were

18   involved in the homicide of Everett Carr?

19       A   Never.

20       Q   Did you ever tell Mr. Messenger that Mr. Birch was

21   involved in the homicide of Everett Carr?

22       A   Never.

23       Q   Have you ever told anyone that you were involved in

24   the homicide of Everett Carr?

25       A   Never.

26       Q   So the Carr homicide occurred in early December of

27   1985.   How old were you then?
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 1       A     17 years old.   I just turned 17 in September of '85.

 2       Q     Can you describe to the judge what your physical

 3   appearance was on December 1 st and December 2 nd of 1985?

 4       A     I was a skinny, white kid with long hair living in a

 5   stolen car.

 6       Q     How long was your hair?

 7       A     Halfway down my back.

 8       Q     What was your level of personal cleanliness at that

 9   point?

10       A     We were living in a stolen car.        You know, we

11   were --

12       Q     Why were you living in a stolen car, sir?

13       A     Because me and my father did not see eye to eye and

14   I had no respect for him, so we argued and he kicked me out

15   of my house.

16       Q     At some point, were you living with your father in

17   New Milf- -- I'm sorry.      Where -- where did your father live

18   in this time period, 1985?

19       A     He lived on Route 109 in        in New Milford on the

20   Washington Depot line.

21       Q     At some point, were you living with your dad?

22       A     Yes, when I came -- when my family sent me here from

23   Chicago, Illinois.

24       Q     Okay, so -- so just stick with your father's

25   residence.     Can you just describe to the Court what kind of

26   house that was?

27       A     It was a farm house duplex.      We lived on one side of
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 1   it, our neighbors lived on the right.              We lived on the right

 2   side, they lived on the left side.

 3          Q   And before December 1 st      --   withdrawn.    Before

 4   Thanksgiving weekend of 1985, when was the last time that

 5   you were living full time at your dad's house in New

 6   Milford?

 7          A   Restate the question, please.

 8          Q   So up -- before Thanksgiving of 1985, before that

 9   time period, when were you last living full time in your

10   dad's house in New Milford?

11                      THE COURT:     I'm not sure I understand the

12              question.     Can you

13                      ATTY. RAABE:    At some -- let me break it down,

14              Your Honor.

15          A   Yeah,    I'm not understanding.

16          Q   At some -- at some point, were you living in your

17   dad's house on a day-to-day basis?

18          A   Yes, when I came from New England Adolescent

19   Treatment Center,        I moved in with my father to stay there,

20   yes.

21          Q   Do you recall when that was, sir?

22          A   That was 1985.       I don't -- what month,       I'm --

23   September?     August maybe?        August of September,      I believe.

24          Q   Okay.    And at some point prior to Thanksgiving of

25   1985, were you no longer living in your father's house on a

26   day-to-day basis?

27          A   Yes, when he basically said that he was going to
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 1   kick me out, and I -- we had an argument as to, you know, me

 2   moving out of his house.

 3       Q   And what's your best recollection today of when that

 4   was?

 5       A   November.

 6       Q   Sometime before Thanksgiving?

 7       A   Around then,    yes.

 8       Q   Okay.   And ultimately, you ended -- ended up living

 9   in the stolen Buick Regal with Mr. Birch and Miss Yablonski?

10       A   Yes.    That's true.

11       Q   So you said -- just a few minutes ago, that you had

12   moved to your dad's house from Illinois.           Where were you

13   living in Illinois?

14       A   I was living with -- I was living with my aunt

15   during the week and I was living with my grandmother, and

16   then I moved to live with friends and we ended up getting in

17   a car accident which put me back with my grandmother and my

18   aunt in a -- in that living situation.

19       Q   What town in Illinois?

20       A   Herscher.

21       Q   And your grandmother's name is Mildred Henning?

22       A   Yes, sir.

23       Q   Okay, we'll come back to her in a bit.            What led you

24   to be living in Illinois?

25       A   My relationship with my alcoholic uncle got bad, and

26   things with my cousins weren't working out, so my aunt and

27   my grandmother decided that they couldn't take care of me.
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 1   My grand- -- my grandparents were too old to raise me.

 2       Q     Okay, so that's -- that's what led you to go from

 3   Illinois to Connecticut?

 4       A     Yes, sir.     To live with my father,          David, yes.

 5       Q     At some point, did you live in California with your

 6   mother?

 7       A     Before Chicago, yes.

 8       Q     Okay.     So tell the judge how you ended up going from

 9   California to Chicago.

10       A     My mother put us on a Greyhound Bus.

11       Q     Who's we?

12       A     Me and my two young brothers.

13       Q     How old were they at the time?

14       A     11 and 9, maybe.

15       Q     How old were you at the time?

16       A     That was 1981, 13.

17       Q     And was your mother on the bus with you?

18       A     No.     She was not.

19       Q     When you got to Illinois, did your mother come out

20   to stay with you in Illinois?

21       A     No.

22       Q     When you left California to come to Illinois, did

23   your mom tell you what was happening?

24       A     No.

25       Q     You're just shipped off with your brothers?

26       A     Yes.

27       Q     In December of 1985, what size shoe did you wear?
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 1       A      11½, 12.

 2       Q      I'm going to show you an entry on Exhibit 5, which

 3   is the evidence report from this case.

 4                   ATTY. RAABE:      Your Honor,    I don't know if you

 5              still have the copy.      It's the

 6                   THE COURT:      I'm sure I do.

 7       Q      Item 152 in Exhibit 5 is a pair of sneakers that

 8   were taken from you at the Litchfield County Jail on

 9   December 9, 1985.        You see that?

10       A      Yes, I do.

11       Q      Those were Pony sneakers?

12       A      Yes, sir, they were.      They were seized by me from

13   the police.

14       Q      Those are the only sneakers you were wearing at that

15   time?

16       A      Yes, sir.

17                   THE COURT:     And this is Exhibit 26 in this

18              case, is that right?

19                   ATTY. RAABE:      Correct, Your Honor.

20       Q   Mr. Henning,       I put on the stand in front of you one

21   of the Pony sneakers that was Exhibit 26.                 Was that your

22   sneaker that you were wearing on December 1 st ,             December 2 nd

23   of 1985?

24       A   Those were the sneakers that the police seized from

25   us, yes.

26       Q   Right.        So my question was were those the sneakers

27   that you were wearing as your footwear in or about December
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 1   1 st and December 2, 1985?

 2       A    Yes.

 3       Q    Yes?

 4       A    Yes.

 5       Q    In this case, we have Exhibit 97 and 94.           These were

 6   pictures from your underlying criminal trial, right?

 7       A    I believe so.

 8       Q    It showed bloody footprints at the Carr residence?

 9       A    I believe so.

10       Q    And in your trial, they were referred to as the

11   Chevron pattern, right?

12       A    Yes.    I remember hearing that name, the Chevron

13   thing.

14       Q    Does that pattern match the sole of your shoe that

15   was Exhibit 26?

16       A    It does not.

17                   ATTY. PROSCINO:     Objection, Your Honor.       He's

18            not qualified to give that answer.

19                   THE COURT:     Either he's an expert or anyone

20            could do the comparison.       This testimony is

21            inadmissible for that reason.        Okay?

22                   ATTY. RAABE:     (Indiscernible) Your Honor, I'll

23            withdraw it.     I just raised it for Your Honor to

24            examine.    And Your Honor, in that connection, at

25            this point I would offer Exhibit 160 which is a

26            police report.      I believe with our agreement with

27            the State, this would come in without objection.
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 1                  THE COURT:     Is that correct?

 2                  ATTY.    PROSCINO:     And that's correct, Your

 3           Honor,   just with respect to our limited agreement on

 4           these police reports.

 5                  THE COURT:     Okay.     It's admitted as full

 6           Exhibit 160.       Thank you.

 7                  ATTY. RAABE:     And just for expediency, Your

 8           Honor,   I would point you to on the first page item

 9           number 152 which is the Pony sneakers that are

10           Exhibit 26, and then paragraph two on the second

11           page         that those patterns don't match anything

12           from the crime scene.

13                  THE COURT:     Okay.

14       Q   You're arrested for the Carr homicide in November of

15   1988, right?

16       A   Yes, sir.

17       Q   Where were you living then?

18       A   In Mystic, Connecticut.

19       Q   What were you doing?

20       A   I was working six days a week as a carpenter out on

21   Fishers Island and Block Island building homes.

22       Q   Were you married?

23       A   I was not married at that time, but I was living

24   with my girlfriend.

25       Q   Were you burglarizing homes at that time?

26       A   I was not burglarizing homes at that time.               I was

27   working Monday through Saturday.
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 1       Q   Who arrested you?

 2       A   Detective Ocif.

 3       Q   Had you had some prior dealings with Detective Ocif?

 4       A    I had many dealings with Detective Ocif.

 5       Q   So you -- you were ultimately tried in April of

 6   1989, right?

 7       A   Yes, sir.

 8       Q   You were tried as an adult?

 9       A   Yes, I was.

10       Q   Were you able to afford your own lawyer?

11       A   I was not.

12       Q   So you had Carl Eisenmann appointed?

13       A   Yes, I did.     I had Carl Eisenmann as -- was my

14   attorney.

15       Q   So as -- while you were tried as an adult, in your

16   interactions with Mr. Eisenmann, did you feel that you were

17   being treated like an adult?

18       A   I did not.

19                  ATTY. PROSCINO:        Objection, Your Honor.

20                  THE COURT:     Yes?

21                  ATTY. RAABE:     I'm       I'm going to -- I'm going

22           to explore, Your Honor.

23                  THE COURT:     Okay, go ahead.

24       A   I did not.

25       Q   Why not?

26       A   I wasn't asked.       I wasn't consulted on any of the

27   things he was doing.      I was not told what to expect from
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 1   witnesses.         I wasn't -- he was one man handling a murder

 2   case, and when I asked him questions he would tell me not

 3   now.

 4          Q   So when --

 5          A   He couldn't listen and -- and -- and talk to me at

 6   the same time.        That's what he said.

 7          Q   When was the first time that you recall meeting with

 8   Attorney Eisenmann in relation to your trial for the Everett

 9   Carr homicide?

10          A   I don't recall what the first time was.

11          Q   Do you recall meeting with an inspector by the name

12   of Tim Casey?

13          A   I do.

14          Q   Do you recall when that was?

15          A   Tim Casey was the only one that came to see me in

16   regards to the Carr homicide, and he told me to write my

17   confession on a pad of paper.

18          Q   What did you tell him?
                                     1




19          A   I didn't do that.        I would not be writing a pad -- a

20   confession on a pad, and I pushed the pad of paper back at

21   him across the table.

22          Q   So let's talk about whatever pretrial preparation

23   you did with either Mr. Casey or Attorney Eisenmann.                 Prior

24   to going to trial, did you have any discussion with either

25   of them about who the witnesses were and what they were

26   expected to testify about?

27       A      I do not recall doing that with any of the witnesses
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 1   in my case.     We did have discussions with Douglas Stanley,

 2   my grandmother and Tim, but some of these other people I

 3   never even heard of before.

 4       Q    So you recall discussing Douglas Stanley, Mildred

 5   Henning and Tim Saathoff with either Mr. Eisenmann or Mr.

 6   Casey?

 7       A    Yes, sir.

 8       Q    Prior to trial, have you ever heard of a person by

 9   the name of Gary Smith?

10       A    I did not.     Prior to trial, I did not.

11       Q    We'll come back to your -- your grandmother and Mr.

12   Saathoff.     What do you recall about your discussions with

13   either Mr. Casey or Mr. Eisenmann about Douglas Stanley?

14       A    I told both of them to interview Douglas Stanley

15   because everything that we learned about the Carr crime came

16   from Douglas Stanley.       I told Tim Casey to go question

17   Douglas Stanley.      That's what I told him.

18       Q    Do you know whether he did?

19       A    He came to me and said that he slept in front of

20   Douglas Stanley's apartment and that he could not reach him.

21   I told him to keep trying -- to keep trying.

22       Q    And you said that everything that you knew about the

23   Carr homicide came from Douglas Stanley?

24       A    Yes, sir.    That's true.

25       Q    Do you have any firsthand knowledge about the Carr

26   homicide?

27       A    I do not.
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 1       Q     What did Douglas Stanley tell you about the

 2   homicide?

 3                  ATTY. PROSCINO:     Objection, Your Honor.

 4                  ATTY. RAABE:     I'm not offering it for the

 5             truth, Your Honor.

 6                  THE COURT:     I'll allow it.

 7       A     And your question --

 8                  THE COURT:     As for what was spoken, what was

 9             told to the witnesss.

10       Q     What was told to you by Douglas Stanley about the

11   Carr homicide?

12       A     That an old man had been killed in New Milford, that

13   he was stabbed and beaten, that anyone doing burglaries in

14   the area would be called in for questioning about the crime,

15   to expect to be called in if we were doing burglaries.              He

16   told all of us that, everyone who was present at Douglas'

17   kitchen in his apartment that day.

18       Q     Who was present?

19       A     A whole bunch of people.     Douglas' next door

20   neighbor, burglars from Connecticut, anyone who was doing

21   burglaries.    Douglas was fencing items for a lot of people.

22       Q     And do you recall when this conversation was?

23       A     That was at nighttime at Douglas' house.          I remember

24   it being nighttime.

25       Q     Do you recall in relation to the Carr homicide when

26   it was?

27       A     It was the next day, Monday or the day thereafter.
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 1   Monday or Tuesday night.        I'm pretty sure it was Monday.

 2       Q      So December 2 nd or December 3 rd ?

 3       A      Yes, sir.

 4       Q      Did he mention anything about a dog?

 5       A      He said in the course of the crime a man and a dog

 6   had been killed.

 7       Q      And did you essentially repeat the information that

 8   you got from Douglas Stanley to the New -- New Milford and

 9   Connecticut State Police?

10       A      Yes, I did.    And to my grandmother and Tim (sic)

11   Saathoff.

12       Q      Okay, we'll come back to that.         So other than

13   Douglas Stanley, Mildred Henning and Tim Saathoff, do you

14   recall having any other discussion about the State's

15   potential witnesses or actual witnesses and what they were

16   expected to testify about?

17       A      By Eisenmann during my trial?         No,   sir, they didn't

18   know.   No, sir.

19       Q   They just discuss -- withdrawn.            Did you have

20   conversations with Attorney Eisenmann either before or

21   during the trial about the possibility of engaging or

22   calling experts to testify on your behalf?

23       A      I don't remember any discussion about us calling

24   experts.     We didn't call any at trial.         In fact,   I begged

25   him to get an expert --

26                   ATTY. PROSCINO:     Objection, Your Honor.

27           There's no
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 1                    THE COURT:     Yes.

 2                    ATTY. PROSCINO:        -- question pending.

 3                    ATTY. RAABE:     I'll -- I'll ask some

 4               questions --

 5                    THE COURT:     You wait until a question comes up.

 6                    ATTY. RAABE:     Sir, I have a series of exhibits.

 7               They are copy- -- photocopies of notes that are

 8               coming from Exhibit 183, Mr. Eisenmann's file,            so

 9               they're already in evidence.         I pre-marked them.

10                    THE COURT:     Mm hmm.

11                    ATTY. RAABE:     I've given copies to the State.

12                    THE COURT:     Okay.

13                    ATTY. RAABE:     To the Respondent,       I should say.

14               The first one is Exhibit 167.

15          Q    So Mr. Henning, Exhibit 167.         Is that your

16   handwriting?

17          A    Yes, it is.

18          Q    During the course of your trial -- your criminal

19   trial, did you -- did you write out and hand Mr. Eisenmann

20   notes?

21          A    All throughout my trial, yes,        I did.

22          Q    Is this two page document some of those notes?

23          A    Yes, it is.    Some of them, yes.

24          Q    If you go down to the bottom of the first page of

25   Exhibit 167, the second to last entry begins with the word

26   get.       It says get someone quote privately employed unquote

27   to do tests dash on underlined everything.
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 1          A   Yes, I did write that.

 2          Q   Can you tell the Court why you wrote that?

 3          A   Because I knew that the evidence in this case would

 4   prove me innocent.

 5          Q   And so what were you asking Mr. Eisenmann to do?

 6          A   Test everything.

 7                     ATTY. PROSCINO:    Sorry, I didn't hear the

 8              answer.

 9          A   Test everything.

10                     ATTY. RAABE:    Next, your -- your hon- -- next,

11              Your Honor, is Exhibit 168.       It's some notes up in

12              the right hand corner.       It begins with Peter Barrett

13              (phonetic).

14          Q   Is Exhibit 168 more notes from the trial that you

15   gave to Attorney Eisenmann?

16       A      Are you asking me if this is what I wrote to

17   Attorney Eisenmann?

18       Q      Yes.

19       A      Yes, this is.

20       Q      During the trial?

21       A      Yes, sir, this is my handwriting.

22       Q      If you look on the second page of Exhibit 168,

23   there's some starred bullet points there.                You see the third

24   one?

25       A      Yes, sir, I do.

26       Q      It said no hair, blood or anything else found off of

27   us in house.       Couldn't be.     Think about that.
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 1       A   Yes, sir,    I wrote that.

 2       Q   Did you have conversations with Attorney Eisenmann

 3   about that?

 4       A   I had many conversations with Attorney Eisenmann

 5   regarding that subject.

 6       Q   And what did you tell him?

 7       A   To test everything.       Have everything tested.

 8   Everything that they took from me, have it tested.

 9   Everything.    The car, everything.

10       Q   And again, because you believed that that would

11   prove your innocence?

12       A   That's absolutely right.

13       Q   And to your knowledge, did Attorney Eisenmann have

14   any of those materials tested by a forensic expert?

15       A   We did not call any experts to my trial, no.

16       Q   If you go back to the first exhibit, Exhibit 167, on

17   the second page down towards the bottom about seven lines

18   up, does that say what size boots did the markings show?

19       A   Yes, it does.     Yes,   I see it.

20       Q   Did you have particular conversations with Attorney

21   Eisenmann about the foot impressions and your footwear in

22   relation to the Carr homicide?

23       A   Yes,   I did.

24       Q   Can you tell the Court what you said to Attorney

25   Eisenmann?

26       A   To match them.     To try to match them to my own

27   because they would not match me.
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 1       Q   And is this one of the areas where you were hoping

 2   that someone would come to trial and testify that your shoes

 3   did not match the imprints at the trial?

 4       A   Yes, sir.     I was hoping that Henry Lee would do

 5   that.   Henry Lee was the forensic.

 6       Q   So let's take a look at Exhibit 169.             Is Exhibit 169

 7   questions that you wrote to Attorney Eisenmann while Dr. Lee

 8   was testifying?

 9       A   Yes, they are questions that I wrote to Eisenmann

10   during my trial.     I put a star next to the ones I thought

11   would be the most important to prove my innocence.

12       Q   And the second one with 169 is what size shoe

13   imprints question mark?

14       A   Yes, sir.

15       Q   You were asking Attorney Eisenmann to ask questions

16   like that of Dr. Lee?

17       A   Yes.     Size, shape, everything.        Yes.

18       Q   Or some other expert witness?

19       A   Yes, sir.     Yes,   I did.     I begged him to have that

20   done.

21       Q   What did he say to you?

22       A   What did Eisenmann say to me?

23       Q   Yes.

24                  ATTY. PROSCINO:        Objection, Your Honor.

25                  ATTY. RAABE:     I'll withdraw the question, Your

26           Honor.

27                  THE COURT:     It's withdrawn.
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 1       Q   To your knowledge, did Attorney Eisenmann ever hire

 2   anyone with regard to the shoe imprints as they might've

 3   related or not related to your feet and your shoes?

 4       A   Eisenmann did not, as far as I know, hire anyone to

 5   do anything like this with the physical evidence in my case.

 6                 ATTY. RAABE:     Your Honor, I don't -- I don't

 7           think I have moved as full exhibits 168 and 169.

 8           Again, I -- I moved them.         They're part of 183.

 9                 ATTY. PROSCINO:        We have no objection just as I

10           understand these are from the full exhibit

11                 THE COURT:     Yes.

12                 ATTY. PROSCINO:        -- of Mr. Eisenmann's files,

13           so no objection.

14                 ATTY. RAABE:     The same with Exhibit --

15                 THE COURT:     They're admitted as full exhibits.

16                 ATTY. RAABE:     Thank you.      And the same with

17           Exhibit 170, which I'll now offer in full.

18                 THE COURT:     Okay.

19                 ATTY. PROSCINO:        No objection.

20                 THE COURT:     Thank you.

21       Q   The top bullet point on Exhibit 170 again relates to

22   sneakers, boots or shoeprints found question mark?

23       A   Yes, sir,    I see that.

24       Q   It's another instance where you're asking Attorney

25   Eisenmann to offer evidence at trial that connected or

26   disconnected your feet,     your shoes from the footprints at

27   the crime scene?
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 1      A     Yes, sir.    The same thing I told the police

 2   detectives I told Eisenmann a million times.             Test the

 3   evidence.   Test the physical evidence.          I said this

 4   repeatedly throughout the investigation, throughout my

 5   trial.

 6       Q    Was it your sense that he was listening to you?

 7      A     That he did not listen to me, obviously, because

 8   none of that was done in this case -- until now.

 9                 ATTY. RAABE:     Your Honor, offer is full Exhibit

10            171, more notes from Exhibit 183.

11                 THE COURT:     Okay.

12                 ATTY. PROSCINO:        No objection, Your Honor.

13                 THE COURT:     Full exhibit 171.

14      Q     So all -- all of these notes that we've gone

15   through, these -- this is your handwriting, right, sir?

16      A     Yes, sir, it is.

17      Q     Here's Exhibit 171.     It's entitled defense and

18   offenses, right?

19      A     Yes, sir.

20      Q     Why did you write these notes out?

21      A     Defense were the things that I thought would defend

22   my innocence.

23      Q     And what was offense?

24      A     The things that I thought would prove my innocence.

25      Q     And the second bullet point, did you tell Mr.

26   Eisenmann you weren't wearing boots on the night of the Carr

27   homicide?
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 1       A     Yes, that's true.     I wrote that.      Yes,    I did.

 2       Q     So all of these things that you're writing,

 3   you're       you're trying to raise issues for Attorney

 4   Eisenmann to examine witnesses or present witnesses on your

 5   behalf?

 6       A     Yes, sir.    His witnesses were on the stand, and I

 7   was writing to Attorney Eisenmann these notes as fast as I

 8   could.     I was pulling on his jacket, and I was telling him

 9   to listen to me.      I needed him to address these things.                He

10   couldn't do two things at once.

11       Q     And was it your sense -- withdrawn.            How much

12   interaction did you have with Attorney Eisenmann either

13   before the trial day or after the trial day?

14       A     I don't understand what you mean by interaction.

15   Like,    I don't --

16       Q     Did -- were you meeting with Attorney Eisenmann

17   either before court or after court during the murder trial?

18       A     I don't remember meeting with Attorney Eisenmann too

19   muff -- too often at the County Jail if that's what you're

20   asking me.     Excuse me.

21       Q     During the trial when you raised notes or asked

22   questions of him, what kind of response did you get?

23       A     The same response.     You know,    I'm -- I'm --

24   Eisenmann was doing the trial by himself.               You know, it's

25   not like the team we have now.

26       Q     So did you have a sense that he was listening to

27   what you were saying?
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 1       A    At times, he could not listen to what I was saying

 2   because he was trying to listen to the people testifying on

 3   the stand.

 4       Q    And -- so my question before was when you got done

 5   with court, would you talk with him about what had happened

 6   that day or what was going to happen the next day?

 7       A    Shortly in the bullpen down at the bottom of

 8   Litchfield Country Jail holding bin, where they hold us at

 9   before the sheriffs took us out, similar to what we do now

10   in the courtroom here

11       Q    Before --

12       A    -- at the habeas trial.

13       Q    Sure.    Before trial, did you sit down with Attorney

14   Eisenmann to discuss overall defense strategy for the trial?

15       A    I do not remember doing that with Attorney Eisenmann

16   ever.    Not like you and I have done for this trial, never.

17       Q    Do you recall police coming at your trial to testify

18   about the stolen car and its location?

19       A    Do I -- I don't understand the question.

20       Q    At      at your trial, there was testimony about the

21   car that you, Mr. Birch and Miss Yablonski had stolen,

22   right?

23       A    The Buick, yes.

24       Q    And during -- during the course of the

25   investigation, did you tell the police where that car had

26   been hidden?

27       A    I'm the one who showed them where the stolen car
 Case 3:20-cv-01790-VAB     Document 137-1   Filed 12/19/22   Page 139 of 197   137


 1   was, yes.

 2          Q   And it was by a reservoir?

 3          A   Yes, sir, wooded area, picnic thing -- where picnic

 4   tables were at.       I believe they call it a reservoir,          yes.

 5                     ATTY. RAABE:    Your Honor,   I'll offer as a full

 6              exhibit Exhibit 172, which is more notes from

 7              Exhibit 183.

 8                     ATTY. PROSCINO:    No objection.

 9                     THE COURT:     It will be admitted as full Exhibit

10              172.    Thank you.

11          Q   This again is your handwriting and your sketch?

12          A   Yes, sir, it is.       I wrote this for Eisenmann during

13   my trial.

14          Q   And why did you write it?

15          A   Because someone was testifying about where I had

16   hidden the car, and I was trying to illustrate for Eisenmann

17   in a hurried sketch as to what I did, as to where I put the

18   car.

19          Q   And you write down the bottom wasn't the pond

20   searched by divers for stolen goods.            It was, but I want you

21   to ask -- do you know what that cut off word was?

22          A   Him.    I want you to ask him.

23          Q   You wanted him to ask the law enforcement officers

24   that --

25          A   I wanted Eisenmann, yes, to ask the -- the officer

26   which I believed to be Mccafferty or maybe Samoska -- either

27   one of -- it could've been either one of those that this
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 1   line of questioning was targeted because those are the two

 2   officers that were present when I showed them where the

 3   stolen car was.

 4                   ATTY. RAABE:     Your Honor, at this point,         I'm

 5           going to offer as full exhibits 161, 162 and 163

 6           which are police reports with no imbedded hearsay in

 7           them.

 8                   THE COURT:     Any objection?

 9                   ATTY. PROSCINO:        No objection, Your Honor.

10                   THE COURT:     All right, may be admitted as full

11           exhibits.     Thank you.

12                   ATTY. RAABE:     And just for expediency purposes,

13           Your Honor, those are about              those are about

14           searches up at the reservoir.

15                   THE COURT:     Okay.     You gave me the actual

16           exhibits.     Did you mean to do that?

17                   ATTY. RAABE:     They can go back to the clerk.

18                   THE COURT:     Okay.

19       Q   Did you gain information that there had been a

20   search up at the pond?

21       A   I did, but I don't recall as to which detective it

22   was that told me that the pond would be searched.

23       Q   So

24       A   It was one of the detectives,           I believe.

25       Q   One of the detectives told you that they were going

26   to search the pond?

27       A   I believe so, yes.
 Case 3:20-cv-01790-VAB   Document 137-1      Filed 12/19/22   Page 141 of 197   139


 1       Q   As you sit here now, do you know whether any stolen

 2   goods were found there?

 3       A   There was not.

 4       Q   During the course of your preparation for trial,

 5   were you ever told about a thousand dollars in cash being

 6   found at the crime scene?

 7       A   I was not.

 8       Q   When did you first learn about that?

 9       A   I believe that was a member of the Connecticut

10   Innocence Project that told me that.            Pete Palmer, Mike

11   LeFebvre maybe.

12       Q   You testified at your trial, right?

13       A   Yes,   I did.

14       Q   Do you recall how much time you spent with Attorney

15   Eisenmann before you testified at -- in your trial?

16       A   It was not much.

17       Q   Did you feel prepared before you testified?

18       A   I was not.

19                  ATTY. RAABE:     Your Honor,      I'd offer as a full

20           exhibit 173, more notes from Exhibit 183.

21                  THE COURT:     Okay.

22                  ATTY. PROSCINO:        Your Honor,    just an objection

23           just as to -- there's a lot of information contained

24           on Exhibit 173.       We have no objection to it being

25           offered just for the limited purpose of the note

26           that's on the bottom left hand corner.

27                  THE COURT:     Okay.     Is it -- is it being offered
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 1            for other purposes?

 2                 ATTY. RAABE:     No, Your Honor.            I'm only

 3            claiming for evidentiary purposes today the -- the

 4           bottom left hand note that says --

 5                 THE COURT:     Okay.

 6                 ATTY. RAABE:           do not call me to the stand

 7           before we talk more.

 8                 THE COURT:     All right, so it's admitted for

 9           that purpose.

10       Q   You have Exhibit 173 in front of you, Mr. Henning?

11       A   Yes, sir,    I do.

12       Q   And that part that I just read,           is that a note that

13   you were passing to Attorney Eisenmann during the trial?

14       A   That's one of them,       yes.

15       Q   And what were you conveying to Attorney Eisenmann?

16       A   To not call me to the stand before we talked more

17   about what was going on.

18       Q   Because you didn't feel prepared?

19       A   I was scared out of my mind.

20       Q   Did you meet with Attorney Eisenmann to your

21   satisfaction before you were called to the stand to testify?

22       A   I did not, and that's why I wrote what I wrote on

23   this piece of paper.

24       Q   All right,   I want to turn your attention to December

25   1 st and December 2 nd of 1985.      You heard Mr. Birch's

26   testimony about that Thanksgiving weekend and leading up to

27   that timeframe today,    right?
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 1       A    Yes, I did.

 2       Q    To your knowledge, is that -- was that a fair

 3   summary of the events of those couple of days?

 4       A    He has a better memory than I do.         When I told you

 5   that,   I wrote it down.

 6       Q    Do you recall whether after you left -- oh,

 7   withdrawn.    At some point on the evening of December 1 st ,

 8   you left Douglas Stanley's, right?

 9       A    Yes, sir, when we came back from New Hampshire.

10       Q    And -- and to your knowledge, after you left Douglas

11   Stanley's, did you go siphon gas?        I'm sorry, after you left

12   Douglas Stanley's, where'd you go?

13       A    We went and did the Danbury burglary.

14       Q    That Mr. Birch testified to.

15       A    Yes, sir.

16       Q    So then you went back to Mr. Stanley's, fenced some

17   items, and then left again, right?

18       A    Yes, sir.

19       Q    And where did you go?

20       A    We went the back roads down Brookfield Lake so we

21   stayed off of Route 7 'cause we had a loud car, and we went

22   to Tina's house -- my girlfriend, Tina.

23       Q    It's fair to say that the stolen car that you had

24   did not have a muffler and was very loud, right?

25       A    Yes, sir.

26       Q    And as a result of that, you drove on back roads so

27   as not to draw attention to the stolen car?
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 1       A   Yes, sir.    When you drove the car up hill,          it was

 2   very loud.

 3       Q   And do you recall whether after you dropped off Miss

 4   Yablonski you siphoned gas?

 5       A   I recall that originally when the CO -- excuse me,

 6   when -- when the officer -- the detectives asked me what we

 7   did, because we normally siphoned gas at nighttime, that was

 8   normal what we did, so I just -- yes,        I said that.

 9       Q   And then after you had siphoned gas, did you go to

10   your dad's house?

11       A   Yes, we did.

12       Q   Where did you park the car at your father's house?

13       A   Behind a shed on the left side of the driveway that

14   wrapped around the back side of my father's house.             The

15   driveway wrapped around like a candy cane around the back of

16   the house to where my father parked.

17       Q   So as you went up the candy cane, the candy cane

18   turned to the right?

19       A   Yes, sir.

20       Q   And you parked the car off to the left behind a

21   shed?

22       A   Yes, sir, that's correct.

23       Q   Why did you park it there?

24       A   Because I did not want my father to know that I was

25   in his house.

26       Q   Why?

27       A   And because the car was stolen.
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 1       Q   Why didn't you want your father to know that you

 2   were in his house?

 3       A   Because me and him had had the argument about me

 4   leaving his house, and I was no longer welcome there.

 5       Q   And did you take some of his food?

 6       A   I did.

 7       Q   Just as Mr. Birch had described?

 8       A   Yes, sir, that's true.

 9       Q   Did you believe that you had permission to take his

10   food?

11       A   I   did not have permissidn to take his food, but I

12   didn't care.

13       Q   Did you sleep at your father's house on the night of

14   December 1 st going into December 2, 1985?

15       A   Yes, we did.

16       Q   Can you describe for Judge Sferrazza as you go into

17   the house what you did, where you went, where you slept?

18       A   We went to the kitchen.       We stole pork and beans,

19   and then we went to my bedroom.

20       Q   Okay, so the kitchen's on the first floor,             I assume?

21       A   Yes, sir.    When you go into the house, there's a

22   pantry that had a washer and dryer, which is where I left my

23   sneakers.    The kitchen is off the pantry.            You walk through

24   a dining room, then a living room, then up the stairs to the

25   upper level of the house.

26       Q   And your bedroom was on the upper level?

27       A   Yes, sir.    My bedroom was the first door to the left
 Case 3:20-cv-01790-VAB   Document 137-1   Filed 12/19/22   Page 146 of 197   144


 1   at the top of the landing at the top of the stairs.

 2       Q   Your father's bedroom was also up there?

 3       A   My father's bedroom was the next door down on that

 4   same wall.

 5       Q   When you got home that night, was your dad there?
                           I




 6       A   No, he was not.     His car was not present when me and

 7   Ricky walked into the pantry.

 8       Q   So you and Mr. Birch went into your bedroom, right?

 9       A   Yes, sir.

10       Q   Can you describe for the Court once you went into

11   the bedroom where each of you went and what, if anything you

12   did with the door?

13       A    I slept in my bed that was to the far left of the

14   bedroom, and Ricky slept behind the door where the door

15   swings open.    If you'd open the door, you would've busted

16   Ricky right in the forehead.

17       Q   So with the way you left the door, if someone were

18   in the hallway looking into the room, would they have seen

19   your -- either of you there?

20       A   They would've seen the -- maybe the foot of the

21   bedpost, and maybe out the window of my bedroom.

22       Q   Would they have seen you on -- with the way you left

23   the door, would they have seen you on the bed?

24       A   You would've had to have pushed the door open more

25   than it was in order to see that.

26       Q   And if you pushed the door, what would have

27   happened?
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 1         A   It would've made no sense for my father on that

 2   night

 3         Q   I'm not asking about what would make sense for your

 4   father.    If you pushed the door, what would happen?

 5         A   He would've hit Ricky right on top of the head.

 6         Q   From the way you had positioned the door, if you

 7   stood in the hallway could you see Mr. Birch?

 8         A   He was behind the door.       No, sir.    No, you could not

 9   see Mr. -- Ricky Birch.

10         Q   The next day, December 2 nd , Mr. Birch testified that

11   you were awakened by a Laurie Brooks, right?

12         A   Laurie Brook- -- yes, Laurie Brooks was the woman

13   who lived with me and my father with her boyfriend.              She

14   woke us up, ten thirty or eleven o'clock I believe, that

15   next morning.

16         Q   Did you stick around?       Did you leave?     What did you

17   do?

18         A   Best of my relection- -- my -- my recollection is we

19   got out of there

20         Q   Okay.

21         A      before my father got home.

22         Q   So at any time from the time that you arrived in the

23   nighttime until you left in the morning, did you change your

24   clothes or take a shower?

25         A   The last time I remember cleaning up was at Ricky's

26   mother's house in New Hampshire.         We did not shower at my

27   father's house.
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 1          Q   Did you change your clothes at your father's house?

 2          A   I didn't want my father to know that I was there.

 3          Q   Did you change your clothes at your father's house?

 4          A   I don't recall.    I don't believe so.        I   don't -- I

 5   don't recall.

 6          Q   Where -- where were the clothes that you were living

 7   in in this time period -- this weekend?

 8          A   Where were my clothes?

 9          Q   Where did you keep your clothes dur- -- during

10   Thanksgiving weekend into December 1 st and 2 nd of 1985?

11          A   Almost everything I owned was in either the stolen

12   car, Tina's bedroom, or my bedroom.           That's pretty much it.

13          Q   And to your knowledge, did the police seize the

14   clothes in the stolen car and your bedroom and at Tina's

15   house?

16          A   The police told me they were going to seize

17   everything.     They took the filter out of the washer and

18   dryer in the pantry of our house.          They went down to Douglas

19   Stanley's.     They went everywhere.       They went to the pond,

20   and they searched everywhere.

21          Q   So later in that day, December 2, 1985, did you go

22   back to Douglas Stanley's?

23          A   Later on the second?

24          Q   On the second.

25          A   Yes, sir.   We went to Douglas Stanley's almost every

26   day.

27          Q   And is it your best recollection that that's when he
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 1   told you about the Carr homicide?

 2        A     Yes, sir.

 3        Q     Before you heard it from Douglas Stanley, did you

 4   know that Mr. Carr had been murdered?

 5        A     Douglas Stanley is the person -- that's what I've

 6   been telling people since start.           He is the person who told

 7   us everything we know about that crime scene.               Everything.

 8        Q     So the question is, before learning about the Carr

 9   homicide from Douglas Stanley, did you have any knowledge of

10   that homicide?

11        A     I did not.

12        Q     So you mentioned before that Mr. Stanley had told

13   you you're a burglar, you should be getting ready to be

14   questioned by the police, right?

15        A     He told all of us that.        He told the next door

16   neighbor that used to hang out in his house that he was

17   there to snake Chris whatever his name was.

18        Q     And in fact,    did the police reach out to you?

19        A     Yes.    They called me to the police station December

20   3 rd or 4 th •    Yes -- yes, they did.

21        Q     So describe to the judge --

22        A     Just as Douglas said they would.

23        Q     So describe to the judge how they reached out to you

24   and what you did.

25        A     I believe it was Detective Samoska or Mccafferty,

26   one of the two called me down to the New Milford Police

27   Station, said they wanted to talk to me, and I went.
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 1       Q   How'd they call you?

 2       A   They called my father's house.          I believe Laurie

 3   Brooks took -- Laurie Brooks took the first phone call, and

 4   then -- I wasn't there.      She's the one, I believe, that gave

 5   me the message that they wanted to talk to me.

 6       Q   Okay.   And -- and you went down voluntarily?

 7       A   Yes, I did.

 8       Q   When you initially talked to the police, were you

 9   honest and forthcoming about where you had been on the night

10   of December 1 st and December 2 nd ?

11       A   No, I wasn't.

12       Q   Why not?

13       A   Because I did not want to be arrested for the stolen

14   car and for the burglaries that we did do.

15       Q   Did you then become more forthcoming and truthful

16   with the police?

17       A   After I showed them where the stolen car was, yes.

18       Q   So describe how that played out - from the time that

19   you were initially called down to the police department to

20   the time that you're showing them where the stolen car is.

21   Just walk the judge through that.

22       A   You'll have to be more specific than that.

23       Q   So you get called down to the police station, right?

24       A   Yes, sir.

25       Q   Were you interviewed inside the police station,

26   outside the police station?      What's your recollection?

27       A   I was questioned by the New Milford Police,
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 1   Detective Samoska and McCafferty,       I believe, five times

 2   probably that week saying that, you know, they're looking

 3   for who killed the man up on the hill or -- you know,

 4   little -- little things like that.         I was being questioned

 5   by people in town.

 6       Q   Did you tell the police in the course of these

 7   interviews that you had stolen -- stolen a car?

 8       A   Had I told the police --

 9       Q   Did you admit in the course of the interviews in the

10   week of December 2, 1985, did you admit to the police that

11   you had stolen a car?

12       A   Yes, sir, I admitted that to Samoska and Mccafferty

13   when they -- when I -- when I ditched the car.            When I was

14   walking back toward the police station from ditching the

15   car, Ricky said you can tell them everything 'cause I told

16   them everything.

17       Q   So Ricky was in a police car, right?

18       A   Yes, sir, he was with Detective Samoska and

19   Mccafferty.

20       Q   The police car pulls up next to you on the street?

21       A   An unmarked police car, yes.

22       Q   And Ricky says I told them everything?

23       A   Yes, sir.

24       Q   And then what did you do?

25       A   I showed them where the -- the stolen Buick was, and

26   that's when we started to tell them everything we knew.

27       Q   From early on in -- in these interviews, after
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 1   December 2, 1985, did the police start accusing you of

 2   committing the Carr homicide?

 3          A     Yes, they did.

 4          Q     At any point, did they threaten you with the death

 5   penalty?

 6          A     The New Milford police -- police officers said that,

 7   yes, they did during the original interrogation.

 8          Q     And again, you were 17 at the time?

 9          A     Yes, sir, I was.     I just turned 17.

10          Q     What was your emotional state?

11          A     I was very scared.

12          Q     Once the police had told you that they were

13   investigating you for the Carr homicide, were you fully

14   forthcoming with them?

15          A     Yes.   To the best of my knowledge, everything I knew

16   I told them, yes.

17          Q     I'm going to show you on Exhibit 5 the evidence

18   report, item 189.         This describes a cassette tape of an

19   interview with you on December 6, 1985 with the Chief of

20   Police of New Milford, Mr. Olmsted and his Captain, Norbert

21   Lillis.        Do you see that?

22          A     Yes,   I do see that.   I remember that.

23          Q     Do you recall being interviewed by the Chief of

24   Police and -- and one of his captains?

25          A     I did not know that they were the Chief of Police

26   and a Captain at that time.           I don't remember that part, but

27   yes,       I do remember that interview.
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 1                 ATTY. RAABE:      Your Honor, at this point,          I'm

 2           going to offer as a full exhibit Exhibit 165, which

 3           is an evidence flow sheet that relates to that same

 4           item, the cassette tape of the interview of Mr.

 5           Henning.

 6                 ATTY. PROSCINO:       Your Honor,      I'm -- I'm going

 7           to object.     Mr. Henning can't authenticate this

 8           document.     And also, we'd object on relevance and

 9           hearsay grounds as well, but primarily

10           authentication.

11                 ATTY. RAABE:      Your Honor, this is extremely

12           frustrating.      We have a stipulation with the

13           Respondent's Counsel that we would not have to

14           authenticate these kinds of business records.

15                 ATTY.    PROSCINO:    Well -- Your Honor, if I may

16           have one moment?

17                 THE COURT:     I'll tell you what we'll do.              We'll

18           take our afternoon break and you can discuss it

19           further,     and we'll resume in about

20                 ATTY. PROSCINO:       Thank you.

21                 THE COURT:           ten or fifteen minutes.

22                                          (Recess)

23                 THE COURT:     You may be seated.           All right,    you

24           may continue direct examination.

25                 ATTY. RAABE:      Just, Your Honor,         initially a

26           couple of house cleaning matters.             We've talked with

27           the court clerk.      Exhibit 149 was Dr. Turvey's CD.
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 1                 THE COURT:     Yes.

 2                 ATTY. RAABE:     Amongst of all -- all of us, we

 3           seem to have misplaced it.         He was my witness.        I'll

 4           take the blame, but we have a substitute Exhibit 149

 5           that -- that is Brent Turvey's CD.

 6                 THE COURT:     Yes.

 7                 ATTY. PROSCINO:        And no objection to that, Your

 8           Honor.

 9                 THE COURT:     Okay.

10                 ATTY. CARLUCCI:        And I'm sorry, Judge, one

11           other housekeeping matter.         Exhibit G --

12           Respondent's Exhibit G.         Counsel and I agreed, full

13           exhibit.

14                 THE COURT:     All right.     And what is that?

15                 ATTY. CARLUCCI:        It's a 2011 statement by Mr.

16           Birch -- I'm sorry, Judge           with Mr. Birch,

17           Attorney Goodrow, and Len Boyle of the Chief State's

18           Attorney's Office.

19                 THE COURT:     Okay.

20                 ATTY. RAABE:     Next, Your Honor,        I -- I think I

21           failed to move as full Exhibit 167, which again are

22           some of Mr. Henning's notes that we examined

23           earlier.

24                 THE COURT:     All right.     If not previously

25           admitted as a full exhibit, they can be admitted as

26           full exhibit -- I think I have that as a full

27           exhibit, but okay.
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 1                 ATTY. RAABE:     And finally,        Your Honor, we

 2           reached agreement.      Exhibit 165, I believe, can come

 3           in as full.

 4                 ATTY. PROSCINO:       That's correct, Your Honor.

 5                 THE COURT:     Okay, so that's admitted as a full

 6           exhibit.     Yes?

 7                 ATTY. O'SHEA:     I just want to clarify.            So is

 8           Exhibit Ga statement of -- of Ralph Birch or Shawn

 9           Henning?

10                 ATTY. PROSCINO:       I -- May I, Your Honor?

11                 THE COURT:     Yes.

12                 ATTY. PROSCINO:       It's as to Ralph Birch.

13                 ATTY. O'SHEA:     I was not aware that this was

14           being put in as a full exhibit, Your Honor.                May I

15           have a moment with opposing counsel?

16                 THE COURT:     Yes.

17                 ATTY. O'SHEA:     Thank you.

18                 ATTY. CARLUCCI:       Judge,    I'm sorry -- Counsel

19           and I were -- there was a misunderstanding, so may

20           it remain a -- an ID exhibit?

21                 THE COURT:     It'll remain ID Exhibit G.

22                 ATTY. CARLUCCI:       G.    Yes,    Judge -- Respondent's

23           G.

24                 THE COURT:     Yes?

25                 ATTY. RAABE:     Thank you,        Judge.

26   DIRECT EXAMINATION CONTINUED BY ATTY. RAABE:

27       Q   So in front of you, Mr. Henning,            is Exhibit 165
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 1   which is the evidence flow sheet for item 189 from Exhibit 5

 2   which you previously had recognized as the tape of the

 3   interview between you, Chief Olmsted and Captain Lillis.                 Do

 4   you recall them interviewing you,       sir?

 5       A   Yes, I do.

 6       Q   On December 6, 1985, just a few days after the Carr

 7   homicide?

 8       A   Yes, that's correct.

 9       Q   Let me show you -- let me show you what's been

10   marked Exhibit 166 for identification.          In preparation for

11   your testimony here today, did I have you review the

12   contents of Exhibit 166?      That's the document I just put in

13   front of you.

14       A   Yes.

15       Q   And that's a partial transcript of the interview

16   between you, Chief Olmsted and Captain Lillis?

17       A   Yes, sir.

18       Q   And to the best of your recollection, is that an

19   accurate transcription of your conversation with those two

20   officers from December 6, 1985?

21       A   To the best of my ability, yes, that's what I

22   remember.

23                  ATTY. RAABE:   Your Honor,      I'm going to offer

24           Exhibit 166 as a full exhibit.         It's a -- make it a

25           partial transcript of this recorded conversation.                I

26           don't have the tape of the actual recording, and I

27           have a few -- a few bases to offer it if the
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 1           Respondent objects.

 2                   ATTY. PROSCINO:        Your Honor, we have an

 3           objection to this document being introduced.                 First

 4           off, it's not authenticated.            It does contain

 5           hearsay, and as it indicates on the last page of

 6           this document,       it's not a full transcript.           It's

 7           certainly not a certified copy, so we would object

 8           on those grounds.

 9                   THE COURT:     Where did it come from?

10                   ATTY. RAABE:     We got it in preparation for the

11           case.     We believe that someone from the State had

12           transcribed it.        Regardless of whether it came from

13           the State, Your Honor,          I think these

14                   THE COURT:     Well,    I was talking about the

15           actual tape recording.          Wasn't that by the State?

16                   ATTY. RAABE:     Yes, Your Honor.

17                   ATTY. PROSCINO:        Your Honor, we have no copy of

18           that tape.     We weren't aware of this.           Yeah.     I

19           mean, again, we would also object that there hasn't

20           been a proper foundation laid for this to be

21           introduced.     I mean, it certainly can be used to

22           refresh his recollection if he reviewed it, but just

23           for that limited purpose.

24                   THE COURT:     Well, if it was a tape recording on

25           December 6 th of 1985, then it would have to have been

26           provided to the defense counsel by the State.

27                   ATTY. RAABE:     Yes, Your Honor.
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 1                  THE COURT:     As a statement of the Defendant

 2           through the discovery rules.           Am I reciting

 3           procedural law correctly?

 4                  ATTY. PROSCINO:        Absolutely, and Your Honor,

 5           we're not disputing that that would've occurred.

 6                  THE COURT:     Okay.

 7                  ATTY. PROSCINO:        However, as to this actual

 8           document, we're arguing that it's                there's no way

 9           to prove that it's an accurate and full --

10.                 THE COURT:     I don't

11                  ATTY.    PROSCINO:        transcription of that --

12           that -- that tape recording.

13                  THE COURT:     I don't think there's a claim that

14           it's full.

15                  ATTY. RAABE:      Correct, Your Honor.

16                  THE COURT:     Okay?     What are you offering it

17           for?     Let me get that on the record.

18                  ATTY. RAABE:     Yes, Your Honor.         So there's a

19           couple of different purposes.           One, I think it would

20           be much easier for the Court to digest this than

21           having to listen to the tape,         so it's an aide to the

22           Court.    Secondly, the statements of the officers

23           within it set up the context for Mr. Henning's

24           responses.      And third, we contend it would be a

25           treasure-trove for defense counsel had you reviewed

26           it to cross-examine the chief, the captain, or any

27           other officer.
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 1                   THE COURT:     Okay.     Well, again,     I go back to

 2           the -- I thought -- you have the actual tape --

 3           cassette.

 4                   ATTY. RAABE:     I don't have it here, Your Honor.

 5            If

 6                   THE COURT:     No, but I mean you have it in

 7           existence in your possession.

 8                   ATTY. RAABE:     Not in our possession.          It's in

 9           the Respondent's possession or the State's

10           possession.       It's on the evidence log.          We have the

11           flow sheet for it.

12                   THE COURT:     Okay.

13                   ATTY. RAABE:     That's why I put --

14                   THE COURT:     But you said that it would be

15           better than having me listen to the tape.                I assumed

16           that you         you meant you had the tape available to

17           play.

18                   ATTY. RAABE:     Yes.     If we need to put the tape

19           in, we'll put the tape in.           It's a whole lot easier

20           to use this.

21                   THE COURT:     Well,    I got the impression from the

22           Respondent that they don't know where the tape is.

23           Is that a mistake?

24                   ATTY. PROSCINO:        It's not a mistake, Your

25           Honor.       We certainly don't have it in our

26           possession.

27                   ATTY. RAABE:     That's why I put the flow sheet
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 1            in, Your Honor.     It's          it's in the State's

 2           possession, according to the flow sheet.

 3                 THE COURT:     Okay, but as far as Counsel know,

 4           no one knows where that tape is, so I can't listen

 5            to it.

 6                 ATTY. RAABE:     I am assuming that it's with the

 7           State Police, according to the flow sheet.                    It was

 8           most recently move- --

 9                 THE COURT:     Okay, but it's not -- you don't

10           have access to it.

11                 ATTY. RAABE:     I don't have access to it.

12                 THE COURT:     And the Respondents are saying they

13           don't have access to it.

14                 ATTY. PROSCINO:        Correct, Your Honor.

15                 THE COURT:     Okay.        All right,        so again, the

16           objection is       well, wait a min- -- were you going

17           to respond?

18                 ATTY. COUSINS:        No.

19                 THE COURT:     Do you want to talk to Counsel?

20           Only one Counsel can address from --

21                 ATTY. COUSINS:        Yes,     if I could.

22                 ATTY. RAABE:     I -- I'm waiting for Your Honor.

23                 THE COURT:     Oh, oh,       I thought you were going

24           to -- I thought it was like a Perry Mason moment,

25           and he was going to resolve all the issues with that

26           one revelation.

27                 ATTY. RAABE:     What I'll -- what I guess I can
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 1           offer, Your Honor, if you go back to Exhibit 165 --

 2                  ATTY. PROSCINO:       Mm hmm.

 3                  ATTY. RAABE:          the first page which is the

 4           flow sheet

 5                  THE COURT:     Yes.

 6                  ATTY. RAABE:          it says at the second to last

 7           entry that there was a transcript prepared of the

 8           tape, assuming that that's what I have here.              I

 9           didn't take the transcript.

10                  THE COURT:     And this witness testified to the

11           best of his recollection it appears to be what

12           happened there.       We don't have it in front of us,            so

13           we don't have a -- a best evidence.             I would guess

14           it's a loss if that's the correct state, so I'm

15           going to allow it in for what it's worth.

16                  ATTY. RAABE:     Yes, Your Honor.

17                  ATTY. PROSCINO:       Thank you, Your Honor.

18                  THE COURT:     And again, it would've been

19           possibly available to Defense Counsel if Defense

20           Counsel had sought it.

21   DIRECT EXAMINATION CONTINUED BY ATTY. RAABE:

22       Q   Fair to say, Mr. Henning, this interview with the

23   chief of police and his captain was an extremely emotional

24   experience for you?

25       A   Yes, it was.

26       Q   You were 17 years old, right?

27       A   Yes,   I was.   I was scared out of my mind.
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 1       Q   And at the beginning of the interview, they advised

 2   you of your constitution rights?

 3       A   Throughout this interview, yes, I believe they did

 4   do that.

 5       Q   And to your recollection, was that the first time

 6   you were advised of your constitutional rights?

 7       A   Yes, to the best of my recollection, yes.

 8       Q   So if we go to the second page, you'll see on the

 9   bottom right hand corner there are what we call base labels.

10   It says 15831.

11       A   Yes, sir, I see that.

12       Q   And if -- if you read up top there, they talk about

13   your friend from Gaylordsval- -- Gaylordsville.             You say

14   Ricky, and then Captain Lewis said he told us a few things,

15   he finally told the truth about some things you were

16   involved in, some heavy things.        Do you recall that?

17       A   I remember him saying that, yes, I do.

18       Q   Is it your understanding through the course of this

19   interview and from the very -- very beginning that they were

20   accusing you of participating in the Carr homicide?

21       A   Yes, sir.

22       Q   If we go to page 15833 --

23       A   Yes, sir.

24       Q   Three lines down, Captain Lewis again talking about

25   heavy things and he says all the evidence points towards

26   you, right?

27       A   That's what not just Lillis, but a lot of officers
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 1   were saying things like that to me.

 2       Q    And is that an accurate reflection of your

 3   response -- oh, my God,        I didn't murder no one?

 4       A    Yes.     I said that many times tb many officers.

 5       Q    And further down on that same page, the big

 6   paragraph in the middle, four lines down to the right -- a

 7   lot of the evidence points to who's ever involved would have

 8   some blood on their person, may have some cut on their

 9   hands,   right?

10       A    I don't see what you're referring to.           My fault.

11                   THE COURT:     Right in the middle of the page.

12                   THE WITNESS:     Oh, yes, sir -- yes,     sir.     I see

13            it.    In the middle of the paragraph,        I see it.

14       Q    Did you have cuts on your hands at that point?

15       A    I had cuts on my fingers,      yes.

16       Q    Can you tell Judge Sferrazza where the cuts came

17   from?

18       A    When we had stolen the car we had stolen New Jersey

19   license plates, and when Ricky put those New Jersey license

20   plates on the vehicle he twisted them on with a heavy-gauge

21   electrical wire.      I didn't know that the gauge was that

22   heavy,   so when I went to take the license plates and rip

23   them off of the car, the license plates didn't come free and

24   I cut my hands doing so.

25       Q    And when you cut your hands, where did you wipe

26   them?

27       A    When I cut my hands -- what?
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 1          Q   When you cut your hands pulling the license plates

 2   off, did you wipe your hands off -- your bloody hands on

 3   something?

 4          A   I stuck my hands in my coat, yes -- my blue corduroy

 5   coat.

 6          Q   Okay.    We'll come back to that.       So was it your

 7   sense they -- they were saying here there's going to be

 8   evidence connecting you to this crime.            You should confess

 9   right now.     Right?

10          A   Yes, a lot of officers were saying things like that,

11   yes.

12          Q   And then you essentially told them take the

13   evidence, run it -- quote run it through the processor.

14   Right?

15          A   That is what I said.

16          Q   What did you mean by that?

17          A   Do the evidence.    Test it.     Test everything.       I

18   begged them all.        Test everything and prove my innocence,

19   right then and there.        There'd be no more discussion, no

20   more needed to be said about anything.            Do the tests.        Test

21   everything.        That's what I said to all of them.

22          Q   If you go to the page two pages down, bottom right

23   hand corner, the number is 15839.          You see the last entry by

24   Chief Olmsted?       The second sentence -- 'cause this crime

25   scene that we've got up there is what we call a rich crime

26   scene.     There's a lot of evidence up there, an awful lot of

27   evidence.     Right?
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 1       A   Yes, many officers said that.

 2       Q   And when they were telling you that there was a rich

 3   crime scene, what did you continually tell them?

 4       A   To test the evidence across the board.            Test

 5   everything.

 6       Q   During the course of this interview, were they

 7   were the police threatening to drag Tina into the

 8   investigation?

 9       A   Yes, they were.

10       Q   And what was your response to that?

11       A   It pissed me off.

12       Q   To your knowledge, did Tina Yablonski have anything

13   to do with the murder of Everett Carr?

14       A   Absolutely not.

15       Q   Top of page 15841.     Again, this is Chief Olmsted.

16   If you had nothing to do with that that's fine,           but what I'm

17   saying is that if you guys had anything to do with it, that

18   evidence that we got from you and from the scene is going to

19   put you there, but it's going to take two weeks.             Do you see

20   that?

21       A   Yes, I do see that.

22       Q   And then they started talking about Tina, or you

23   started talking about Tina?

24       A   Yes, sir.

25       Q   And once again~ did you tell them test the evidence,

26   it will prove that I was not at Mr. Carr's house?

27       A   Yes, I did.
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 1         Q   If you go to page 15845, the third to last Lillis

 2   entry that says, among other things, be a man.               Right?    Do

 3   you remember them saying that to you?

 4         A   Yes, I do, very, very vividly.

 5         Q   What did you understand them to be telling you?

 6         A   That if I did a crime to speak up -- to own up to

 7   it.

 8         Q   And then he said a little bit farther down, how come

 9   your story doesn't match up with Birch's?               Right?

10         A   Yes, sir.

11         Q   And your response was oh, my God.

12         A   Yes, sir.

13         Q   To your knowledge, did Ricky Birch have anything to

14   do with the Carr homicide?

15         A   Ricky Birch had absolutely nothing to do with the

16   Carr homicide, as far as I know.

17         Q   Was Ricky Birch with you on the night of December 1,

18   1985 into December 2, 1985?

19         A   Yes, he was.

20         Q   And page 15849, about halfway down there's a big

21   entry from Captain Lillis talking about Ricky here.                He's

22   gonna put it all on you, man -- everything on you, and

23   you're gonna sit there and you're gonna say I don't give a

24   damn about Tina, I don't give a damn about anything, and

25   Birch is going to walk out of this thing and guess who's

26   gonna be left sitting holding the bag - Shawn Henning.

27   Right?
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 1       A    Yes, he said that to me.         Yes, he did.

 2       Q    If you go down two pages after that dialogue

 3   continues to 15851, second to last entry.                 This is you

 4   talking again.       Send it off now just so I can prove you guys

 5   I didn't -- that's not my blood.              I didn't -- that's my

 6   blood.   I didn't F with no old man.            Send it off now, all

 7   right?   Just save me problems.          What did you mean?

 8       A    To do the testing.         I begged them to do the testing

 9   over and over and over.

10       Q    And finally,      if you go to 15- -- back two pages,

11   15849 into 50.       Your statement actually -- they're telling

12   you you're in big trouble.          You said I told you the truth.

13   I did not f-ing -- I didn't touch no old man.                 I didn't

14   touch his house.        Right?

15       A    That is true.

16       Q    Is that in fact true?

17       A    Yes, it is.       Yes, that's true.       I did say that.

18   They asked me that, and I did say that.             That is my answer.

19       Q    So at this point, was it your mindset they were

20   telling you that Ricky Birch had turned on you,               that the

21   evidence was all going to be against you forensically,                   and

22   that you could potentially face the death penalty?

23       A    Yes.

24                   ATTY.   PROSCINO:     Objection, Your Honor.

25                   THE COURT:       (Indiscernible)

26                   ATTY. RAABE:       His mindset.

27                   THE COURT:       All right.     He's already testified
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 1           to that.

 2       A   I said yes in case you didn't hear me.

 3       Q   During the course of your meetings, interrogations

 4   with the police, you did truthfully admit to all of the

 5   burglaries that you committed,         right?

 6       A   Yes, sir,     I did.

 7       Q   You admitted the stolen car?

 8       A   Yes, I did.      I showed them where the stolen car was.

 9   I did that.

10       Q   You admitted to drug use?

11       A   Yes,   I did.

12       Q   And part of that was cocaine use,           right?

13       A   Yes, it was.

14       Q   Can you tell Judge Sferrazza how you first got

15   introduced to cocaine?

16       A   Through a friend of Tina's.

17       Q   And were you a cocaine addict at the time in

18   December of 1985?

19       A   I have never in my life been a cocaine addict.                I

20   was experimenting with cocaine.         My thing was marijuana and

21   hasheesh, things of that nature.          I liked to laugh.

22       Q   As a result of ingesting cocaine or marijuana in

23   this timeframe,      December of 1985, did you ever lose control

24   of your faculties?

25       A   Absolutely not.

26       Q   When did you first meet Ricky Birch?

27       A   I believe I met Ricky Birch in the baseball fields
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 1   down by the river in New Milford in September or October of

 2   '85,       I believe.

 3          Q     Is that about the time that you came to New Milford

 4   from Illinois?

 5          A     Yes, sir.    Within them months, yes, sir.          A month

 6   and a half after I came to New Milford from Groton where I

 7   was living, yes.

 8          Q     At the time that Chief Olmsted and Captain Lillis

 9   were telling you that Ricky had turned on you, did you feel

10   any loyalty to Ricky?

11          A     Absolutely not.    I barely knew Ricky.          I mean, we

12   were living together in a stolen car, but that's only

13   because of Tina.

14          Q     At some point

15          A     If it hadn't been for Tina, then I would not have

16   been involved with Ricky.

17          Q     At some point when the police were questioning you

18   about Ricky Birch, did you say words to the effect of if you

19   want to know about what Ricky did, go ask Ricky?

20       A        Yes, I did say that.

21          Q     Can you tell the judge why you said that?

22       A        Because the police kept asking me questions like

23   what'd Ricky do?         What'd Ricky do?      You know, Ricky's saying

24   this and Ricky's saying that.             Well, if you want to know

25   what Ricky's saying about anything, go ask Ricky.

26       Q        Were they telling --

27       A        That's what I said, but I said that many times to
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 1   many, you know, many questions.

 2          Q   Did the police tell you that Ricky Birch had killed

 3   Everett Carr and that they wanted you to cooperate against

 4   him?

 5       A      Yes, they did.

 6       Q      Is that one of the reasons you said if you want to

 7   know about Ricky, go ask Ricky?

 8       A      Yes, it is.

 9       Q      You talked before about the fact that you had

10   interactions with Detective Ocif.           Did you ever tell

11   Detective Ocif that you killed Everett Carr?

12       A      Never have I told anyone that I killed Everett Carr.

13   Never.

14       Q      Did you ever tell Detective Ocif that you had any

15   information about -- withdrawn.           Did you ever tell Detective

16   Ocif that you were present when Everett Carr was killed?

17       A      Never.

18       Q      You were here when he testified in this court,

19   right?

20       A      Yes,   I was.

21       Q      Did he at some point come down and pick you up down

22   in the Waterford area on a violation of probation warrant?

23       A      Yes.     Detective Ocif drove all the way from

24   Litchfield County to where I was working in Waterford,

25   Connecticut, and he arrested me for a violation of probation

26   charge.

27       Q      This is when you were working building houses?
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 1       A   Yes, sir.     I was building houses in Waterford,

 2   Connecticut.     I lived in Mystic, Connecticut at the time.

 3       Q   And in the course of driving you to Litchfield, did

 4   he show you a dummy warrant for the -- for your arrest in

 5   relation to the Carr homicide?

 6                  ATTY. PROSCINO:     Objection, Your Honor.

 7       A   Yes, he did.

 8                  THE COURT:     What -- what's the objection?

 9                  ATTY. PROSCINO:     How is this relevant to --

10           with the claims in the petition?

11                  THE COURT:     We've already had testimony on it.

12           I think it's cumulative.

13                  ATTY. RAABE:     I was just asking what his

14           reaction to it was, Your Honor.

15                  THE COURT:     I -- I don't know that that's

16           relevant.    I'll sustain the objection.

17       Q   In the course of the ride and then your

18   interrogation in the Litchfield barracks, did Detective Ocif

19   say that you should give up Ricky?

20       A   Yes.   Yes, he did.

21       Q   What'd you tell him?

22       A   I told him there was nothing to say.           Not going to

23   give up a man that I know is not guilty of a murder.             Who

24   would do that?

25       Q   At -- at some point, was there talk between you,

26   Miss Yablonski and Ricky about quote getting your story

27   straight unquote?
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 1       A   Yes.   Yes, there was.

 2       Q   And was that in -- well, withdrawn.            What did that

 3   relate to?

 4       A   That related to the night that Mr. Carr was killed

 5   in his -- in his house.

 6       Q   And what was getting the story straight all about?

 7       A   Us not being arrested for the stolen car and for the

 8   burglaries that we'd done.

 9       Q   So when you first were not truthful with the police,

10   was that in relation to getting your story straight about

11   the stolen car and the burglaries?

12       A   Could you rephrase that, please?          Could you ask

13       Q   When you first -- you said before you weren't

14   initially truthful with the police,        right?

15       A   Yes, that's true.

16       Q   And when you weren't being truthful, was that part

17   of the getting the story straight about the stolen car and

18   the burglaries?

19       A   Yes.   I didn't want Tina going to prison.           I didn't,

20   you know -- she was my woman.

21       Q   And then after that initial deception to the police,

22   once they started accusing you of the Carr murder, were you

23   forthcoming and honest with them?

24       A   Yes.

25       Q   You talked before about the -- the blue coat.

26       A   Yes, sir.

27       Q   Going back to Exhibit 5, Item 63, it describes a
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 1   blue corduroy, quilted jacket, brand name Skidaddle quote

 2   Pack Ten unquote having an apparent blood-like -- blood-like

 3   substance on it that was seized from you.                Is that the coat

 4   you're referring to?

 5          A   Yes, sir.    That's the coat that they seized from me

 6   the day that I showed them where the stolen car was when I

 7   ripped my hands open on the license plate, yes,               sir.

 8          Q   Was that the only winter coat that you had at the

 9   time?

10          A   That was the only coat that I had that entire time.

11    Yes, sir.     Yes, it was.

12          Q   Did it have blood on it?

13          A   Yes, it did.

14          Q   Whose blood?

15          A   My blood.

16          Q   All right, let's switch gears to calls with Mildred

17   Henning, your grandmother, and Tim Saathoff.

18          A   Yes, sir.

19          Q   You called both of them on a particular day?

20          A   At nighttime, yes, after the interrogations were

21   over with the New Milford and the State Police Departments,

22   yes.

23          Q   Can you tell the judge why you called them and what

24   you said to them,      starting with your grandmother?

25          A   I called my grandmother first from the collect phone

26   in the jail.     I told her I was in jail.          I told her that I

27   was in jail because I had stolen a car and that we had done
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 1   some burglaries, and because of those burglaries I was a

 2   suspect for a murder where the -- where the police think a

 3   man and a dog were killed.

 4       Q   Did you tell your grandmother that you were present

 5   at that murder?

 6       A   I told my grandmother that I didn't do the murder.

 7       Q   Did you tell your --

 8       A   That's what I told her, but she doesn't know who

 9   Ricky and Tina are.         There's no sense in saying we didn't

10       Q   Listen to my question.        Did you tell your

11   grandmother that you were present at the murder?

12       A   Never did I say that.

13       Q   How long after you talked to your grandmother did

14   you call Tim Saathoff?

15       A   Right afterwards.

16       Q   Who is Tim Saathoff?

17       A   He was a childhood friend of mine that I knew from

18   Herscher,     Illinois at various points in my life.          I moved to

19   Herscher and from Herscher at various times in my life.

20       Q   What did you tell Mr. Saathoff?

21       A   Almost the same thing as I told my grandmother.

22       Q   Did you tell either of them that you had

23   participated in the Carr homicide?

24       A   Absolutely not.        I never said that.

25       Q   Did you tell either of them that you were present

26   for the Carr homicide?

27       A   No,    I did not.
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 1         Q    Did you tell either of them that Mr. Birch committed

 2   the Carr homicide?

 3         A    No,    I did not.   That was Ocif's version of what I

 4   said.

 5         Q    I didn't ask a question, sir.         So they're -- they're

 6   testifying -- they testified against you at trial,               right?

 7         A    Yes.

 8         Q   And they said that you did say that you were there,

 9   right?

10         A    Yes.

11         Q    In the course of that testimony, did you provide

12   more notes to Attorney Eisenmann?

13         A    Yes,   I did.

14         Q    So do you still have Exhibit 168 in front of you?

15         A   Yes, sir, I do have it.

16         Q    If you look on the page that says         (indiscernible)        up

17   top

18         A   Yes, sir.

19         A   About five bullets down -- let's make sure I'm

20   reading this right.        Grandmother told her about me be

21   suspect.     Did not say I was involved.         Wish they had tape

22   recording.

23         A   Yes, sir, I wrote that.

24         Q   Did -- did you write that note to Attorney

25   Eisenmann?

26         A   Yes,    I did.

27         Q   Why?
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 1       A   Because I begged him to get the audio tape of the

 2   telephone calls between me and my grandmother and me and Tim

 3   Saathoff.      That's why I wrote that.        I begged him to get the

 4   audio tape so that I could prove what I said -- so I could

 5   prove how I said what I said.

 6       Q   If you go to Exhibit 171, the defense and offense --

 7       A    Yes, sir.

 8       Q   About halfway down that first page it says phone

 9   recording of my calls to Timmy and my grandmother.                Is that

10   another instance where you were asking to see if there were

11   phone call recordings?

12       A   Yes, sir.

13       Q   Because you believed that those would bear out your

14   conversation that you just accounted to this Court?

15       A   Yes, I did believe that.           I told him that a hundred

16   times over and over and over.

17                   ATTY. RAABE:     Your Honor,     I'd offer as a full

18           exhibit 175, which is again more notes from Exhibit

19           183.

20                   ATTY. PROSCINO:        No objection, Your Honor.

21                   THE COURT:     Okay.     It will be admitted as

22           Exhibit 175.     Thank you.

23       Q   Again, these are more notes that you were giving to

24   Attorney Eisenmann?

25       A   Yes, sir.

26       Q   The second one said I did call Timmy about this

27   murder, but when I told him a man was killed,              I also told
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 1   him that the police detectives thought I was there.

 2       A    Yes,   I wrote that.

 3       Q   Why were you sending that note to Attorney

 4   Eisenmann?

 5       A    Because it's the truth.

 6                   ATTY. RAABE:     I'd offer Exhibit 174 as full,

 7            Your Honor.     Again, more notes from Exhibit 183.

 8                   ATTY. PROSCINO:        No objection, Your Honor.

 9                   THE COURT:     Okay.

10       Q    Is this another note that you gave to Attorney

11   Eisenmann during the trial?

12       A   Yes, sir, while Tim Saathoff was testifying.

13       Q   And here you were suggesting how Attorney Eisenmann

14   might deal with Mr. Saathoff's testimony during your

15   criminal trial?

16       A   Yes, sir.

17       Q   When your grandmother and Attorney Saathoff were

18   done testifying, did you say anything to Attorney Eisenmann?

19   Or -- let me withdraw the question.            After your grandmother

20   and Attorney         and Mr. Saathoff had testified, were you

21   concerned about their testimony?

22       A   Yes.    He made -- he left it in the courtroom like if

23   I was guilty, and I was pulling on his jacket saying you

24   can't leave this like this.        I didn't understand how he

25   could leave that like that,       like after I told him a million

26   times to,    you know -- I just didn't understand it.             I still

27   don't understand how he could do that as a lawyer.
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 1       Q     With your grandmother, do you recall she testified

 2   that you had told her that a man and a dog was killed?

 3       A     Yes, that's what she said.

 4       Q     Why -- did you in fact tell your grandmother in the

 5   phone call that a dog had been killed?

 6       A     Yes, that's what I said.       That's what I was told.

 7       Q     Why'd you tell your grandmother a dog had been

 8   killed?

 9       A     Because that's the story how I heard it.

10       Q     Did you ever try to convince your grandmother that

11   the conversation that you had with her just before you

12   called Mr. Saathoff didn't in fact occur?

13       A     I never --

14                  ATTY.    PROSCINO:   Objection, Your Honor.

15       A        said that it didn't occur.

16                  ATTY.    PROSCINO:   I'm just going to argue it's

17             not relevant.

18                  ATTY. RAABE:      It's part of the trial evidence,

19             Your Honor.

20                  THE COURT:     As to whether he tried to -- to

21             convince his grandma --

22                  ATTY. RAABE:      There was some -- there was --

23             excuse me.     There was some trial testimony that --

24                  THE COURT:     I'll allow it.

25       Q     Did you ever try to convince your grandmother that

26   the first conversation, before you had spoken with Mr.

27   Saathoff, didn't in fact occur?
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 1       A    I never tried to convince her that that conversation

 2   did not occur.

 3       Q    Did you have a conversation with your grandmother

 4   about whether she was recalling that early December

 5   conversation correctly?

 6       A    Yes.   That is what -- yes.

 7       Q    What did you say to your grandmother in that regard?

 8       A    That she didn't get the conversation right.             She

 9   didn't listen.       She wasn't -- she was distraught when I

10   called her and told her about the murder and then the

11   burglaries and that I was a suspect in the murder.

12       Q    And that when she was recalling it, she would said

13   (sic)   that you had participated in the murder, that you were

14   not there in fact?

15       A    Say that again?

16       Q    So, you were concerned that she had some

17   recollection that you had said to her that you somehow

18   participated in the murder, right?          Is that right?

19       A    Yes, sir.

20       Q    And when you had this follow up conversation with

21   her, what did you say to her?

22       A    Repeat the question, please.

23       Q    So when you had the follow up conversation with her

24   about her recollection of the first phone call, what did you

25   say to her?

26       A    I don't recall.     I don't recall.

27       Q    Let me back you up.      You -- you had heard that she
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 1   was saying that you had said that you were involved in the

 2   Carr homicide, right?

 3                     ATTY. PROSCINO:     Objection, Your Honor.

 4                     ATTY. RAABE:     I'm just trying to get back in

 5              the frame --

 6                     THE COURT:     Well, he said he doesn't recall.

 7                     THE WITNESS:     I'm lost.

 8          Q   Do you recall having -- you talked with your

 9   grandmother and then you called Tim Saathoff, right?

10          A   Yes, sir.

11          Q   Do you recall being concerned about how your

12   grandmother recalled that first conversation?

13          A   Of course.

14          Q   And did you have a subsequent conversation with your

15   grandmother?

16          A   Yes.

17          Q   Do you remember what you said to your grandmother in

18   that conversation?

19          A   That she was wrong.

20          Q   About what?

21          A   About how the phone call went, about what I said to

22   her.

23          Q   How was she wrong?

24          A   'Cause I never said that I was at the Carr crime.                I

25   never once said that.

26          Q   Did you ever say to Mr. Saathoff that you were at

27   the Carr crime scene?
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 1       A    Never.

 2       Q    You ultimately were convicted of felony murder,

 3   right?

 4       A    Yes, sir, we were.

 5       Q    And you took an appeal?

 6       A    Yes, sir.

 7       Q    Did you at any point have any conversations with

 8   well, withdrawn.       Who was your counsel for the appeal?

 9       A    Eisenmann       Carl Eisenmann.

10       Q    Did you ever at any point have any conversations

11   with Attorney Eisenmann about what issues would be raised

12   or the strategy for the appeal?

13       A    I did not.     I didn't even know he was putting an

14   appeal in like that.

15       Q    Ultimately, your appeal was denied, right?

16       A    Yes, sir.

17       Q    And you filed a habeas petition?

18       A    Yes, I did.

19       Q    Did Attorney Michael Merati, MER AT I, represent

20   you in that habeas?

21       A    Yes, he did.

22       Q    Let me show you what's been marked for

23   identification as Exhibit 176.         That's a letter dated April

24   one, 2003 from Attorney Merati?

25       A    Yes, sir.

26       Q    Did you receive this while you were incarcerated in

27   Virginia?
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 1       A   When the DOC had us in Virginia, yes.               I was an

 2   inmate in Virginia at the time.

 3       Q   So -- so the question is, did you receive this when

 4   you were an inmate in Virginia?

 5       A   Yes, sir.

 6                   ATTY. RAABE:      Your Honor,    I offer it not for

 7           the truth, but simply for the subsequent actions in

 8           relation to the habeas.

 9                   ATTY.    PROSCINO:     Just for that limited purpose,

10           Your Honor, we have no objection.

11                   THE COURT:     All right,    it may be admitted.

12           What's the number again?

13                   ATTY. RAABE:      One seven six, Your Honor.

14                   THE COURT:     Okay.

15                   ATTY.    PROSCINO:     Craig, if you want to just

16           expedite, are you entering 177 and 178 under the

17           same?

18                   ATTY. RAABE:      Yes.

19                   ATTY. PROSCINO:        Do you want to just enter

20           those as full right now?

21                   ATTY. RAABE:      Your Honor, on Respondent

22           Counsel's suggestion to expedite things, we have

23           Exhibits 177 and 178 which are also letters to Mr.

24           Henning from Attorney Merati.            I'd offer those as

25           full.

26                   THE COURT:     Okay.

27                   ATTY.   PROSCINO:      179 I think, Craig,     right?
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 1                   ATTY. RAABE:     I'm sorry.     177 and 179.

 2                   ATTY. PROSCINO:     And for the same limited

 3           basis, Your Honor, we have no objection.

 4                   THE COURT:     All right.     They may be admitted as

 5           full exhibits on that basis.

 6       Q   So if you look at Exhibit 176, Mr. Henning, down on

 7   the bottom of the first -- down on the bottom of the bottom

 8   paragraph on the first page, Mr. Merati is talking to you

 9   about your habeas.      Is it fair to say as you were dealing

10   with Attorney Merati he didn't seem to have a lot of

11   enthusiasm for your habeas petition?

12                   ATTY. PROSCINO:     Objection, Your Honor.

13                   THE COURT:     Yes, you're asking him to speculate

14           on someone else's enthusiasm.

15       Q   What was your belief as to your lawyer's enthusiasm

16   for your habeas petition?

17       A   He acted like he didn't want to do my habeas, and I

18   told him that the DNA would prove my innocence.

19       Q   Okay.     So down the bottom of the first page,           I was

20   going to go through this quickly, it talks about your shoe

21   size being a ten and a half.          Do you see that?

22       A   Yes, sir.

23       Q   Is that accurate?

24       A   That's wrong.

25       Q   What is your shoe size.

26       A   My shoe size is eleven and a half, twelve.

27       Q   Here's Exhibit 177, Mr. Henning.
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 1                  ATTY. RAABE:    I apologize, Your Honor.         I don't

 2           have another copy of this one.

 3       Q   Do you recall having -- or receiving this letter

 4   from Attorney Merati?

 5       A   Yes, sir.     Yes, sir, I do.

 6       Q   And just to expedite things, he was writing you

 7   before your upcoming habeas hearing in January of 2004?

 8       A   Yes, sir.

 9       Q   And did you have some communication with him about

10   whether you needed to be present for that hearing?

11       A   Yes, that's what's in the letter.

12       Q   So did you have any understanding as to whether you

13   needed to be -- needed to be present for your habeas hearing

14   in January of 2004?

15       A   He said I didn't need to be there.

16       Q   And did he talk about your petition being withdrawn

17   without prejudice?

18       A   Yes.   That was in the letter that he wrote, yes.

19       Q   And what did you understand that to mean?

20       A   That means that I     wouldn't be penalized, that I

21   could do the -- wait for the DNA testing to be done in this

22   case to prove my innocence before I had to recla- -- refile

23   the habeas.

24       Q   And is some of your understanding on this issue

25   encapsulated in Exhibit 177?

26       A   Yes.   Yes, sir, in the letter.        I was still in

27   Virginia when I got this.
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 1                 ATTY. PROSCINO:      Objection, Your Honor.          No

 2            question pending.

 3                 ATTY. RAABE:      Your Honor,     I'd offer as a full

 4            exhibit Exhibit 178 which is the hearing transcript

 5            from Mr. Henning's January five,          2004 habeas

 6            dismissal.

 7                 ATTY. PROSCINO:      No objection to that.

 8                 THE COURT:     It may be admitted.

 9       Q    You didn't come back to Connecticut for the January

10   five,   2004 hearing, right?

11       A    I did not.     He said I didn't need to.

12       Q    If you were told that you had to be there, would you

13   have gone?

14       A    Absolutely.

15       Q    In the hearing on page three, the Court asked your

16   lawyer, Counsel, is it true that your client refused to come

17   here, and your lawyer answered yes.           Is that true?

18                 ATTY. PROSCINO:      Objection, Your Honor.          The

19            transcript speaks for itself at this point.

20                 THE WITNESS:      I-- I don't have that document.

21                 THE COURT:     I think he's not asking him what

22            the transcript says, but whether that actually

23            happened.

24                 ATTY. RAABE:     That's correct, Your Honor.

25       Q    So the Court asked your counsel, Counsel, is it true

26   that your client, meaning you,         refused to come here, and

27   your lawyer said yes.
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 1       A   Yes.

 2       Q   Had you in fact refused to go to your habeas

 3   hearing?

 4       A   Absolutely not.

 5       Q   Did you authorize your lawyer to have your habeas

 6   dismissed with prejudice?

 7       A   No,    I most certainly did not.

 8       Q   Why not?

 9       A   I never authorized that.       I was never asked to

10   authorize anything by Merati.

11       Q   Was it your understanding that you were going to

12   withdraw without prejudice, have some DNA testing --

13       A   Yes.

14       Q   -- and then bring the --

15       A   Yes, sir.

16       Q         DNA claims and all of the other habeas claims all

17   at once?

18       A   Yes, sir.

19       Q   In this proceeding that we're here today at?

20       A   Yes, sir.    That was my understanding.

21       Q   You've seen pictures of the Carr-Colombo residence

22   in the course of your underlying trial in this case, right?

23       A   Yes, sir.

24       Q   Did you ever burglarize that home?

25       A   I did not.

26       Q   Have you ever set foot on that property?

27       A   I have never stepped foot on that property in my
 Case 3:20-cv-01790-VAB    Document 137-1     Filed 12/19/22   Page 187 of 197   185


 1   life.

 2       Q   Did you kill Everett Carr?

 3       A    I did not.

 4       Q   Were you present when Everett Carr was killed?

 5       A   I was not present.

 6       Q   Do you know who killed Everett Carr?

 7       A   I do not know who killed Everett Carr.

 8                  ATTY. RAABE:     One moment, please, Your Honor?

 9                  THE COURT:     Yes.

10                  ATTY. RAABE:     Thank you, Your Honor.          Nothing

11           further.

12                  THE COURT:     Counsel for Mr. Birch?

13                  ATTY. O'SHEA:     No questions, Your Honor.

14                  ATTY. PROSCINO:        Just briefly, Your Honor.

15                  THE COURT:     Yes.

16                  ATTY. PROSCINO:        Thank you.

17                  THE WITNESS:     Your Honor, do I give these to

18           you?

19                  THE COURT:     Sure.

20                  ATTY. PROSCINO:        Your Honor, may I be permitted

21           to question the witness from counsel table?

22                  THE COURT:     Sure, as long as you're in front of

23           the microphone.

24                  ATTY. PROSCINO:        I'll allow Attorney Raabe to

25           collect his --

26                  THE COURT:     Yes.

27                  ATTY. PROSCINO:        -- items.
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 1   CROSS-EXAMINATION BY ATTY.       PROSCINO:

 2       Q    Good afternoon, Mr. Henning.

 3       A    Good afternoon.

 4       Q    Just a few questions for you.         And if I    just ask you

 5   just to keep your voice up a little louder.             We just had

 6   some trouble hearing you earlier.

 7       A    Yes, ma'am.

 8       Q    Thank you.     So you testified on direct examination

 9   about the notes that you wrote your attorney, Carl

10   Eisenmann.      Is that correct?

11       A    Yes.

12       Q   And it's true that you wrote quite a bit -- quite a

13   lot of notes to Attorney Eisenmann.          Is that correct?

14       A    I wrote them throughout my trial just as I do for

15   this trial.

16       Q    But you wrote a lot of them, correct?

17       A   Yes.

18       Q   And you indicated that you wrote them throughout

19   your trial --

20       A   Yes, ma'am.

21       Q   -- to Attorney Eisenmann?

22       A   Yes, ma'am.

23       Q    Did you write them at any other time during your

24   trial to him?     Well, let me rephrase that.

25       A   Yeah,    I don't understand your question.

26       Q   Were you only writing the notes to him while you

27   were in court?
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 1       A      I believe so.

 2       Q    Okay.

 3       A      I don't remember writing them anywhere else.

 4       Q    Okay, so it's safe to say that the notes that you

 5   were giving Attorney Eisenmann were being written while you

 6   were sitting next to him in court, correct?

 7       A    The best that I can recall, yes.

 8       Q    Okay.

 9       A    Those are Eisenmann -- those were the notes --

10       Q    There's no question pending, Mr. Henning.             Now,   you

11   wouldn't have written all those notes if you thought that

12   Mr. Eisenmann wasn't paying attention to them, correct?

13       A      I was writing those notes because Eisenmann was not

14   paying attention to me while the witnesses were on the

15   stand.     I was writing them for various reasons.

16       Q    Well, if you thought that he wasn't paying attention

17   to you, then why did you continue to write them?

18       A    Because I needed him to pay attention to what I was

19   writing.      I was telling him to have the testing done, and he

20   was not paying attention to what I was writing.              That's why

21   I wrote it repeatedly.         I was trying to --

22       Q    So

23       A         defend myself.

24       Q    But your testimony earlier on direct examination was

25   that Attorney Eisenmann was paying attention to the

26   witnesses.     Wasn't that correct?

27       A    Yes, ma'am, that's true.
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 1       Q   And isn't that what you would want your attorney

 2   who's defending you in a murder case to be doing?

 3       A   I want him to pay attention to both what I'm saying

 4   to him and was being said on the witness stand so I can

 5   defend myself.

 6       Q   But didn't you testify that Attorney Eisenmann told

 7   you that it was difficult for him to pay attention to what

 8   the witnesses were stating on -- while they were on the

 9   stand and listen to you, correct?

10       A   This is true.

11       Q   And you wouldn't want your attorney to get confused

12   by what he's listening to you say and what he's listening to

13   the witnesses who could possibly provide some information

14   that could render you innocent, correct?

15       A   I don't know how to answer that.             I would want my

16   attorney to defend me to the best of his ability, and if

17   that's what you're asking me, that's my answer.

18       Q   Okay.     Now -- just one moment.       Now you testified

19   also on direct examination that you brought the police to

20   where the stolen Buick was located, correct?

21       A   Yes,    I did.

22       Q   Now that was days after the Carr murder, correct?

23       A   That was,    I believe,    December 5 th •      Yes,   four days

24   after the Carr murder,     yes.

25       Q   Okay, and it's -- it's a --

26       A   Five days after,    yes.

27       Q   Okay, excellent.     Thank you.
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 1                   ATTY. PROSCINO:      Just one moment, Your Honor.

 2                   THE COURT:   Yes.

 3                   ATTY. PROSCINO:      Thank you.

 4       Q    Now, you also talked about on direct examination the

 5   letters that Attorney Merati, your habeas counsel, sent to

 6   you while you were incarcerated, correct?

 7       A    Yes.

 8       Q    And you read those letters, correct?

 9       A    Yes, I did.

10       Q    And you indicated on direct examination that you had

11   some disagreements with the information in those letters,

12   correct?

13       A    I don't understand what you mean by disagreement.

14       Q    I'll withdraw that.        If you didn't agree with some

15   of the statements that Attorney Merati had made in those

16   letters, would you -- wouldn't you have contacted him to

17   correct his understanding?

18       A    We were in contact.        That's why he sent me the

19   letters that he sent me.

20       Q    So you didn't tell him that there were any issues

21   that you had with some of the things that he said

22   specifically like you testified on direct that he had your

23   shoe size wrong, correct?

24       A    The shoe size wasn't necessary for me to correct him

25   on in that letter.     I'm waiting for the DNA across the

26   board.

27       Q    But --
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 1       A    I wanted all of the testing to be done.

 2       Q    But you testified, though, that you did communicate

 3   with him, correct?

 4       A    Yes, of course.         That's what -- what -- that's the

 5   reason I got three or four letters from him.

 6       Q    Okay.     Now isn't it true that during your habeas

 7   trial, the one that took place on January 5, 2004, the

 8   reason why you didn't want to come up to Connecticut is

 9   because you were happy in Virginia, right?

10       A    That's not true.         My mother was dying of cancer.

11   She lived in North Carolina.              That was the reason why.         It

12   wasn't because I was happy.

13       Q    But Attorney Merati

14       A    I've been in prison 28 years.              I'm not happy.

15       Q    There's no question pending, Mr. Henning.                  So it was

16   incorrect that -- withdrawn.

17                    ATTY. PROSCINO:        One moment, Your Honor.

18                    THE COURT:      Yes.

19                    ATTY.    PROSCINO:     Nothing further, Your Honor.

20                    THE COURT:     Any redirect based on cross-

21            examination?

22   REDIRECT BY ATTY. RAABE:

23       Q   You said your mother was dying of cancer in North

24   Carolina?

25       A   Yes, sir.         An hour -- she lived an hour or something

26   away from where I was.          I hadn't seen her in 20 years.

27       Q   So is that one of the reasons you were down in
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 1   Virginia?

 2       A     I was down in Virginia because Connecticut had too

 3   many inmates in their system, and they sent us down there.

 4       Q     As a result of your mother being sick, did you

 5   refuse to come back to Connecticut?

 6       A     I don't know if it was as a result of that, but that

 7   was one of the reasons why I did not want to come back to

 8   Connecticut, yes.

 9       Q     And you had a conversation with your habeas lawyer

10   about whether you had to come back, right?

11       A     Yes, sir.

12       Q     And what did he tell you?

13       A     That I didn't have to come back,          'cause the judge

14   already -- he was already straight with the judge.

15       Q     And as a result, you stayed in Virginia.

16       A     I was in -- I was in the state -- I was housed in

17   Virginia, yes.

18       Q     Now, with regard to the notes that you were

19   preparing and that you gave to Attorney Eisenmann, were you

20   going over those notes with him at the lunch break, after

21   court, at any time?

22       A     Yes.   I was trying to, you know -- as it happens

23   here,    I don't get much time with you guys to discuss those

24   things.     You know,    the sheriffs bring us out after a couple

25   of minutes.      That's the same thing that happened in my

26   trial.

27       Q     But you -- you were raising issues because you were
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 1   concerned with the way that Attorney Eisenmann was dealing

 2   with them and you wanted to

 3       A    Yes, sir.    Obviously, yes,       sir.

 4       Q    Yup.    Let me finish the question.              You were

 5   concerned about the way that the trial was going, and you

 6   wanted to raise issues for Attorney Eisenmann to address?

 7       A    Yes, sir.

 8       Q    And at the end of the day, did you feel that they

 9   were properly addressed?

10       A    I did not -- a lot of times,          I did not.

11                   ATTY. RAABE:     Thank you, Your Honor.

12                   ATTY. O'SHEA:         No questions, Your Honor.

13                   ATTY. PROSCINO:        Just briefly, Your Honor.

14                   THE COURT:     Yes.

15   RECROSS BY ATTY. PROSCINO:

16       Q   While you were in Virginia, Mr. Henning, you weren't

17   able to see your mother anyway because you were

18   incarcerated, correct?

19       A   My mother came to visit me multiple times when I was

20   down in Virginia.

21       Q    So she was able to travel?

22       A   My mother traveled with my stepfather, brought her

23   there, yes.

24       Q   So she would've been able to travel to Connecticut,

25   correct, to see you?

26       A   My mother was poor.

27       Q   Yes or no, Mr. Henning.
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 1       A    I suppose.

 2                  ATTY. PROSCINO:        Nothing further,     Your Honor.

 3                  ATTY. RAABE:     Nothing, Your Honor.

 4                  THE COURT:     All right, you may step down and

 5            resume your seat.

 6                  THE WITNESS:     Thank you, sir.

 7                  THE COURT:     Do you have any other exhibits --

 8           you're all set.

 9                  ATTY. RAABE:     In terms of the balance of the

10           day, Your Honor, if the Court pleases, we've had a

11           conversation with Respondent's Counsel and our

12           thought jointly is rather than start a new witness,

13           we'd just commence tomorrow -- Wednesday morning at

14           ten?

15                  THE COURT:     Okay, Wednesday morning at ten

16           o'clock.      Let me just ask -- do we know if this

17           courtroom is going to be used tomorrow or can we

18            leave materials and --

19                  THE CLERK:     Let me just check real quick.

20                  THE COURT:     Okay.

21                  THE CLERK:     According to Edison, it's not being

22           used tomorrow.

23                  THE COURT:     Okay, so apparently this courtroom

24            is free tomorrow, so if you want to leave your

25           things here --

26                  ATTY. PROSCINO:        Thank you, Your Honor.

27                  THE COURT:     -- you can do that.
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 1                 ATTY. RAABE:     Thank you, Judge.

 2                 THE COURT:     So we are adjourned until Wednesday

 3           at ten o'clock.

 4                                    (End of day)

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 1
 2   NO.:   TSR-CV0l-0817907-S                SUPERIOR COURT
 3
 4   RALPH BIRCH v. WARDEN                    JUDICIAL DISTRICT
 5                                            OF TOLLAND
 6   NO.:   TSR-CV12-4004924-S                AT ROCKVILLE, CONNECTICUT
 7
 8   SHAWN HENNING v. WARDEN                  NOVEMBER 16, 2015
 9
10   NO.:   TTD-CVlS-6009683-S
11
12   SHAWN HENNING v. STATE OF CONNECTICUT
13
14   NO.:   TTD-CVlS-6009781-S
15
16   RALPH BIRCH v. STATE OF CONNECTICUT
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23                         C E R T I F I C A T I O N

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27           I hereby certify the foregoing pages are a true and

28   correct electronic/transcription of the audio recording of the

29   above-referenced case, heard in Superior Court, Judicial District

30   of Tolland, at Rockville, Connecticut, before the Honorable

31   Samuel J. Sferrazza, Judge, on the 16 th day of November, 2014.

32
33
34           Dated this 3rd day of February, 2016 in Rockville,

35   Connecticut.

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43                                         Pamela Clemens
44                                         Court Recording Monitor

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